          Case 3:15-cv-05367-BHS              Document 190     Filed 03/14/25      Page 1 of 90




 1                                                                 The Honorable Benjamin H. Settle

 2

 3

 4

 5

 6

 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT TACOMA
 9   MICKEY FOWLER, LEISA MAURER, and a
     class of similarly situated individuals,              Case No. 3:15-cv-05367-BHS
10

11                                           Plaintiffs,   DECLARATION OF SARAH E.
                                                           BLOCKI IN OPPOSITION TO
12           v.                                            PLAINTIFFS’ MOTION TO
                                                           DETERMINE FORMULA FOR
13   TRACY GUERIN, Director of the Washington              INJUNCTIVE RELIEF
14   State Department of Retirement Systems,

15                                          Defendant.

16

17            I, Sarah E. Blocki, declare as follows:

18                                     I.         Personal Background

19            1.     I am over 18 years of age and competent to testify. I make the following

20   declaration based on personal knowledge and understanding. From 2000 to 2017, I represented

21   the Department of Retirement Systems (“DRS”) as an Assistant Attorney General. During this

22   period, I developed significant knowledge regarding the retirement systems that DRS

23   administers, including the Teachers’ Retirement System (“TRS”). This knowledge is not

24   confined to legal issues, but rather encompasses a broader understanding, including the TRS

25   technology backbone, how TRS is administered, and the differences among the various TRS

26   plans, such as TRS Plan 2 and TRS Plan 3.

     DECLARATION OF SARAH E. BLOCKI                                                   K&L GATES LLP
                                                                                925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                         SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 1                                   TELEPHONE: +1 206 623 7580
                                                                                   FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
          Case 3:15-cv-05367-BHS            Document 190        Filed 03/14/25      Page 2 of 90




 1            2.      I retired from the Office of the Attorney General in 2017 and allowed my law

 2   license to lapse. I now provide part-time support to DRS in a non-attorney capacity.

 3   Specifically, I have worked with DRS’s lawyers to supply technical and historical information

 4   regarding TRS and the various TRS plans. This declaration reflects my personal factual

 5   knowledge relating to TRS.

 6                             II.    Marshall and Stobaugh Declarations

 7            3.      I have reviewed the declarations that John D. Marshall has filed in this case and

 8   in plaintiffs’ state-court lawsuit against DRS. I have provided comments regarding some of the

 9   issues raised in Mr. Marshall’s previous declarations. See Dkt. 136 (Declaration of Sarah E.

10   Blocki in Opposition to Plaintiffs’ Motion to Approve Formula) (2021 Blocki Declaration). See

11   also Declaration of Sarah E. Blocki in Opposition to Plaintiffs’ Motion for Summary Judgment,

12   May 29, 2023 (2023 Blocki Declaration) (Exhibit A)1 and Declaration of Sarah E. Blocki in

13   Response to July 5, 2023, Declaration of Alexander F. Strong, July 6, 2023 (Exhibit B). In this

14   declaration, I will address some aspects of these prior declarations as well as some (but not all)

15   of the issues presented in the newly filed Declaration of David F. Stobaugh in Support of Motion

16   to Determine Formula (Dkt. 185) (“2025 Stobaugh Declaration”) and the Declaration of John

17   D. Marshall About the Formula and Calculation Using the Formula (Dkt. 186) (“2025 Marshall

18   Declaration”).

19                    A. Mr. Marshall’s 2021 Declaration

20            4.      Plaintiffs filed a Motion to Approve Formula on April 2, 2021. Dkt. 111.

21   Mr. Marshall provided a declaration in support of that motion. Dkt. 114 (Declaration of John

22   D. Marshall (April 1, 2021)) (the “2021 Marshall Declaration”).

23            5.      In his 2021 declaration, Mr. Marshall describes three components that must be

24
     1
25    My May 2023 state court declaration, which is Exhibit A to this declaration, attached as its
     Exhibit A my 2021 declaration in this Court (Dkt. 136). Docket 136 is not included as part of
26   Exhibit A to this declaration.

     DECLARATION OF SARAH E. BLOCKI                                                    K&L GATES LLP
                                                                                 925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                          SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 2                                    TELEPHONE: +1 206 623 7580
                                                                                    FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
          Case 3:15-cv-05367-BHS          Document 190         Filed 03/14/25      Page 3 of 90




 1   calculated to determine amounts to be paid to the plaintiffs. He describes the first component

 2   as “daily interest that the class members earned, but were not credited.” Id. ¶ 5. He explains

 3   that daily interest on each of the members’ contributions should have been (i) credited “from

 4   the date of deposit” and (ii) compounded quarterly up to the date when the member transferred

 5   from TRS Plan 2 to TRS Plan 3. Id. ¶ 6.

 6            6.    Mr. Marshall describes the second component as a correction to the transfer

 7   payment that most class members received. He explains that the transfer payment was a

 8   percentage of class members’ account balances on December 31, 1995 (the “Transfer Basis

 9   Amount”) and that the account balances that DRS used were too low because they did not

10   include daily interest. As a result, members’ transfer payments require correction. Id. ¶¶ 8, 9.

11            7.    Mr. Marshall describes the third component as “lost interest” “for the period

12   from the date of transfer to the present,” i.e., the period during which the first and second

13   components were allegedly “held in the co-mingled trust fund” rather than in members’ Plan 3

14   accounts. Id. ¶ 11. He describes two alternate methods to calculate this third component. The

15   first method uses the annualized investment rates of return experienced by the commingled trust

16   fund each year from 1996 through 2021 (while acknowledging that the rates used for 2019,

17   2020, and 2021 are approximations). The second method uses the assumed rate of investment

18   return for the commingled trust fund set out in RCW 41.45.035. Id. ¶¶ 12-15.

19            8.    In his 2021 declaration, Mr. Marshall provides the results of his calculations for

20   the named plaintiffs. Id. ¶¶ 7, 9. For Mickey Fowler, the first component is $276.97, and the

21   second component is $133.37. For Leisa Maurer, the first component is $392.24, and the second

22   component is $302.39. These amounts differ from the amounts in the Excel spreadsheet

23   submitted with the 2021 Marshall Declaration. At a later deposition, Mr. Marshall

24   acknowledged that the amounts in his 2021 declaration should have been the amounts shown

25   in his spreadsheet. See paragraph 35 and note 12 below.

26

     DECLARATION OF SARAH E. BLOCKI                                                   K&L GATES LLP
                                                                                925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                         SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 3                                   TELEPHONE: +1 206 623 7580
                                                                                   FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
Case 3:15-cv-05367-BHS   Document 190   Filed 03/14/25   Page 4 of 90
          Case 3:15-cv-05367-BHS            Document 190        Filed 03/14/25       Page 5 of 90




 1                   To my knowledge, the parties have never discussed or reached a working

 2            definition of the term “contribution date.” There are several possibilities, given the
 3
              complexity of the interface of systems through which employees are paid, contribution
 4
              information is reported to DRS, and funds are transferred (from employers to DRS to
 5
              the State Treasurer to the Washington State Investment Board (“WSIB”)). For example,
 6
              the “contribution date” might be (i) the date the employee receives his paycheck (with
 7

 8            retirement contributions subtracted), (ii) the date the employee’s retirement contribution

 9            is recorded in DRS’s records, or (iii) the date WSIB receives the money and invests it.
10            There may be other possibilities.
11
                     Of these alternatives, the only date in DRS’s records is (ii) above, i.e., the date
12
              the retirement contribution is recorded in its records.2 This date appears in DRS’s
13
              database as the “transaction date.” In my experience, DRS employees think of this as
14

15            the “contribution date” for any given contribution. I was not involved in the original

16            extraction of data to be given to plaintiffs, but I strongly suspect that, when DRS was

17            asked to provide “contribution dates,” DRS simply provided the dates that its employees
18            consider to be the “contribution date,” i.e., the “transaction date” recorded in its
19
              database.
20
                     When I pointed out in the 2023 Blocki Declaration (Exhibit A) that the
21
              “transaction dates” provided to plaintiffs were not necessarily the dates that the
22

23
     2
24     It may be possible to determine some of the alternative dates, but to do so would require a
     substantial investment of time for a just a single contribution of a single employee, let alone the
25   millions of such contributions that would have to be researched for the whole class. Some of
     the anomalous cases might warrant research into individual contributions, albeit on a much
26   smaller scale.

     DECLARATION OF SARAH E. BLOCKI                                                     K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                           SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 5                                     TELEPHONE: +1 206 623 7580
                                                                                     FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
          Case 3:15-cv-05367-BHS           Document 190         Filed 03/14/25       Page 6 of 90




 1            contributions were received and deposited, I was not repudiating DRS’s original

 2            provision of “transaction dates” to plaintiffs or the use of “transaction dates” in the
 3
              calculation of daily interest. I was simply pointing out that Mr. Marshall appeared to
 4
              believe that the “transaction date” was the date that funds were received and deposited,
 5
              that this was not necessarily the case, and that this fact could undercut some of the
 6
              assumptions he was making.
 7

 8                   As I explain below, I believe that the “transaction date” is the best date available

 9            for use in the calculation of daily interest. In general, it will vary from the date the
10            money is actually invested by WSIB by a day or two at most.3
11
                     c.      In his Paragraph 10, Mr. Stobaugh states: “Ms. Blocki testified . . . that
12
              the information DRS provided to plaintiffs included the ‘date and amount’ of each
13
              contribution except for some instances where the data is not available because it was
14
              lost by DRS (id.), about 33% of the entries.” Mr. Stobaugh is referring to dates in the
15
              data that appear in mm/00/yyyy format. To the extent that Mr. Stobaugh is insinuating
16
              an irresponsible “loss,” he is wrong. As I testified, “the exact day was not available
17
              because of the way the date was transferred from an older database to [DRS’s] current
18
              database.” 2021 Blocki Declaration, p. 2, n. 1. This was entirely acceptable at the time
19
              because knowing the exact day of the month had never been necessary in the conduct
20
              of DRS’s normal business operations.
21
                     d.      Mr. Stobaugh states that plaintiffs are now using the last day of the
22
              earning period as the date from which interest on a contribution accrues. Id. ¶ 11. As
23

24

25
     3
      Generally, amounts are posted to members’ notional accounts before the funds are invested
26   by WSIB.

     DECLARATION OF SARAH E. BLOCKI                                                     K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                           SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 6                                     TELEPHONE: +1 206 623 7580
                                                                                     FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
          Case 3:15-cv-05367-BHS            Document 190         Filed 03/14/25      Page 7 of 90




 1            explained below, I believe using this date is inappropriate and far less reasonable than

 2            using the transaction date.

 3                   e.      Mr. Stobaugh argues that the use of the last day of the month of the

 4            earning period to which a contribution relates as the contribution date is “consistent

 5            with” decisions made by DRS in a 1995 Decision Statement as to what amounts should

 6            be included in the Transfer Basis. Id. ¶¶ 12-14. I do not believe that this 1995 decision

 7            regarding the Transfer Basis provides a compelling basis for using the last day of the

 8            earning period as the date from which interest accrues.

 9                   RCW 41.32.8401 provides that the Transfer Basis shall be “the member’s

10            accumulated contributions as of January 1, 1996.” DRS believed that the phrase
11
              “accumulated contributions as of January 1, 1996” was ambiguous as to whether
12
              contributions received and posted after January 1, 1996, but applying to earnings periods
13
              prior to 1996, should be included in the Transfer Basis. After considering four
14
              alternatives, all of which DRS deemed consistent with the law, DRS decided to include
15

16            such contributions because it was “most accurate” to interpret “accumulated

17            contributions as of January 1, 1996” to include such amounts because they had in fact
18            been earned before January 1, 1996. Decision Statement 5 (July 19, 1995), This
19
              alternative was also most beneficial to members.
20
                     I believe that this 1995 Decision Statement does not support using the last day
21
              of the earnings period as a contribution date in the calculation of daily interest. To do
22

23            so would allow interest to accrue on a contribution before it has been received into any

24

25

26

     DECLARATION OF SARAH E. BLOCKI                                                     K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                           SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 7                                     TELEPHONE: +1 206 623 7580
                                                                                     FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
          Case 3:15-cv-05367-BHS             Document 190      Filed 03/14/25       Page 8 of 90




 1            account where it might theoretically, or practically, earn interest. As I said in my 2023

 2            declaration, this makes little sense.4
 3
                     f.      Mr. Stobaugh states that using the last day of the earning period as the
 4
              “contribution date” “eliminates the need to use an assumed transaction date” for
 5
              transaction dates that appear in mm/00/yyyy format in the data provided to plaintiffs.
 6
              Id. ¶ 13. There are other, and in my view more reasonable, ways to handle transaction
 7
              dates in mm/00/yyyy form. That some dates appear in the form mm/00/yyyy does not
 8
              represent a failure to keep records; DRS kept all records that were necessary to its
 9
              business operations.
10
                     C. 2025 Marshall Declaration—Missing Information
11
              10.    Mr. Marshall states repeatedly that he is presenting a “formula” to be used in
12
     calculating amounts due to individual members of the plaintiff class. But he does not present
13
     any formula expressed in mathematical terms with clear instructions as to how it should be
14
     applied. I have read Mr. Marshall’s verbal description of a process that he contends should be
15
     applied, and I have examined the PDF spreadsheet showing the process results, but I have been
16
     unable to determine how he came up with his results. There is no formula expressed in
17
     mathematical terms that would allow the DRS to review Mr. Marshall’s methodology. I have
18
     found it impossible, using Mr. Marshall’s description, to use raw data for particular class
19
     members and replicate his results. To understand Mr. Marshall’s approach, we must see all the
20
     formulae (or computer programming) used in his work.
21

22
     4
       In paragraph 10.d. of the 2023 Blocki Declaration (Exhibit A), I stated: “Mr. Marshall’s belief
23   that interest accrues (or should accrue) from the date funds should have been received by DRS
24   rather than when they were actually deposited in the trust fund seems questionable. If I receive
     a check and fail to deposit it in my bank for a quarter, I cannot argue to the bank that I should
25   receive interest from the date I received the check because I intended to deposit and should have
     deposited it immediately. The bank awards interest from the date the check is actually
26   deposited.”

     DECLARATION OF SARAH E. BLOCKI                                                    K&L GATES LLP
                                                                                 925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                          SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 8                                    TELEPHONE: +1 206 623 7580
                                                                                    FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
          Case 3:15-cv-05367-BHS          Document 190        Filed 03/14/25       Page 9 of 90




 1            11.   Nature of First and Second Components. Mr. Marshall describes the first two

 2   out of three components that a formula proponent must calculate. 2025 Marshall Declaration at

 3   ¶¶ 14-16. DRS agrees that, to determine the first component, daily interest compounded

 4   quarterly must be calculated up to the member’s transfer date. That calculation can then be used

 5   to determine an additional amount of interest to be added to each class member’s Plan 3 account.

 6   DRS also agrees that, to determine the second component, daily interest compounded quarterly

 7   must be calculated up to January 1, 1996. That calculation can then be used to determine an

 8   additional “transfer payment” to be added to each class member’s Plan 3 account.

 9            12.   Nature of Third Component. Mr. Marshall describes plaintiffs’ theory that their

10   recovery amounts should reflect investment gains on the first and second components during

11   the period that those amounts were “retained in the Commingled Trust Fund.” Id. ¶¶ 17-20.

12   This is similar to his description of the third component in his 2021 declaration, except that he

13   then referred to the third component as “interest” rather than “investment gains.” DRS does not

14   dispute that the Court may require DRS to pay some amount of prejudgment interest for the

15   period that amounts calculated as the first and second components would have been in class

16   members’ Plan 3 accounts. But DRS believes that the third component is the amount each

17   individual class member could have earned by investing these additional funds as a reasonably

18   prudent investor.

19            13.   As with his description of the calculation of the first and second components,

20   Mr. Marshall does not provide a formula expressed in mathematical terms that would permit

21   DRS to review his methodology for determining the third component. I have found it

22   impossible, from the description Mr. Marshall has provided, to use raw data for individual class

23   members and replicate his procedure and results. To understand Mr. Marshall’s approach, we

24   must see all the formulae (and/or computer programming) used in his calculations.

25

26

     DECLARATION OF SARAH E. BLOCKI                                                   K&L GATES LLP
                                                                                925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                         SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 9                                   TELEPHONE: +1 206 623 7580
                                                                                   FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
         Case 3:15-cv-05367-BHS           Document 190         Filed 03/14/25       Page 10 of 90




 1            14.    Mr. Marshall asserts that the “amount of money that is owed to each class

 2   member” was “retained in the Commingled Trust Fund.” Id. ¶ 37. My understanding is that any

 3   money in the Commingled Trust Fund that was not required (as an actuarial matter) to fund the

 4   defined benefits of TRS Plan 2 and TRS Plan 3 members was transferred to teachers in the form

 5   of Transfer Payments. For this reason, I believe it is misleading to say that any amount that

 6   must be paid to teachers as a result of this litigation has been “retained in the Commingled Trust

 7   Fund.”

 8                   D. Critique of 2025 Marshall Declaration

 9            15.    The parties (with approval from the Court) must develop a methodology that can

10   be used to calculate daily interest, compounded quarterly, with the data as it exists and has been

11   provided to plaintiffs. This methodology will be used to calculate (i) interest from the date the

12   contribution enters the member’s Plan 2 notional account to the date it is transferred to Plan 3,

13   and (ii) interest from the date the contribution enters the member’s Plan 2 notional account to

14   January 1, 1996, the cutoff for calculating the Transfer Payment).

15                           i. Issues Regarding Mr. Marshall’s Methodology

16            16.    “From Date” for First and Second Components. Any methodology must explain

17   how to use the existing data to determine the “from date” for each contribution. In various

18   paragraphs of his declaration, Mr. Marshall discusses the date on which plaintiffs believe that

19   interest on a particular contribution should be deemed to begin to accrue.

20                   a.      Mr. Marshall implies that interest should begin to accrue on “the date the

21            contribution [is] taken out of [the teacher’s] paycheck.” Id. ¶ 14. But Mr. Marshall’s

22            actual method (described in his paragraphs 30, 31, and 35) does not rely on “the date

23            the contribution[ is] taken out of [the teacher’s] paycheck,” so I will not comment on

24            that theory.

25

26

     DECLARATION OF SARAH E. BLOCKI                                                     K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                           SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 10                                    TELEPHONE: +1 206 623 7580
                                                                                     FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
         Case 3:15-cv-05367-BHS              Document 190      Filed 03/14/25       Page 11 of 90




 1                    b.     Mr. Marshall states: “the best information available about when deposits

 2            were made is the earning period information because that would have been when

 3            employee contributions were deducted from the employee paychecks. The [plaintiffs’]

 4            formula and calculation uses the end of the earning period as the date when daily interest

 5            begins to accrue.” Id. ¶ 30.

 6                    c.     Mr. Marshall argues that his proposal to use the earnings period is

 7            consistent with how DRS computed the “Transfer Balances” or “Transfer Basis” on

 8            which the Transfer Payments were based. Id. ¶ 31.

 9                    d.     Mr. Marshall states that in his method, “daily interest is earned on each

10            contribution starting from the end of the earnings period for the contribution . . . .”

11            Id. ¶ 35.

12   None of these variations (a. through d.) match the opinion in his 2021 declaration—namely,

13   that interest should accrue “from the date of deposit.” 2021 Marshall Declaration, ¶ 6.

14            17.     Critique of Plaintiff’s “From Date”. Mr. Marshall’s current choice of a “from

15   date” (as the last day of the earnings period to which the contribution relates) distorts the

16   calculation of daily interest several ways.

17                    a.     Most teachers are paid monthly on the last day of the month. Generally

18            speaking, the employer reports to DRS the member’s compensation and the amount of

19            the member's retirement contribution between the last week of that month and the first

20            week of the following month. The deadline is the 15th of the following month. For

21            example, the paycheck an employee receives on November 30 will generally be reported

22            to DRS during the last week of November or the first week of December. The reporting

23            deadline is December 15.

24                    b.     The money that the employer withholds from the paycheck for

25            retirement contributions is sent to DRS separately. The money is then sent to the Office

26

     DECLARATION OF SARAH E. BLOCKI                                                     K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                           SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 11                                    TELEPHONE: +1 206 623 7580
                                                                                     FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
         Case 3:15-cv-05367-BHS               Document 190       Filed 03/14/25     Page 12 of 90




 1            of the State Treasurer and on to WSIB for investment.

 2                   c.      When the reported amounts are reconciled with the money actually sent,

 3            DRS promptly posts the member’s contribution to their notional account. The date the

 4            money is posted to the account is called the “transaction date” in DRS’s database. The

 5            date the money is actually invested by the WSIB may differ by a couple of days.

 6                   d.          Most teachers are paid over twelve months for nine months’ work. Thus,

 7            for example, a teacher will receive a paycheck in July even though the teacher

 8            performed no work during July. The Washington School Information Processing

 9            Cooperative (WSIPC) has devised a complex formula through which the teacher’s

10            compensation and retirement contributions for a particular month are allocated to

11            previous months’ earnings periods.5 For example, Exhibit C, a screenshot from DRS’s

12            database, shows that the sample teacher’s retirement contributions for November 2014

13            (Rpt Mo/Yr 11/14) were allocated among three different earning periods: September

14            2014—$1.36; October 2014—$239.08; and November 2014—$97.26.

15                   e.      If this paycheck were received by the member on November 30, recorded

16            in DRS’s database on December 2, and invested by the WSIB on December 3 (all

17            realistic hypotheticals), then under plaintiffs’ proposed method:

18                          i.          $1.36 would accrue interest beginning 9/30 (61 days before the

19                   member received the paycheck and 64 days before the associated retirement

20                   contributions were invested by WSIB);

21                         ii.          $239.08 would accrue interest beginning 10/31 (30 days before

22                   the member received the paycheck and 33 days before the associated retirement

23
     5
24     WSIPC is a non-profit third party that provides technological support to school districts.
     Approximately 90% of school districts have adopted WSIPC’s methodology for assigning
25   contributions for a particular reporting period to past earnings periods. Approximately 10% of
     school districts have devised alternate methodologies, but in all cases contributions for a
26   particular reporting period may be and often are assigned to past earnings periods.

     DECLARATION OF SARAH E. BLOCKI                                                     K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                           SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 12                                    TELEPHONE: +1 206 623 7580
                                                                                     FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
           Case 3:15-cv-05367-BHS            Document 190        Filed 03/14/25     Page 13 of 90




 1                     contributions were invested by WSIB); and

 2                          iii.      $97.26 would accrue interest beginning 11/30 (3 days before the

 3                     associated retirement contributions were invested by WSIB).

 4                     f.      Under WSIPC’s protocol, an August paycheck will likely compensate

 5             the employee for work during the May and June earnings periods (with nothing

 6             allocated to either July or August when no work was performed). In that case, the

 7             plaintiffs’ proposed method would allow the member to accrue interest on the retirement

 8             contributions allocated to the May earning period on May 31, more than 90 days before

 9             the member received the paycheck and the retirement contributions were received and

10             invested by WSIB.

11                     g.      Some payments that teachers receive could lead to even greater

12             distortion under plaintiffs’ method. For example, some teachers receive a payment

13             ranging from $5,000 to $10,000 in addition to their salary if they have been certified by

14             the National Board for Professional Teaching Standards. The employee’s contract

15             specifies when this amount will be paid and how it will be allocated to earning periods.6

16             For example, assume that a teacher is to receive $9,600 as an additional payment, to be

17             paid on August 31, but allocated evenly ($800/month) over the preceding twelve-month

18             school year. Assuming a contribution rate of 6%, $48 of contributions would be

19             allocated to each month. In this hypothetical, plaintiffs’ proposed method would allow

20             interest to accrue as follows:

21                             i.     $48 would accrue interest beginning 9/30 (approximately 335

22                     days before the member received the paycheck and the associated retirement

23                     contributions were invested).

24

25

26   6
         Different school districts deal with this in different ways.

     DECLARATION OF SARAH E. BLOCKI                                                     K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                           SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 13                                    TELEPHONE: +1 206 623 7580
                                                                                     FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
         Case 3:15-cv-05367-BHS            Document 190         Filed 03/14/25      Page 14 of 90




 1                            ii.    $48 would accrue interest beginning 10/31 (approximately 304

 2                   days before the member received the paycheck and the associated retirement

 3                   contributions were invested).

 4                            iii.   $48 would accrue interest beginning 11/30 (approximately 305

 5                   days before the member received the paycheck and the associated retirement

 6                   contributions were invested).

 7   And so on. In short, plaintiffs’ proposed method significantly overstates daily interest by

 8   allowing interest to accrue before funds are received and invested.

 9            18.    Mr. Marshall argues that the use of the last day of the month of the earning

10   period for the contribution is “consistent with” decisions DRS made in a 1995 Decision

11   Statement regarding what amounts should be included in the Transfer Basis. Mr. Stobaugh

12   makes a similar argument in his paragraphs 14 to 16. I have already addressed this argument.

13            19.    Based on my knowledge regarding TRS, how the various TRS plans are

14   administered, and DRS’s technology, I believe that the “transaction date” is the most principled

15   and appropriate date to use as the “from date,” particularly in light of the data available to us

16   today.

17            20.    Interest Rate for First and Second Components. Mr. Marshall states: “The

18   interest rate up to the date of transfer . . . is 5.5% annual interest compounded quarterly, i.e.,

19   5.5% divided by 365 equals 0.01507% per day.” Id. ¶ 35.

20                   a.       DRS agrees that the relevant interest rate for purposes of calculating the

21            first and second components is 5.5% per year, compounded quarterly. But DRS cannot

22            respond fully to Mr. Marshall’s discussion of the interest rate until plaintiffs have

23            provided their precise formulae (or computer programming) for the first and second

24            components. Only then can DRS see how Mr. Marshall uses a daily interest rate in his

25            computations.

26

     DECLARATION OF SARAH E. BLOCKI                                                     K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                           SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 14                                    TELEPHONE: +1 206 623 7580
                                                                                     FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
         Case 3:15-cv-05367-BHS            Document 190        Filed 03/14/25      Page 15 of 90




 1                   b.      Most members’ time in TRS Plan 2 spans various leap years. If a daily

 2            rate is ultimately used, it may be more appropriate to compute the daily rate by dividing
 3
              5.5% by 365.25 (the number of days in a year when leap years are considered).
 4
              21.    Calculation of Second Component. Describing the first step in computing the
 5
     second component, Mr. Marshall states that “we calculated for each class member the missing
 6
     daily interest up to December 31, 1995 to determine the correct account balance on that date.”
 7
     Id. ¶ 16. Later, he states: “Next the amount of the missing transfer payment is calculated by
 8
     multiplying the missing interest by the transfer incentive payment percentage shown in DRS’s
 9
     records . . . .” (emphasis added). Id. ¶ 36. He does not expressly link the “missing interest”
10
     referenced in paragraph 36 with the “missing daily interest up to December 31, 1995” in
11
     paragraph 16. If the “missing interest” in paragraph 36 is intended to be “the missing daily
12
     interest” in paragraph 16, DRS agrees in concept with Mr. Marshall’s description. But DRS
13
     must see the exact mathematical formulae (or computer programming) used before it can fully
14
     evaluate Mr. Marshall’s calculations.
15
              22.    Other Aspects of Methodology for First and Second Components. Mr. Marshall
16
     describes a method through which plaintiffs appear to calculate the account balances of class
17
     members on a calendar-quarter-by-calendar-quarter basis up to their dates of transfer. Id. ¶ 35.
18

19   DRS cannot fully evaluate this method until it receives the formulae and/or computer

20   programming used. On the surface, this general approach appears reasonable in concept, but it
21   may be more complex than necessary. DRS has proposed a simpler alternative, by which each
22
     contribution is compounded at approximately 90-day intervals beginning at its transaction
23
     date.7 This can be done using Excel, obviating complex computer programming. Once other
24

25
     7
      More precisely, compounding is done at 91.3125-day intervals, because the average number
26   of days per quarter over a four-year period (including one leap year) is 91.3125.

     DECLARATION OF SARAH E. BLOCKI                                                    K&L GATES LLP
                                                                                 925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                          SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 15                                   TELEPHONE: +1 206 623 7580
                                                                                    FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
         Case 3:15-cv-05367-BHS          Document 190         Filed 03/14/25      Page 16 of 90




 1   aspects of the calculation method are resolved, we can compare the results derived under the

 2   two methodologies to determine whether the difference merits using Mr. Marshall’s more
 3
     complex methodology.
 4
              23.   Calculation of Third Component. With regard to plaintiffs’ method for
 5
     calculating the third component, Mr. Marshall simply states: “The investment returns for each
 6
     class member’s funds that DRS retained in the Commingled Trust Fund are then calculated at
 7
     the rate of 8.92% per annum, the average rate of return determined by DRS [sic—WSIB], and
 8
     are then added for the time that this money was kept in the Commingled Trust Fund.” Id. ¶ 38.
 9
     As with his description of the calculation of the first and second components, he does not
10
     provide a formula expressed in mathematical terms that would allow DRS to review his
11
     methodology. From the description Mr. Marshall has provided, it is not possible to take the first
12
     and second components for any particular class member and replicate his procedure. To
13
     understand Mr. Marshall’s approach, we must see all the formulae (or computer programming)
14
     used in his work.
15
              24.   Start Date for Third Component. Mr. Marshall’s 2025 declaration does not make
16
     clear the date from which investment returns are computed using his method. However, in his
17
     2021 declaration he stated that the “Start Date” should be the member’s date of transfer. 2021
18
     Marshall Declaration, ¶ 11. It would be consistent with DRS’s understanding of the third
19
     component for interest on the first component for each individual class member to accrue from
20
     that member’s date of transfer to TRS Plan 3. However, interest on the second component
21
     should not be deemed to accrue until the date the member actually received a Transfer Payment.
22
     Most members received their Transfer Payments in two installments: the first on February 25,
23
     1998, and the second on June 24, 1998. Many members transferred well before 1998, including
24
     both named plaintiffs, who transferred in 1996. Mr. Marshall’s “Start Date” would give some
25
     members over a year of unwarranted interest on the second component.
26

     DECLARATION OF SARAH E. BLOCKI                                                   K&L GATES LLP
                                                                                925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                         SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 16                                  TELEPHONE: +1 206 623 7580
                                                                                   FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
         Case 3:15-cv-05367-BHS           Document 190        Filed 03/14/25       Page 17 of 90




 1            25.   End Date for Third Component. Mr. Marshall states: “We have calculated these

 2   [third component] amounts up to June 30, 2025. If the transfer [of plaintiffs’ recovery amounts

 3   into Plan 3] occurs on July 1, 2025 or thereafter, the amounts would increase by 8.92% annual

 4   interest, approximately 0.0244% per day.” 2025 Marshall Declaration, ¶ 42. Earlier, he

 5   describes the end date as “the date when the funds [first, second, and third components] are

 6   returned to the teachers’ accounts.” Id. ¶ 17. Although DRS has not yet developed its own

 7   proposal for an “end date,” Mr, Marshall’s choice of an “end date” appears to overcompensate

 8   some members. DRS believes that members should receive interest on their first and second

 9   component amounts only while these amounts remain in their Plan 3 accounts. Some members

10   have taken full or partial distributions since their transfer to Plan 3. For those class members,

11   the first and second component amounts would not have remained in Plan 3 to the present

12   (and/or will not necessarily be there June 30, 2025). Whatever method is devised to calculate

13   the third component should deal with this issue.

14            26.   Interest Rate for Third Component. Mr. Marshall states that a “rate of 8.92% per

15   annum, the average rate of return determined by DRS [sic—WSIB],” should be used as the rate

16   at which returns on the first and second components are calculated. Id. ¶¶ 20, 38. (In his earlier

17   declaration, he used year-by-year rates of return rather than an average rate. 2021 Marshall

18   Declaration, ¶¶ 12-15.) According to WSIB, the rate cited by plaintiffs (8.92%) is the annual

19   rate of return in the TAP investment portfolio from its inception (July 1, 1992) through

20   December 31, 2024. 2025 Marshall Declaration, ¶ 20 (citing attachment). This is not necessarily

21   the annual rate for any shorter period of the TAP’s existence. If, contrary to DRS’s position,

22   the rate of return in the TAP were to be used in calculating the third component, the rate of

23   return in the TAP for the relevant period should be considered.

24            27.   Compounding of Third Component. Mr. Marshall does not explain whether he

25   compounded the investment returns, and, if so, at what frequency.

26

     DECLARATION OF SARAH E. BLOCKI                                                    K&L GATES LLP
                                                                                 925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                          SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 17                                   TELEPHONE: +1 206 623 7580
                                                                                    FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
         Case 3:15-cv-05367-BHS            Document 190        Filed 03/14/25       Page 18 of 90




 1                           ii. Issues Regarding Mr. Marshall’s Use of DRS Data

 2            28.    As Mr. Marshall states, the data to be used for the necessary calculations has

 3   been extracted from DRS’s database and provided to plaintiffs. Id. ¶ 21. This is the same data

 4   DRS uses for its own business purposes. The form of the data raises a few issues that must be

 5   resolved before any methodology can be applied on a class-wide basis. Failure to address these

 6   issues leads to inaccuracies in the computations attached to the 2025 Marshall Declaration.

 7            29.    Anomalous Data. Discussing the data of 389 class members that has been

 8   labelled “anomalous,” Mr. Marshall states: “DRS later corrected the data with anomalies and

 9   provided the required information for these class members. We have received DRS’s notes

10   regarding these class members, accepted the corrections made by DRS, and included class

11   members with anomalous data in the calculation.” Id. ¶ 25. Mr. Marshall’s handling of the data

12   for the anomalies is problematic.

13                   a.      DRS provided transaction data for the 389 anomalies in nine

14            installments. Each installment of data was accompanied by a cover letter. The cover

15            letters informed plaintiffs that the data was being provided as extracted from the

16            database, but that certain rows (representing individual transactions) had been

17            highlighted because they would likely require special handling. See, e.g., Exhibit D

18            (sample cover letter). Because DRS did not want to alter the data as extracted, it did not

19            make any “corrections” to this data.

20                   b.      As an example of one category of anomalies, DRS’s current database

21            came into use in 1982. When data from DRS’s prior system was brought into the new

22            database, the conversion process generated in some member accounts a transaction entry

23            labelled “Conversion Error,” at times for multiple thousands of dollars. When this was

24            later recognized, DRS computer programmers wrote code to reverse the Conversion

25

26

     DECLARATION OF SARAH E. BLOCKI                                                     K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                           SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 18                                    TELEPHONE: +1 206 623 7580
                                                                                     FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
           Case 3:15-cv-05367-BHS           Document 190         Filed 03/14/25       Page 19 of 90




 1            Error. This code was applied a year or more after the Conversion Error had occurred.8

 2            Such reversals appear in affected member’s accounts as “Conversion Corrections.” In

 3            the data extracted from the database and given to plaintiffs, these Conversion Errors and

 4            Corrections appear as if they were ordinary contributions and reversals. If they are used

 5            as contributions and reversals in whatever general methodology is developed to

 6            calculate “additional interest,” Conversion Errors will distort the results if the initial

 7            (large) positive entry is allowed to accrued interest until the date it is reversed.

 8                    c.      DRS is currently working on proposals for how various categories of the

 9            “anomalous data” could be modified slightly so that the data can be used with whatever

10            general methodology is developed. Once a general methodology for the first and second

11            components has been established, DRS will be in a position to share these proposals

12            with plaintiffs in hopes of reaching agreement on the proposed modifications.

13            Meanwhile, the use of the data “as is” (as Mr. Marshall states he has done) will lead to

14            distortions.

15            30.     Negative Transactions. In his paragraph 27, Mr. Marshall discusses negative

16   entries in the contribution data. He understands that these entries reverse contributions that were

17   previously reported by the member’s employer, but were incorrect. He states: “Wherever DRS

18   made such corrections,9 we matched those corrections to the earnings period so that the money

19   erroneously credited during the period did not earn interest.” Although this seems appropriate,

20   DRS needs to know exactly how plaintiffs propose to handle this situation before it can

21   determine whether the application is reasonable.

22

23

24   8
         How soon the Conversion Correction was made for an individual member varies by account.
     9
25    In general, DRS does not post these negative entries; rather, they are reported by the member’s
     employer. In unusual situations, DRS may post such a correction after consultation with the
26   member’s employer.

     DECLARATION OF SARAH E. BLOCKI                                                       K&L GATES LLP
                                                                                    925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                             SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 19                                      TELEPHONE: +1 206 623 7580
                                                                                       FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
           Case 3:15-cv-05367-BHS          Document 190       Filed 03/14/25      Page 20 of 90




 1             31.    Negative Transactions Without Associated Earnings Periods. Also in his

 2   paragraph 27, Mr. Marshall refers to negative entries in the data that do not have an associated

 3   earnings period. He states that, when there was no associated earning period, he “subtracted the

 4   contribution at the time the correction was reported.” Id. ¶ 27. Mr. Marshall’s method may lead

 5   to an inflated calculation of “additional interest” because the original positive entry will

 6   erroneously accrue interest until it is corrected. The Conversion Corrections discussed above

 7   illustrate the problem.

 8             32.    Data in Form MM/00/YYYY. Mr. Marshall discusses contributions for which

 9   the “transaction date” is in the form mm/00/yyyy, i.e., the exact day of the month does not

10   appear in DRS’s data. Id. ¶ 28.10 Mr. Marshall does not deal with this issue directly, because

11   his general method does not use the “transaction date” as the date from which interest starts to

12   accrue.11 If the Court agrees with DRS that the transaction date is the most reasonable date to

13   use in determining when interest starts to accrue, DRS will propose a rule for how dates in the

14   form mm/00/yyyy should be handled.

15                    E. Comparisons Between Results of Plaintiffs’ and DRS’s Calculations

16             33.    Attached as Exhibit E is a true and correct copy of the Director’s Discovery

17   Responses to Plaintiffs. Therein, the Director describes her proposed methodology for the

18   calculation of the first and second components.

19             34.    Attached as Exhibit F is a true and accurate computation showing the application

20   of the Director’s proposed methodology to the named plaintiffs, Mickey Fowler and Leisa

21   Maurer.

22

23

24   10
          DRS did not need the exact day of the month for its own business processes.
     11
25     See 2025 Marshall Declaration, paragraph 31: “Using the end of the earnings period as the
     date interest begins to accrue resolves the problem that DRS has no Transaction Date for about
26   one-third of the entries.”

     DECLARATION OF SARAH E. BLOCKI                                                   K&L GATES LLP
                                                                                925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                         SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 20                                  TELEPHONE: +1 206 623 7580
                                                                                   FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
          Case 3:15-cv-05367-BHS         Document 190         Filed 03/14/25      Page 21 of 90




 1            35.   Here are the results of calculations using Mr. Marshall’s 2021 and 2025 methods

 2   and DRS’s proposed method:

 3   Mickey Fowler

 4                     Marshall 202112 Marshall 2025         DRS
      Component 1              $276.97      $535.63         $316.71
 5
      Component 2              $126.59      $263.55         $144.03
 6    Total                    $403.56      $799.18         $460.74

 7
     Leisa Maurer
 8
                       Marshall 2021 Marshall 2025           DRS
 9
      Component 1            $392.24        $693.53          $433.82
10    Component 2            $188.31        $354.16          $208.20
      Total                  $580.55      $1,047.69          $642.02
11

12   Member 20249
13                    Marshall 2021    Marshall 2025          DRS
14    Component 1              $757.42       $1,004.58      $ 803.66
      Component 2              $162.94          $292.23     $ 183.23
15    Total                    $920.36       $1,296.81      $ 986.89

16
     Member 864675
17
                     Marshall 2021    Marshall 2025            DRS
18    Component 1              $27.94            $47.19        $28.09
19    Component 2              $13.66             $1.02         $0.32
      Total                    $41.60            $48.21        $28.41
20

21            36.   Despite applying the same general “components” of the “formula,” the parties’

22   calculations for the same individuals are very different. This is because, within each component,

23

24
     12
25      The amounts in the “Marshall 2021” columns are taken from the Excel spreadsheet that he
     provided with his 2021 declaration. As noted above, they are different from the amounts shown
26   in his 2021 declaration (which he later acknowledged to be incorrect).

     DECLARATION OF SARAH E. BLOCKI                                                   K&L GATES LLP
                                                                                925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                         SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 21                                  TELEPHONE: +1 206 623 7580
                                                                                   FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
         Case 3:15-cv-05367-BHS            Document 190        Filed 03/14/25      Page 22 of 90




 1   there are a multitude of factual considerations that must be addressed and resolved, as I have

 2   described above.

 3            I declare under penalty of perjury of the laws of the United States that the foregoing is

 4   true and correct.

 5            Executed this 14th day of March 2025, in Lakewood, Washington.

 6

 7

 8                                                       Sarah E. Blocki
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

     DECLARATION OF SARAH E. BLOCKI                                                    K&L GATES LLP
                                                                                 925 FOURTH AVENUE, SUITE 2900
     IN OPPOSITION TO PLAINTIFFS’ MOTION TO                                          SEATTLE, WA 98104-1158
     DETERMINE FORMULA FOR INJUNCTIVE RELIEF - 22                                   TELEPHONE: +1 206 623 7580
                                                                                    FACSIMILE: +1 206 623 7022
     Case No. 3:15-cv-05367-BHS
     322726712.1
         Case 3:15-cv-05367-BHS           Document 190        Filed 03/14/25      Page 23 of 90




 1                                     CERTIFICATE OF SERVICE

 2          I, Philip M. Guess, certify that on March 14, 2025, I caused the foregoing document to

 3   be electronically filed with the Clerk of the Court using the CM/ECF system, which will

 4   automatically send email notification of such filing to the registered attorneys of record.

 5          Dated March 14, 2025.

 6

 7                                                         /s/ Philip M. Guess_______________
                                                           Philip M. Guess, WSBA #26765
 8                                                         K&L Gates LLP
                                                           925 Fourth Avenue Suite 2900
 9
                                                           Seattle, WA 98104
10                                                         (206) 623-7580
                                                           Email: philip.guess@klgates.com
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

      CERTIFICATE OF SERIVCE                                                          K&L GATES LLP
                                                                                925 FOURTH AVENUE, SUITE 2900
      - 5 Case No. 3:15-cv-05367-BHS                                                SEATTLE, WA 98104-1158
                                                                                   TELEPHONE: +1 206 623 7580
                                                                                   FACSIMILE: +1 206 623 7022
Case 3:15-cv-05367-BHS   Document 190   Filed 03/14/25   Page 24 of 90




                 EXHIBIT A
      Case 3:15-cv-05367-BHS            Document 190      Filed 03/14/25             Page 25 of 90




 1    Hearing Date: June 16, 2023
      Hearing Time: 9:00 AM
 2    Judge/Calendar: Hon. Allyson Zipp
 3

 4

 5

 6

 7               IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                         IN AND FOR THE COUNTY OF THURSTON
 8

 9 JEFFREY PROBST and a class of similarly              Case No. 05-2-00131-1
   situated individuals,
10                                                      (Consolidated with
                          Plaintiffs,                   No. 05-2-02141-9)
11
                                                        DECLARATION OF
12 MICKEY FOWLER and LEISA MAURER,                      SARAH E. BLOCKI IN
   and a class of TRS Plan 3 members,                   OPPOSITION TO PLAINTIFFS’
13                                                      MOTION FOR SUMMARY
                          Plaintiffs/                   JUDGMENT
14
                          Class Representatives,
15
           v.
16
   DEPARTMENT OF RETIREMENT
17 SYSTEMS,

18
                          Defendant.
19

20
            I, Sarah E. Blocki, hereby certify and declare as follows:
21
            1.     I am over 18 years of age and competent to testify. I make the following
22
     declaration based on personal knowledge.
23

24          2.     From 2000 to 2017, I represented the Department of Retirement Systems

25   (“DRS”) as an Assistant Attorney General. During this period, I developed a good deal of


      DECLARATION OF SARAH E. BLOCKI                                           K&L GATES LLP
      IN OPPOSITION TO PLAINTIFFS’                                       925 FOURTH AVENUE, SUITE 2900
                                                                             SEATTLE, WA 98104-1158
      MOTION FOR SUMMARY JUDGMENT - 1                                       TELEPHONE: +1 206 623 7580
                                                                            FACSIMILE: +1 206 623 7022
      CASE NO. 05-2-00131-1
       Case 3:15-cv-05367-BHS           Document 190         Filed 03/14/25          Page 26 of 90




 1   knowledge regarding the retirement systems that DRS administers, including the Teachers’
 2   Retirement System or TRS. I was also involved in defending this case, originally brought
 3
     by Jeffrey Probst but later joined by Mickey and Leisa Fowler, in which the plaintiffs
 4
     challenged DRS’s interest-crediting practices.
 5
                3.   In 2017, I retired from the Office of the Attorney General and allowed my
 6

 7   law license to lapse. This declaration is limited to my personal factual knowledge. It

 8   contains no privileged communications or legal opinions.

 9              4.   I am currently employed by DRS on a part-time basis. My primary job
10   responsibility has been to assist DRS with needs related to the federal-court litigation that
11
     the plaintiffs brought in 2015. I have supplied DRS and its counsel with historical
12
     knowledge about the case. I have also worked to prepare data requested by the plaintiffs as
13
     part of the federal case, and I have drafted cover letters that explain the data.
14

15              5.   In May 2021, I gave a declaration in the federal-court litigation in which I

16   described some of the details as well as some of the challenges associated with compiling

17   and producing data requested by the plaintiffs. This declaration was submitted in response
18
     to a declaration by John Marshall (Dkt 114) and in opposition to Plaintiffs’ Motion to
19
     Approve Formula to Correct Class Members’ Accounts (Dkt 111). A true copy of my 2021
20
     declaration is attached as Exhibit A. This declaration remains accurate today.
21
                6.   John Marshall was deposed in the federal-court litigation. Before his
22

23   deposition, Mr. Marshall produced Excel spreadsheets showing portions of his damage

24   calculations. I reviewed those spreadsheets and am familiar with the calculations they
25   reflect.

      DECLARATION OF SARAH E. BLOCKI                                           K&L GATES LLP
      IN OPPOSITION TO PLAINTIFFS’                                       925 FOURTH AVENUE, SUITE 2900
                                                                             SEATTLE, WA 98104-1158
      MOTION FOR SUMMARY JUDGMENT - 2                                       TELEPHONE: +1 206 623 7580
                                                                            FACSIMILE: +1 206 623 7022
      CASE NO. 05-2-00131-1
      Case 3:15-cv-05367-BHS           Document 190        Filed 03/14/25         Page 27 of 90




 1          7.      I have reviewed the declaration of John D. Marshall dated April 15, 2023,
 2   which the plaintiffs have submitted in support of their motion for summary judgment. I have
 3
     also reviewed the pdf file entitled “Spreadsheet Attachment to Decl of John Marshall 04-
 4
     15-23 Final Differences By Member.”
 5
            8.      Comparing Mr. Marshall’s calculations in 2021, as shown in the
 6

 7   spreadsheets produced before his deposition in the federal-court matter, to the numbers in

 8   the attachment to his April 2023 declaration shows significant differences. These

 9   differences cannot be explained by the two-year gap between the first calculation and the
10   second. For example, Mr. Marshall in 2021 calculated the amount of “missing interest” (at
11
     the time of transfer) for plaintiff Mickey Fowler as $276.97. Mr. Marshall’s 2023
12
     declaration shows the amount of “missing interest” (also at the time of transfer) for Mr.
13
     Fowler as $462.75. For random member 18, Mr. Marshall in 2021 calculated “missing
14

15   interest” of $108.66. Mr. Marshall’s calculation of “missing interest” for member 18 is now

16   $257.47. For the class, his 2021 calculation of the total “missing interest” was $5,920,585.

17   In 2023, it is $8,971,552.
18
            9.      It is impossible to determine the reason(s) for these differences from the
19
     information that Mr. Marshall and the plaintiffs have provided. The spreadsheet produced
20
     before Mr. Marshall’s deposition in the federal-court matter does not show the calculations
21
     supporting the amount of “missing interest” allegedly owed to each individual. The data
22

23   produced in the attachment to Mr. Marshall’s new declaration are in pdf format; thus, the

24   attachment does not show any of the formulas that he used in his more recent calculations.
25


      DECLARATION OF SARAH E. BLOCKI                                        K&L GATES LLP
      IN OPPOSITION TO PLAINTIFFS’                                    925 FOURTH AVENUE, SUITE 2900
                                                                          SEATTLE, WA 98104-1158
      MOTION FOR SUMMARY JUDGMENT - 3                                    TELEPHONE: +1 206 623 7580
                                                                         FACSIMILE: +1 206 623 7022
      CASE NO. 05-2-00131-1
      Case 3:15-cv-05367-BHS          Document 190        Filed 03/14/25          Page 28 of 90




 1          10.    Mr. Marshall’s declaration also sets forth a number of assertions that I know
 2   to be inaccurate or misleading. For example:
 3
            a.     In paragraph 13 of his 04-15-23 declaration, Mr. Marshall implies that his
 4
                   earlier (federal-court) declaration did not rest on calculations of specific
 5
                   amounts allegedly owed for each class member. On the contrary, his 2021
 6

 7                 conclusions did rest on individual calculations.

 8          b.     In paragraph 17, Mr. Marshall states that “DRS has not provided us with

 9                 sufficient information on how its interest-crediting program worked.”
10                 Actually, DRS provided a great deal of information on this subject. DRS
11
                   would have provided more detail had the plaintiffs asked for it instead of
12
                   making assumptions.
13
            c.     In paragraph 22, Mr. Marshall states that DRS “corrected the anomalous data
14

15                 . . . .” This is a misstatement: DRS did not “correct” anything in the

16                 anomalous data. Rather, as explained in the cover letters provided to the

17                 plaintiffs, DRS provided the data as it appeared in its system and highlighted
18
                   areas that may require special attention in the calculation of interest. Mr.
19
                   Marshall does not explain how he gave special attention in those areas, if he
20
                   did so.
21
            d.     Paragraph 26 reflects another misunderstanding of the data DRS provided to
22

23                 plaintiffs. In paragraph 5.b. of my prior declaration (attached), I explained

24                 that for each employee contribution to an employee’s account, the
25                 transaction data provided to the plaintiffs contained the date of the

      DECLARATION OF SARAH E. BLOCKI                                        K&L GATES LLP
      IN OPPOSITION TO PLAINTIFFS’                                    925 FOURTH AVENUE, SUITE 2900
                                                                          SEATTLE, WA 98104-1158
      MOTION FOR SUMMARY JUDGMENT - 4                                    TELEPHONE: +1 206 623 7580
                                                                         FACSIMILE: +1 206 623 7022
      CASE NO. 05-2-00131-1
     Case 3:15-cv-05367-BHS          Document 190        Filed 03/14/25         Page 29 of 90




 1                transaction and the amount of the transaction. The date of the transaction
 2                was the date that DRS processed the employer’s electronic transmittal of
 3
                  compensation and hours for the period and electronically posted the
 4
                  corresponding contribution amount in the employee’s account. The
 5
                  employer’s transmittal of funds (by warrant or electronically) to cover its
 6

 7                employees’ contributions is entirely separate from its transmittal of

 8                compensation and hours. At times DRS receives the funds before the

 9                transmittal; at times DRS receives the funds after the transmittal. These
10                funds are transferred to the Office of the State Treasurer and are credited to
11
                  the TRS Plan 2/3 trust fund when DRS receives them.
12
                  In Paragraph 26, referring to RCW 41.50.120, Mr. Marshall states that
13
                  (i) if DRS received an employee’s contributions before the statutory
14

15                deadline, he calculated interest from the date the funds were received; but

16                (ii) if DRS received an employee’s contributions after the statutory deadline,

17                he calculated interest from the date the funds should have been received, i.e.
18
                  the 15th of the month. There are at least two problems with Mr. Marshall’s
19
                  proposed methodology.
20
                  First, nothing in the data DRS provided to the plaintiffs indicates when DRS
21
                  received particular funds. Mr. Marshall appears to believe that the date in
22

23                DRS’s data associated with a particular employee contribution (i.e., the

24                “transaction date”) is the date the contribution was received and deposited.
25                To the contrary, the “transaction date” in the data is the date that DRS

     DECLARATION OF SARAH E. BLOCKI                                       K&L GATES LLP
     IN OPPOSITION TO PLAINTIFFS’                                   925 FOURTH AVENUE, SUITE 2900
                                                                        SEATTLE, WA 98104-1158
     MOTION FOR SUMMARY JUDGMENT - 5                                   TELEPHONE: +1 206 623 7580
                                                                       FACSIMILE: +1 206 623 7022
     CASE NO. 05-2-00131-1
         Case 3:15-cv-05367-BHS          Document 190         Filed 03/14/25          Page 30 of 90




 1                    processed the employer’s transmittal of the employee’s hours and
 2                    compensation for the period and electronically posted the contribution in the
 3
                      employee’s account. 1 As noted above, the employer’s transmittal of data
 4
                      (hours and compensation) is independent of the employer’s transfer of funds
 5
                      to DRS.
 6

 7                    Second, Mr. Marshall’s belief that interest accrues (or should accrue) from

 8                    the date funds should have been received by DRS rather than when they were

 9                    actually deposited in the trust fund seems questionable. If I receive a check
10                    and fail to deposit it in my bank for a quarter, I cannot argue to the bank that
11
                      I should receive interest from the date I received the check because I
12
                      intended to deposit and should have deposited it immediately. The bank
13
                      awards interest from the date the check is actually deposited.
14

15             e.     Paragraph 29 describes how Mr. Marshall handled “corrections” allegedly

16                    made by DRS. It is impossible to evaluate the appropriateness of Mr.

17                    Marshall’s generic treatment of what he labels as “corrections” without
18
                      examining specific concrete examples. Employers and/or DRS may make
19
                      corrections for various reasons. How these corrections should be handled for
20
                      purposes of calculating daily interest depends on the specific circumstances
21
                      underlying each correction.
22

23

24

25
     1
         RCW 41.50.120 does not govern the timing of employer transmittals of data.

         DECLARATION OF SARAH E. BLOCKI                                         K&L GATES LLP
         IN OPPOSITION TO PLAINTIFFS’                                     925 FOURTH AVENUE, SUITE 2900
                                                                              SEATTLE, WA 98104-1158
         MOTION FOR SUMMARY JUDGMENT - 6                                     TELEPHONE: +1 206 623 7580
                                                                             FACSIMILE: +1 206 623 7022
         CASE NO. 05-2-00131-1
Case 3:15-cv-05367-BHS   Document 190   Filed 03/14/25   Page 31 of 90
Case 3:15-cv-05367-BHS   Document 190   Filed 03/14/25   Page 32 of 90




                 EXHIBIT B
      Case 3:15-cv-05367-BHS            Document 190      Filed 03/14/25             Page 33 of 90




 1    Hearing Date: July 7, 2023
      Hearing Time: 10:45 a.m.
 2    Judge/Calendar: Hon. Allyson Zipp
 3

 4

 5

 6

 7               IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                         IN AND FOR THE COUNTY OF THURSTON
 8

 9 JEFFREY PROBST and a class of similarly              Case No. 05-2-00131-1
   situated individuals,
10                                                      (Consolidated with
                          Plaintiffs,                   No. 05-2-02141-9)
11
                                                        DECLARATION OF
12 MICKEY FOWLER and LEISA MAURER,                      SARAH E. BLOCKI IN
   and a class of TRS Plan 3 members,                   RESPONSE TO JULY 5, 2023,
13                                                      DECLARATION OF
                          Plaintiffs/                   ALEXANDER F. STRONG
14
                          Class Representatives,
15
           v.
16
   DEPARTMENT OF RETIREMENT
17 SYSTEMS,

18
                          Defendant.
19

20
            I, Sarah E. Blocki, hereby certify and declare as follows:
21
            1.     I am over 18 years of age and competent to testify. I make the following
22
     declaration based on personal knowledge.
23

24          2.     On May 29, 2023, I signed a declaration in opposition to Plaintiffs’ motion

25   for summary judgment. The May 2023 declaration attached a May 2021 declaration I gave



      DECLARATION OF SARAH E. BLOCKI IN                                        K&L GATES LLP
                                                                         925 FOURTH AVENUE, SUITE 2900
      RESPONSE TO JULY 5, 2023, DECLARATION OF                               SEATTLE, WA 98104-1158
                                                                            TELEPHONE: +1 206 623 7580
      ALEXANDER F. STRONG- 1                                                FACSIMILE: +1 206 623 7022
      Case 3:15-cv-05367-BHS            Document 190         Filed 03/14/25          Page 34 of 90




 1   in the Fowlers’ federal court litigation. Both declarations remain accurate today. This
 2   declaration will not repeat the background information provided in the prior declarations.
 3
            3.      On July 3, 2023, Plaintiffs responded to DRS’s interrogatories and requests
 4
     for production by making various complaints about DRS’s earlier responses to “informal
 5
     discovery.” Declaration of Alexander F. Strong, July 5, 2023 (attaching Plaintiffs’
 6

 7   Responses to Defendant’s Interrogatories and Requests for Production as Exhibit 1). This

 8   declaration addresses those complaints.

 9          4.      On page 5, lines 7–9, of their Exhibit 1, Plaintiffs claim, “According to Ms.
10   Blocki, the ‘transaction’ dates that DRS provided are not when the employee contributions
11
     should have begun accruing daily interest.” Id., Ex. 1. To the contrary, I made no
12
     assertion in my May 2023 declaration about the date that DRS believed employee
13
     contributions should (or should not) begin to accrue daily interest. My declaration was
14

15   limited to identifying potential problems in Mr. Marshall’s calculation methodology that

16   must be explained more fully before DRS can evaluate his calculations.

17          5.      On page 5 of Exhibit 1, Plaintiffs discuss a November 2019 status
18
     conference in which DRS’s then-counsel informed Plaintiffs that he had been informed
19
     “that all data needed to calculate interest is available electronically in DRS systems . . . .”
20
     I was not employed at DRS in November 2019 and have no personal knowledge of (i) the
21
     specifics regarding what DRS staff communicated to its counsel, or (ii) the specifics
22

23   regarding what DRS counsel relayed to Plaintiffs regarding the nature and useability of

24   DRS data. However, I am aware that DRS currently believes that, in general, the
25   “transaction date” for a particular contribution is a reasonable start date for the calculation


      DECLARATION OF SARAH E. BLOCKI IN                                        K&L GATES LLP
                                                                         925 FOURTH AVENUE, SUITE 2900
      RESPONSE TO JULY 5, 2023, DECLARATION OF                               SEATTLE, WA 98104-1158
                                                                            TELEPHONE: +1 206 623 7580
      ALEXANDER F. STRONG- 2                                                FACSIMILE: +1 206 623 7022
      Case 3:15-cv-05367-BHS             Document 190       Filed 03/14/25          Page 35 of 90




 1   of daily interest; these “transaction dates” for individual contributions are available
 2   electronically in DRS systems. This is reflected in the recent amendment to WAC 415-
 3
     02-150 (implementing daily interest), which uses “transaction dates” as start dates for the
 4
     calculation of daily interest. WAC 415-02-150 (effective July 2022).
 5
             6.      On page 5 of my May 2023 declaration, I indicated that technically the
 6

 7   “transaction date” is the date that DRS processed the employer’s electronic transmittal of

 8   data (compensation and hours) for a pay period and electronically posted the

 9   corresponding contribution amount in the employee’s account. Employers send DRS the
10   contribution funds due for a particular pay period (as an aggregate amount for all
11
     employees) through a separate process. The funds may be received on the transaction date
12
     or slightly before or after the transaction date.
13
             7.      My understanding is that the DRS database has no means to electronically
14

15   extract data to pair the transaction date for an individual contribution with the date money

16   covering that contribution was actually received by DRS. Such a pairing would require a

17   manual process through which DRS’s Employer Services Unit would have to locate the
18
     employer data transmittal that contained the particular transaction. The Employer
19
     Services Unit would have to provide information identifying the employer data transmittal
20
     to the Accounts Receivable Unit (AR) so that AR could find the employer payment
21
     associated with the data transmittal and ascertain its date. DRS would have to perform
22

23

24

25



      DECLARATION OF SARAH E. BLOCKI IN                                       K&L GATES LLP
                                                                        925 FOURTH AVENUE, SUITE 2900
      RESPONSE TO JULY 5, 2023, DECLARATION OF                              SEATTLE, WA 98104-1158
                                                                           TELEPHONE: +1 206 623 7580
      ALEXANDER F. STRONG- 3                                               FACSIMILE: +1 206 623 7022
       Case 3:15-cv-05367-BHS                Document 190           Filed 03/14/25           Page 36 of 90




 1   this manual process up to a million times to provide the date that the money covering each
 2   individual contribution of each individual class member was received.1
 3
             8.       Even if the work in ¶ 7 were attempted, there could be instances in which
 4
     pairing of individual transactions with the dates when contribution money was actually
 5
     received could not be done. The following hypothetical illustrates one scenario in which
 6

 7   the pairing would not be possible.

 8                    a. On February 9, an employer transmits employee compensation and

 9                         hours for January and calculates that it owes $300,000 in employee
10                         contributions.
11
                      b. On February 10, the employer sends $300,000 to DRS through an
12
                           electronic funds transfer (EFT). The funds are immediately deposited
13
                           in the TRS Plan 2/3 trust fund.
14

15                    c. On February 11, errors are discovered in the employer’s data

16                         transmittal, and it is determined that only $290,000 in employee

17                         contributions had been due.
18
                      d. Rather than refund $10,000 to the employer, DRS credits the
19
                           employer’s account with $10,000. In essence, this becomes a
20
                           prepayment of a portion of the contributions for the following month.
21

22

23
     1
       In July 2020, DRS provided Plaintiffs with a file titled <Fowler Class Clean Accounts Detail with Earning
24   Period 2020-07-07>. This file contained data for currently active members of the Plaintiff class. This file
     consisted of over a million rows, each row containing data about a single contribution of an individual
25   member (Member ID#, Transaction Date, Contribution Amount, Earning Period). In January 2021, DRS
     provided an analogous file for inactive class members.


      DECLARATION OF SARAH E. BLOCKI IN                                                K&L GATES LLP
                                                                                 925 FOURTH AVENUE, SUITE 2900
      RESPONSE TO JULY 5, 2023, DECLARATION OF                                       SEATTLE, WA 98104-1158
                                                                                    TELEPHONE: +1 206 623 7580
      ALEXANDER F. STRONG- 4                                                        FACSIMILE: +1 206 623 7022
      Case 3:15-cv-05367-BHS               Document 190      Filed 03/14/25         Page 37 of 90




 1                   e. On March 9 (reporting February compensation and hours), the
 2                       employer also owes $290,000 in employee contributions. It meets this
 3
                         obligation with (1) the $10,000 on credit in its account plus (2)
 4
                         $280,000 of additional funds transferred to DRS by EFT on March 10.
 5
                     f. If the employer owed $200 for a particular member’s February
 6

 7                       contributions, there is no basis to say that the $200 is covered by the

 8                       $10,000 credit (funds received on February 10) or by the $280,000

 9                       (funds received on March 10).
10   In short, the contributions transmitted by employers are aggregate amounts, not attributed
11
     to specific individual employees, and individual calculations based on the date when funds
12
     are actually received would not always be possible.
13
             9.      On page 7 of Exhibit 1, Plaintiffs claim that through my May 2023
14

15   declaration, DRS repudiated the use of “transaction dates” as “contribution dates.” This is

16   a misinterpretation of the explanation I provided. As indicated in ¶ 5 above, DRS’s

17   recently adopted daily interest methodology uses “transaction dates” as “contribution
18
     dates” to calculate daily interest.
19
             10.     The reason I explained that the “transaction date” may be different from
20
     the date that contribution funds are actually received in my May 2023 declaration was to
21
     respond to certain apparent misunderstandings and conclusions in ¶ 26 of Mr. Marshall’s
22

23   declaration. Declaration of Sarah E. Blocki in Opposition to Plaintiffs’ Motion for

24   Summary Judgment, May 29, 2023, p. 4, ¶ 10.d. (responding to Declaration of John D.
25   Marshall, April 15, 2023). Mr. Marshall cited RCW 41.50.120 for the proposition that


      DECLARATION OF SARAH E. BLOCKI IN                                       K&L GATES LLP
                                                                        925 FOURTH AVENUE, SUITE 2900
      RESPONSE TO JULY 5, 2023, DECLARATION OF                              SEATTLE, WA 98104-1158
                                                                           TELEPHONE: +1 206 623 7580
      ALEXANDER F. STRONG- 5                                               FACSIMILE: +1 206 623 7022
         Case 3:15-cv-05367-BHS         Document 190        Filed 03/14/25         Page 38 of 90




 1   employers were statutorily required to submit contributions (funds) within 15 days
 2   following the end of each calendar month and asserted that “not all employers necessarily
 3
     did so.” Through my explanation, I was simply pointing out that because Plaintiffs had
 4
     only transaction dates, they had no way to determine with certitude whether the funds
 5
     themselves were or were not received by the 15th of the month.
 6

 7            11.   Mr. Marshall explained that if the transaction date (i.e., the date he

 8   understood to be contribution date) fell after the 15th of the month, he allowed interest to

 9   accrue on the amount beginning on the 15th. This conclusion potentially skewed his
10   calculations. Assume that a transaction date was December 22.
11
                    a. If December 22 was the date the employer transmitted contribution data
12
                        for November and if funds covering the contributions were transferred
13
                        within a couple days of December 22, Mr. Marshall’s calculations
14

15                      allowed the contributions to accrue interest for about a week before

16                      funds were actually received.

17                  b. If December 22 was the date the employer transmitted contribution data
18
                        for December2 and if funds were transferred closer to the statutory
19
                        deadline on January 15, Mr. Marshall’s calculations allowed the
20
                        contributions to accrue interest almost a month before the employee
21

22

23

24   2
       There are times when, for convenience, an employer may transmit compensation and
     hours for a month before the end of the month. In this example, the employer may have
25   transmitted early to allow its payroll employees time off during the holidays (when it
     usually would be reporting to DRS).


         DECLARATION OF SARAH E. BLOCKI IN                                   K&L GATES LLP
                                                                       925 FOURTH AVENUE, SUITE 2900
         RESPONSE TO JULY 5, 2023, DECLARATION OF                          SEATTLE, WA 98104-1158
                                                                          TELEPHONE: +1 206 623 7580
         ALEXANDER F. STRONG- 6                                           FACSIMILE: +1 206 623 7022
       Case 3:15-cv-05367-BHS                   Document 190           Filed 03/14/25           Page 39 of 90




 1                             received the paycheck from which the contributions were subtracted
 2                             and almost a month before the funds were actually received.
 3
                12.        On page 6 of Exhibit 1, Plaintiffs cite a table DRS provided containing
 4
     definitions of the data fields that DRS provided to Plaintiffs. The table indicated that DRS
 5
     had provided data in the “transaction date” field in its database, and that this date was “the
 6

 7   date DRS received the member’s TRS Plan 2 contributions from the employer.” Although

 8   Plaintiffs read the definition to mean that the “transaction date” was the date that

 9   contribution money was received (as distinct from the date contribution data was
10   received), DRS’s recent use of similar terminology suggests that DRS does not draw a
11
     bright-line distinction between the receipt of contribution data and the receipt of
12
     contribution funds. Its business practices have never required it to do so.
13
                           a. In an example3 in the 2022 amendment of WAC 415-02-150, DRS uses
14

15                             the terminology “[the] employer submits the following contributions”

16                             without drawing a distinction between the receipt of contribution data

17                             and receipt of contribution funds. The dates for the contributions listed
18
                               in the rule are the dates DRS received and processed the data regarding
19
                               the contributions, not the dates DRS received the actual funds.
20
                               Similarly, in the table provided to Plaintiffs, DRS appears to have used
21

22
                3
                    The example in the rule begins: “John's employer submits the following contributions to PERS
23   Plan 2.”
                                  3/11         $100
24                                3/27         $100
                                  4/10         $100
25   The listed dates are the “transaction dates” in the database when data about the contributions was submitted
     by the employer.


      DECLARATION OF SARAH E. BLOCKI IN                                                   K&L GATES LLP
                                                                                    925 FOURTH AVENUE, SUITE 2900
      RESPONSE TO JULY 5, 2023, DECLARATION OF                                          SEATTLE, WA 98104-1158
                                                                                       TELEPHONE: +1 206 623 7580
      ALEXANDER F. STRONG- 7                                                           FACSIMILE: +1 206 623 7022
      Case 3:15-cv-05367-BHS            Document 190        Filed 03/14/25         Page 40 of 90




 1                      the terminology “received the member’s . . . contributions from the
 2                      employer” without drawing a distinction between receipt of
 3
                        contribution data and receipt of contribution funds.
 4
            13.     On page 6, FN 2, of Exhibit 1, Plaintiffs refer to a Joint Status Report filed
 5
     in this cause number in June 2020. It provides:
 6

 7                  Review of class member retirement account data reveals that
                    approximately 1,000 of the approximately 23,570 individual member
 8                  files had anomalies in data due to conversion issues (created when
                    the data was moved from older electronic systems to newer systems
 9                  over the years) and other related issues. More than half of the
                    anomalous files have been reviewed and corrected using other data
10                  in available in the record system, but approximately 400 files remain
11                  that will need to be researched and corrected by hand by DRS pension
                    staff.
12
            14.     Plaintiffs complain that I failed to acknowledge the approximately 600 files
13
     that apparently had been corrected. When I submitted my May 2023 declaration, I had
14

15   never seen this Joint Status Report, and had no knowledge of the approximately 600

16   “anomalous files” that had received some sort of correction. One of my first tasks when I

17   was employed was to review the remaining approximately 400 anomalous files. Thus, in
18
     my mind, the term “anomalous files” referred only to the 400 files that I was tasked to
19
     review. With regard to these files, it was agreed that no corrections would be made, and
20
     that I would simply highlight data that I believed would warrant special consideration if
21
     used to calculate daily interest. Plaintiffs were informed about the significance of the
22

23   highlighted data in cover letters transmitting the data.

24          15.     On page 7, lines 4-6, of Exhibit 1, Plaintiffs state that Mr. Marshall has
25   revised his calculations to calculate daily interest “from the date when contributions were


      DECLARATION OF SARAH E. BLOCKI IN                                      K&L GATES LLP
                                                                       925 FOURTH AVENUE, SUITE 2900
      RESPONSE TO JULY 5, 2023, DECLARATION OF                             SEATTLE, WA 98104-1158
                                                                          TELEPHONE: +1 206 623 7580
      ALEXANDER F. STRONG- 8                                              FACSIMILE: +1 206 623 7022
         Case 3:15-cv-05367-BHS              Document 190            Filed 03/14/25           Page 41 of 90




 1   deducted from class member paychecks at the end of each earnings period.” The
 2   following example reflects my understanding of this statement:
 3
                       a. A hypothetical row in the data provided to Plaintiffs is:
 4
                       Member ID# Transaction Date Contribution Amt Earning Period
 5                       11111       8/10/1994            $50         02/19944
 6                     b. Apparently, Mr. Marshall now treats the $50 contribution as beginning
 7
                           to accrue interest on March 1, 1994 (the day following the close of the
 8
                           02/1994 earning period).
 9
                       c. A transaction date of 8/10/1994 implies that the $50 contribution was
10

11                         subtracted from the employee’s July paycheck, and that the funds

12                         covering the $50 were received by DRS within a couple days of

13                         August10 (either before or after).
14
                       d. Mr. Marshall’s new methodology would allow interest to accrue on $50
15
                           approximately 5 months before the employee ever received the
16
                           paycheck from which the $50 was subtracted, and approximately 5
17
                           months before the $50 was received and deposited into the trust fund.
18

19            16.      On page 8, lines 3-4, of Exhibit 1, Plaintiffs accuse DRS of a “failure to

20   keep records.” To the contrary, throughout the history of TRS Plan 2, DRS has kept the
21

22
     4
      It is not uncommon for a contribution to be attributed to an earning period well before the transaction date.
23   This is largely because most teachers work approximately 9 months of the year and are paid over 12 months.
     For example, because most teachers do not work in July, the compensation received (and the associated
24   contributions) must be attributed to prior months during which the employee did work. An agency that
     provides administrative support to school districts (Washington School Information Processing
25   Cooperative)has an algorithm that most employers use to determine how to attribute compensation and
     contributions to prior pay periods. Other employers have developed their own algorithms.


         DECLARATION OF SARAH E. BLOCKI IN                                              K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
         RESPONSE TO JULY 5, 2023, DECLARATION OF                                     SEATTLE, WA 98104-1158
                                                                                     TELEPHONE: +1 206 623 7580
         ALEXANDER F. STRONG- 9                                                      FACSIMILE: +1 206 623 7022
      Case 3:15-cv-05367-BHS            Document 190        Filed 03/14/25          Page 42 of 90




 1   records necessary for its business purposes. Nothing in DRS’s business operation has
 2   required it to maintain a record of the date that the funds to cover each individual
 3
     employee contribution were received and deposited into the trust fund.
 4
            17.     As contemplated in RCW 41.50.130 et seq., when errors in DRS records
 5
     are identified, DRS makes corrections and, if appropriate, adjusts payments to members
 6

 7   and beneficiaries. If a court were to enter a final judgment, not subject to appeal, in the

 8   Plaintiffs’ favor, I expect that DRS, based on its unique understanding of its own data and

 9   all the nuances related thereto, would devise a reasonable method to calculate the
10   additional interest Plaintiffs would have received had daily interest been paid on their
11
     contributions before they transferred to TRS Plan 3.
12

13
     I declare under penalty of perjury under the laws of the State of Washington that the
14

15   foregoing is true and correct.

16
            DATED this 6th day of July 2023 at Lakewood, Washington.
17

18

19                                                  Sarah E. Blocki
20

21

22

23

24

25



      DECLARATION OF SARAH E. BLOCKI IN                                       K&L GATES LLP
                                                                        925 FOURTH AVENUE, SUITE 2900
      RESPONSE TO JULY 5, 2023, DECLARATION OF                              SEATTLE, WA 98104-1158
                                                                           TELEPHONE: +1 206 623 7580
      ALEXANDER F. STRONG- 10                                              FACSIMILE: +1 206 623 7022
Case 3:15-cv-05367-BHS   Document 190   Filed 03/14/25   Page 43 of 90




                 EXHIBIT C
Case 3:15-cv-05367-BHS   Document 190   Filed 03/14/25   Page 44 of 90
Case 3:15-cv-05367-BHS   Document 190   Filed 03/14/25   Page 45 of 90




                 EXHIBIT D
                Case 3:15-cv-05367-BHS           Document 190          Filed 03/14/25     Page 46 of 90




  K&L GATES


        February 9, 2021


       By E-mail

       Alex Strong
       Bendich, Stobaugh and Strang P.O.
       126 NW Canal Street, Suite 100
       Seattle, WA 98107-4970
       Email: astrong@bs-s.com

       Re:        Fowler v. Guerin, Case No. 3:15-cv-05367-BHS
                  Sixth Installment of Data for "Anomalous Accounts”

       Dear Alex:

               Enclosed with this letter, Director Tracy Guerin transmits the following six additional files
        regarding class members:

                  1. <Fowlerlnstallment6a>: This file is analogous to the file <Fowler Class Clean Accounts
                     Transfer Data 2020—04-25>, which was previously transmitted to you for the majority
                     of the class members. The data highlighted in blue are “as extracted" by the
                     Department’s extraction program. The Department is reviewing this data independent
                     of this litigation.

                  2. <Fowlerlnstallment6b>: This file is analogous to the file <Fowler Class Clean Accounts
                     Detail with Earning Period 2020—07-07>, which was previously transmitted to you for
                     the majority of the class members.

                  3. <Fowlerlnstallment7a>: This file is analogous to the file <Fowler Class Clean Accounts
                     Transfer Data 2020—04-25>, which was previously transmitted to you for the majority
                     of the class members. The data highlighted in blue are "as extracted” by the
                     Department’s extraction program. This data will likely require special handling in
                     subsequent calculations. The Department is reviewing some of this data independent
                     of this litigation.

                  4. <Fowlerlnstallment7b>: This file is analogous to the file <Fowler Class Clean Accounts
                     Detail with Earning Period 2020—07-07>, which was previously transmitted to you for
                     the majority of the class members.




K&L GATES LLP
925 FOURTH AVENUE SUITE 2900 SEATTLE WA 98104-1158
T+1 206 623 7580 F+1 206 623 7022 klgates.com
503918922 Vi
                                                                                                        klg3t0s.com
    Case 3:15-cv-05367-BHS               Document 190           Filed 03/14/25        Page 47 of 90




        5. <Fowlerlnstallment8a>: This file is analogous to the file <Fowler Class Clean Accounts
           Transfer Data 2020—-04-25>, which was previously transmitted to you for the majority
           of the class members. The data highlighted in blue are “as extracted" by the
           Department’s extraction program. This data will likely require special handling in
           subsequent calculations. The Department is reviewing some of this data independent
           of this litigation.

        6. <Fowlerlnstallment8b>; This file is analogous to the file <Fowler Class Clean Accounts
           Detail with Earning Period 2020—07-07>, which was previously transmitted to you for
           the majority of the class members.

        The data in these files were initially withheld from the Director's data production because
the members were among 389 individuals that required a manual review.1 The Director reviewed
these three member accounts to determine whether the extracted data were accurate. Unless
flagged for further review as indicated above, the Director found that the extracted data accurately
reflected transactions in the members’ accounts.

        The Director believes that certain entries, which are accurate for purposes of the
Department’s business operations, may lead to inaccurate results when used by Plaintiffs to
calculate “daily interest" under their theory of the case. To the extent possible, the Department
has highlighted the entries that it believes may require special handing in the calculation of "daily
interest.”2

        Upon review, the Director found that the accounts of the three members referenced in
<Fowlerlnstallment6a> contained transactions that had occurred after the member’s transfer to
TRS Plan 3. For two of the three, the additional transactions have no relevance to this lawsuit,
and, therefore, do not appear in <Fowlerlnstallment6b>, provided here. For the third member,
the additionaitransactions may be relevant to the lawsuit. Because they were not picked up by
the extraction program, they have been added to <Fowlerlnstallment6b> manually in red font.

        The data in <Fowlerlnstallment7b> are shown on seven sheets as follows:

        1.     <ContrRev> contains data for one member for whom contributions were initially
             . reported in TRS Plan 2 (T2) for periods during which the member was ineligible. When
               it was later discovered that these contributions had been erroneously reported, the
               contributions were reversed through a series of negative entries. The contributions
               and the regular interest on those contributions (from the time made through the time
               reversed) were refunded to the member. Both the original transactions and the
               subsequent reversing transactions are provided, with highlighting as explained above.


1 Names of these members were provided to Plaintiffs in May 2020 in the file <Fowler Class Review
Accounts - Names Only 2020-04-25.>
2 There may be other transactions in the members' accounts that also require special handling.


                                                    2
                                                                                             February 9, 2021
Case 3:15-cv-05367-BHS           Document 190          Filed 03/14/25       Page 48 of 90




 2. <Conversion> contains data for twelve members. These members had entries in their
    extracted data that appear in the Department’s records as "Conversion Errors" and
    “Conversion Corrections.” Conversion Errors arose on December 31,1992, when the
    Department converted from a prior database to its current database (Member
    Information System or MIS). Although the “Conversion Errors” contained information
    necessary for the Department's business operations, the Department subsequently
    audited accounts and corrected any Conversion Errors that inaccurately affected the
    balance in a member’s account. These corrections appear in the Department’s
    records as "Conversion Corrections.” The data provided to Plaintiffs include the
    entries for Conversion Errors and Conversion Corrections, with highlighting as
    explained above.

 3. <PriorWD> contains data for 14 members. These members became members of T2,
    then separated from T2 service and withdrew all accumulated contributions in their T2
    individual accounts (contributions plus regular interest). Later, these members
    returned to service as T2 members. When a member returned to service, a new record
    for the member was created in the Department’s database.

    At some point, after the member's withdrawal, the member's employer reported
    additional transactions related to the pre-withdrawal employment, and these
    transactions were reported in the member’s old record. The Department's program
    extracted data from the new record but not the old. The member’s post-withdrawal
    transactions from the old record have been entered in <Fowlerlnstallment7b>
    manually in red font.

    In some cases, the member's new records contain a “Conversion Error" that duplicates
    the post-withdrawal transactions. As explained above with regard to
    <Fowlerlnstallment 7a>, the Department is reviewing these accounts independent of
    this litigation. This review may lead to small adjustments in these accounts.

 4. <Restorations> contains data for five members who restored service credit by making
    the required payments. These restoration payments are included in the data provided.
    The data are likely to require a specially tailored treatment in order to calculate “daily
    interest” accurately. The data for these members are provided, with highlighting as
    explained above.

 5. <SSNCorr> contains data for one member. This member has some contributions that
    were initially reported under an incorrect social security number, (SSN) but later
    transferred to the correct social security number. The data for this member are
    provided, with highlighting as explained above.

 6. <SysTran> contains data for one member. This member has some contributions that
    were reported in one retirement system but later transferred into T2. To accommodate


                                          3
                                                                                  February 9, 2021
     Case 3:15-cv-05367-BHS                Document 190           Filed 03/14/25         Page 49 of 90




            the calculation of “daily interest,” the transaction date provided for any given
            contribution is the date the contribution was made in the original system, not the date
            the contribution was transferred into T2. The data for this member are provided, with
            highlighting as explained above,

        7, <NoSpecialConsiderations> contains data for five members. The contribution data for
           these members are accurate and are provided, with highlighting as explained above.

        The data in <Fowlerlnstailment8b> are shown on nine sheets as follows:

        1. <ContrRev> contains data for four members for whom contributions were initially
           reported in TRS Plan 2 (T2) for periods that were later found to be ineligible. When
           either the Department or the member’s employer discovered that these contributions
           had been erroneously reported, the contributions were reversed through a series of
           negative entries. The contributions and the regular interest on those contributions
           (from the time made through the time reversed) were refunded to the member. Both
           the original transactions and the subsequent reversing transactions are provided, with
           highlighting as explained above.

        2. <Conversion> contains data for 17 members. These members had entries in their
           extracted data that appear in the Department's records as "Conversion Errors” and
           “Conversion Corrections." Conversion Errors arose on December 31,1992, when the
           Department converted from a prior database to its current database (Member
           Information System or MIS). Although the "Conversion. Errors" contained information
           necessary for the Department's business operations, the Department subsequently
           audited accounts and corrected any Conversion Errors that inaccurately affected the
           balance in a member's account. These corrections appear in the Department's
           records as “Conversion Corrections." The data provided to Plaintiffs include the
           entries for Conversion Errors and Conversion Corrections, with highlighting as
           explained above.

        3. <LateReporting> contains data for two members. When an employer reports
           contributions for an earlier earning period, the Department begins to award regular
           interest on those contributions only after they are reported and' received by the
           Department. The contribution data for these members are accurate and.are provided,
           with highlighting as explained above.

        4. <Mbr#Corr> contains data for six members. Members are identified by “Member
           Numbers” in the Department’s database.3 For the members on this sheet, either




3 Class members are identified by this member number in the contribution detail provided to Plaintiffs.


                                                     4
                                                                                               February 9,2021
     Case 3:15-cv-05367-BHS             Document 190          Filed 03/14/25        Page 50 of 90




               a. Some of their contributions were erroneously reported by the employer under
                   another member number and later transferred into their correct member
                   number; or
               b. Some contributions that did not belong to the class member were erroneously
                   reported by the employer under the class member’s number.               These
                   contributions were later transferred to the correct member number.
            Both the original transactions and the subsequent reversing transactions, if any, are
            provided, with highlighting as explained above.

       5. <Mult-OtherConsider> contains data for 17 members. Data for members listed here
          either involve more than one of the special considerations listed here or other special
          circumstances. The contribution data for these members are correct. However, due
          to audits and other special circumstances, the data of these members are likely to
          require a specially tailored treatment in order to calculate "daily interest" accurately.
          The contribution data for these members are provided, with highlighting as explained
          above.

       6. <SSNCorr> contains data for ten members. These members all have some
          contributions that were initially reported under an incorrect social security number,
          (SSN) but later transferred to their correct social security numbers. To accommodate
          the calculation of daily interest, the transaction date provided for any given contribution
          is the date the contribution was made under the incorrect SSN, not the date the
          contribution was transferred into the correct SSN. The data for these members are
          provided, with highlighting as explained above.

       7.   <SysTran> contains data for 17 members.                These members all have some
            contributions that were initially reported in one retirement system, but later transferred
            into T2, To accommodate the calculation of daily interest, the transaction date
            provided for any given contribution is the date the contribution was made in the original
            system, not the date the contribution was transferred into T2. The data for these
            members are provided, with highlighting as explained above.

       8. <SysTran-SSN> contains data for one member. This member's contributions are
          affected by the considerations listed in both the <SSNCorr> and the <SysTran> sheets
          described above. The data for this member are provided, with highlighting as
          explained above.

       9. <NoSpecialConsideration> contains data for four members. The contribution data for
          these members are accurate and are provided, with highlighting as explained above.

      Some of the members in this <Fowlerlnstallment8b> installment had prior withdrawals.
These members became members of T2, then separated from T2 service and withdrew all
accumulated contributions in their T2 individual accounts (contributions plus regular interest).



                                                  5
                                                                                          February 9, 2021
     Case 3:15-cv-05367-BHS             Document 190          Filed 03/14/25       Page 51 of 90




Later, these members returned to service as T2 members. When a member returned to service,
a new record for the member was created in the Department’s database.

        At some point, after the member's withdrawal, the member’s employer reported additional
transactions related to the pre-withdrawal employment, and these transactions were reported in
the member’s old record. The Department's program extracted data from the new record but not
the old. The member's post-withdrawal transactions from the old record have been entered in
<Fowlerlnstallment8b> manually in red font.

       In some cases, the member’s new records contain a "Conversion Error” that duplicates
the post-withdrawal transactions. As explained above with regard to <Fowlerlnstallment 8a>, the
Department is reviewing these accounts independent of this litigation. This review may lead to
small adjustments in these accounts.
                                          *      *       *

        While all of the data above were extracted in a manner consistent with all other member
data, the Director reserves all rights to object to any calculation of “daily interest" that does not
adequately address the various matters described above.

        Please let us know if you have questions regarding the data provided in this sixth
installment. The Director continues to review the remaining anomalous data and will provide
further updates as they are available.



Very truly yours,




Christopher M. Wyant



Enclosures




                                                 6
                                                                                         February, 9,. 2021
Case 3:15-cv-05367-BHS   Document 190   Filed 03/14/25   Page 52 of 90




                  EXHIBIT E
           Case 3:15-cv-05367-BHS          Document 190          Filed 03/14/25       Page 53 of 90




 1                                                                     The Honorable Benjamin H. Settle

 2

 3

 4

 5

 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT TACOMA

 9   MICKEY FOWLER, LEISA MAURER, and a
     class of similarly situated individuals,                 Case No. 3:15-cv-05367-BHS
10

11                           Plaintiffs,                      DEFENDANT’S RESPONSES AND
                                                              OBJECTIONS TO PLAINTIFFS’
12            v.                                              INTERROGATORIES AND REQUESTS
                                                              FOR DOCUMENTS DATED JANUARY
13   TRACY GUERIN, Director of the Washington                 31, 2025
     State Department of Retirement Systems,
14

15                           Defendant.

16

17            Pursuant to Federal Rules of Civil Procedure 26, 33, and 34, Defendant Kathryn

18   Leathers 1 (“the Director”) provides these objections and responses to Plaintiffs’ Interrogatories

19   (“Interrogatories”) and Requests for Production of Documents (“Requests”), served on January

20   31, 2025 (collectively, “Discovery Requests”). Each of the following responses is made only

21   for the purposes of this action. Each response is subject to all rights to objections as to relevance,

22   materiality, and admissibility of any and all information and documents requested, and to any

23

24

25
     1
      Kathryn Leathers was recently appointed to serve as Director of the Department of
26   Retirement Systems. The Director will complete the required procedure to substitute Ms.
     Leathers for Ms. Guerin.

         DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                              K&L GATES LLP
                                                                                    925 FOURTH AVENUE, SUITE 2900
         INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 1                                 SEATTLE, WA 98104-1158
                                                                                       TELEPHONE: +1 206 623 7580
         Case No. 3:15-CV-05367-BHS                                                    FACSIMILE: +1 206 623 7022
     322729778.1
         Case 3:15-cv-05367-BHS           Document 190         Filed 03/14/25     Page 54 of 90




 1   and all objections on any ground that would require exclusion of any response if it were

 2   introduced in court. All evidentiary objections are expressly reserved.

 3       OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS IN INTRODUCTION

 4            1.    The Director objects to these Interrogatories and Requests in that they

 5   inappropriately seek information that should be sought in expert discovery. The Director

 6   provides this response now, which identifies the proposed computations, notes issues remaining

 7   to be addressed, and provides examples of the proposed computations. Nonetheless, the

 8   Director is in the process of retaining an expert which will review (and potentially refine and

 9   revise) the computation, present it in an expert report, and provide expert testimony at a

10   hearing/trial regarding the appropriate amounts due to the Class Members.

11            2.    The Director objects to the Interrogatories and Requests on the basis that they

12   seek information subject to the attorney-client privilege, the work product doctrine, or both.

13   Much of the information requested in the Interrogatories and Requests seek information that

14   constitutes work with, or communications between, the Washington State Department of

15   Retirement Systems, on the one hand, and its counsel, on the other. The Director will not

16   provide or disclose information that is subject to attorney-client privilege or work product

17   doctrine, nor will it produce any privileged materials.

18            3.    The Director objects to the Interrogatories and Requests to the extent they

19   attempt to impose requirements not included in Federal Rules of Civil Procedure 33 and 34.

20   The Director will respond to Plaintiffs’ Interrogatories and Requests as required by the Federal

21   Rules of Civil Procedure.

22            4.    The Director objects to paragraph (b) in Plaintiffs’ Introduction to the extent it

23   attempts to impose a requirement that responses to Requests include “information in the

24   possession of your attorneys, or other persons directly or indirectly employed by you,

25   representing you, or connected with you or your attorneys, or anyone on your behalf subject to

26   your control or direction,” which is not required by Federal Rule of Civil Procedure 34. The


      DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                             K&L GATES LLP
                                                                                925 FOURTH AVENUE, SUITE 2900
      INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 2                                SEATTLE, WA 98104-1158
                                                                                   TELEPHONE: +1 206 623 7580
      Case No. 3:15-CV-05367-BHS                                                   FACSIMILE: +1 206 623 7022
     322729778.1
         Case 3:15-cv-05367-BHS           Document 190        Filed 03/14/25      Page 55 of 90




 1   Director further objects to the extent the Introduction attempts to impose requirements in

 2   answering Interrogatories beyond those required by Federal Rule of Civil Procedure 33. The

 3   Director will respond to the Plaintiffs’ Interrogatories and Requests as required by the Federal

 4   Rules of Civil Procedure. The Director’s response to the Requests and Interrogatories reflects

 5   the knowledge of those persons who, the Director believes, have information regarding this

 6   matter. If the Director discovers other individuals with first-hand knowledge regarding this

 7   matter, and their information adds to what is reflected in the Director’s responses, those

 8   responses will be supplemented.

 9             5.   The Director objects that the Discovery Requests do not specify a relevant time

10   period, and such Discovery Requests are therefore overly broad and unduly burdensome and

11   seek documents and information that are irrelevant to the claims in this case. The Director is

12   willing meet and confer with Plaintiffs regarding a reasonable and appropriate relevant time

13   period.

14             6.   The Director objects to the definition of “Department” as overly broad and

15   unduly burdensome to the extent it includes persons and entities that are not within the

16   Directors’ control.

17             7.   The Director objects to the definition of “Identify” as overly broad, unduly

18   burdensome, and creating discrete subparts of Interrogatories that would exceed the limits of

19   Federal Rule of Civil Procedure 33(a)(1). The Director further objects to the definition to the

20   extent it would preclude the Director from exercising her right to produce business records

21   pursuant to Federal Rule of Civil Procedure 33(d). The Director will provide information

22   sufficient for the parties to understand the identity of individuals, events, and documents.

23             8.   The Director objects to the definitions of “Omitted interest,” “Omitted transfer

24   payment,” and “Investment returns.” The Director further disagrees that any “Omitted interest”

25   or “Omitted transfer payment” was “received and retained in the TRS Plan 2/3 trust fund.” The

26


      DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                             K&L GATES LLP
                                                                                925 FOURTH AVENUE, SUITE 2900
      INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 3                                SEATTLE, WA 98104-1158
                                                                                   TELEPHONE: +1 206 623 7580
      Case No. 3:15-CV-05367-BHS                                                   FACSIMILE: +1 206 623 7022
     322729778.1
          Case 3:15-cv-05367-BHS           Document 190        Filed 03/14/25      Page 56 of 90




 1   Director will provide the appropriate terms and definitions in her response to Interrogatory No.

 2   1.

 3   OBJECTIONS AND RESPONSES TO INTERROGATORIES AND REQUESTS FOR

 4                                            DOCUMENTS

 5   INTERROGATORY NO. 1: Please describe what calculations were made or planned by the

 6   Department of the amounts of omitted interest, omitted transfer payment, and/or investment

 7   returns in this case up to the date of the Department’s final response to these discovery requests,

 8   including for each calculation:

 9            (1) a description of what was done and/or is planned;

10            (2) the dates(s) and time period(s) when any calculation was done or planned;

11            (3) the identities of those who worked on the calculation and the planning, including

12            any experts;

13            (4) descriptions of the scope of work, the data used in each calculation and plan, and

14            what each person did; and

15            (5) descriptions of the results, output, and calculations obtained, including any amounts

16            of omitted interest, omitted transfer payment, and/or investment returns for each teacher

17            or for an aggregate of teachers, including the class as a whole.

18   ANSWER:

19            The Director objects to this Interrogatory on the basis that it seeks information subject

20   to the attorney-client privilege, the work product doctrine, or both. The Director will not provide

21   such information. The Director further objects to this Interrogatory as unduly burdensome,

22   overly broad, and not proportional to the needs of the case because it requests information not

23   relevant to any party’s claim or defense and, even if it did, the burdens of providing the

24   requested information outweigh any potential benefit. The Department further objects that the

25   term “calculations” is overbroad, unduly burdensome, vague, ambiguous, and fails to identify

26   with reasonable particularity the information sought. The Director further objects to this


      DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                              K&L GATES LLP
                                                                                 925 FOURTH AVENUE, SUITE 2900
      INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 4                                 SEATTLE, WA 98104-1158
                                                                                    TELEPHONE: +1 206 623 7580
      Case No. 3:15-CV-05367-BHS                                                    FACSIMILE: +1 206 623 7022
     322729778.1
         Case 3:15-cv-05367-BHS              Document 190       Filed 03/14/25      Page 57 of 90




 1   Request as it attempts to impose on the Director an obligation to predict what she might do in

 2   the future, rather than to provide factual information. The Director further objects to this

 3   Interrogatory on the basis that it contains multiple subparts that constitute separate

 4   interrogatories for the purposes of determining the total number of interrogatories Plaintiffs

 5   may serve in this litigation. The Director objects to this Interrogatory as overbroad, unduly

 6   burdensome, irrelevant, and not proportional to the needs of the case because it fails to identify

 7   a relevant time period.

 8            Subject to and notwithstanding the foregoing objections, the Director responds as

 9   follows:

10            The Director will interpret this request to be seeking the Director’s method for

11   computing:

12                 •   First Component: the difference between the interest credited to the Class
13                     Members and the revised interest to be credited to the Class Members accounting

14                     for daily interest.

15                 •   Second Component: the difference between the “additional payment” credited
16                     to the Class Members and the revised “additional payment” to be credited to the

17                     Class Members under RCW 41.32.8401. The Director refers to this “additional

18                     payment” as the “Additional Transfer Payment.”

19                 •   Third Component: The interest based on the two prior components. The
20                     Director disputes Plaintiffs’ characterization of this as “Investment Returns,”

21                     and the Plaintiffs’ proposed method for determining the proper rate. Instead, the

22                     rate should be “what a reasonably prudent person investing funds so as to

23                     produce a reasonable return while maintaining safety of principal . . . would

24                     receive.” Schneider v. County of San Diego, 285 F.3d 784, 792 (9th Cir. 2002)

25                     (internal quotation marks and citations omitted). Subject to clarification by the

26


      DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                               K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
      INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 5                                  SEATTLE, WA 98104-1158
                                                                                     TELEPHONE: +1 206 623 7580
      Case No. 3:15-CV-05367-BHS                                                     FACSIMILE: +1 206 623 7022
     322729778.1
         Case 3:15-cv-05367-BHS            Document 190          Filed 03/14/25       Page 58 of 90




 1                   Court, the Director contends the rate is an issue of fact that should be determined

 2                   through expert testimony consistent with Schneider.

 3            The Director is working to complete a preliminary calculation of the first component

 4   for the first, approximately, 23,000 Class Members, but this is not yet completed. Moreover,

 5   this is not the entirety of the class, and there are factual issues and other complexities (see infra,

 6   Section V).

 7            The Director, in response to requests by the Department’s counsel, has asked numerous

 8   individuals to work on aspects of this computation. The Director identifies the following

 9   individuals as having first-hand knowledge related to the computations: Tye Knudsen, Greg

10   Deam, Sarah Blocki, Joel Farson, and Rebecca Eaton. Leaders at the Department, counsel at

11   the Washington State Office of the Attorney General, and counsel at K&L Gates have been

12   involved in related discussions. Both the computations and the related discussions implicate

13   attorney-client privilege and the work product doctrine.

14            There are a variety of ways in which these calculations can be completed. The Director

15   believes the Department’s methodology is practical, legal, logical, and fair. The Director,

16   however, is open to discussion with Plaintiffs regarding the different aspects of these

17   calculations. Moreover, the Director is currently in the process of identifying and retaining an

18   expert to evaluate both Plaintiffs’ proposal and the Director’s proposal, and to identify which

19   approach, or if another approach, is the most reasonable in their expert opinion.

20            The Director has attached as Exhibit A, an Excel spreadsheet (provided in native

21   format). The following written responses elucidate the process set out in the spreadsheet.

22   Exhibit A contains an application of the Director’s proposed methodology to two individuals.

23   Exhibit A, Sheet 1 (Screenshots) is a screenshot from the DRS Member Information System

24   (“MIS”), showing the manner in which a particular member’s, (here Member #864675),

25   contributions are recorded in the MIS. DRS has previously extracted the details of all

26


      DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                                 K&L GATES LLP
                                                                                    925 FOURTH AVENUE, SUITE 2900
      INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 6                                    SEATTLE, WA 98104-1158
                                                                                       TELEPHONE: +1 206 623 7580
      Case No. 3:15-CV-05367-BHS                                                       FACSIMILE: +1 206 623 7022
     322729778.1
           Case 3:15-cv-05367-BHS           Document 190       Filed 03/14/25      Page 59 of 90




 1   contributions for all class members and provided them to Plaintiffs in various Excel files. 2 The

 2   second sheet is for an individual Class Member with relatively few transactions, Member #

 3   864675, allowing for a simpler explanation of the proposed calculations that follow. Exhibit A,

 4   Sheet 2 (Member 864675 Computation). An additional Class Member, Member # 00020249,

 5   with more transactions is provided in Exhibit A, Sheet 3 (Member 00020249 Computation) to

 6   depict this methodology on a Class Member with considerably more transactions. However,

 7   Member # 00020249’s transactions involve two of the complexities described infra, Section V

 8   (Negative Transactions and MM/00/YYYY). For Member # 00020249 the calculations were

 9   conducted in the same manner as for Member # 864675, without varying the process to account

10   for these issues, because there are questions of fact and assumptions that are properly addressed

11   by expert testimony and discovery. As mentioned, the Director is currently in the process of

12   identifying and retaining an expert to opine on these issues and others related to which proposal

13   is most reasonable in their expert opinion.

14         I.       Glossary of Terms

15         The attached Exhibit A, as well as the description that follows uses the following terms:

16              •   “Contribution” or “Contribution Amount” – Each month, a member’s employer
17                  reports any contributions to TRS Plan 2 that have been subtracted from the

18                  member’s paycheck. This amount recorded in the Department’s database is referred

19                  to here as a “Contribution Amount.”

20              •   “Transaction Date” – The date a Contribution Amount or other Transaction is
21                  recorded in the Department’s database.

22

23

24
     2
      <Fowler Class Clean Accounts Detail with Earning Period 2020-07-07.csv>; <Fowler Detail
25   T2-T3 Inactive CLEAN Transfers Jan 6.2021.csv>; <FowlerInstallment1b.xlsx>;
     <FowlerInstallment2b.xlsx>; <FowlerInstallment3b.xlsx>; <FowlerInstallment4b.xlsx>;
26   <FowlerInstallment5b.xlsx>; <FowlerInstallment6b.xlsx>; <FowlerInstallment7b.xlsx>;
     <FowlerInstallment8b.xlsx>; and <FowlerInstallment9b.xlsx>.

         DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                           K&L GATES LLP
                                                                                 925 FOURTH AVENUE, SUITE 2900
         INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 7                              SEATTLE, WA 98104-1158
                                                                                    TELEPHONE: +1 206 623 7580
         Case No. 3:15-CV-05367-BHS                                                 FACSIMILE: +1 206 623 7022
     322729778.1
         Case 3:15-cv-05367-BHS             Document 190        Filed 03/14/25       Page 60 of 90




 1            •    “Earning Period” – The month during which the compensation underlying a
 2                 particular Contribution was earned.

 3            •    “Quarters” – For purposes of the proposed formula that calculates daily interest
 4                 compounded quarterly, the number of days that Contributions remained in Plan 2

 5                 must be converted into quarters.

 6            •    “Transfer Date” – The date the member’s TRS Plan 2 Contributions (and interest
 7                 thereon) were transferred into TRS Plan 3.

 8            •    “Class Member” – Those individuals within the certified class.
 9            •    “Transaction” – An event that changes the balance in a member’s Plan 2 account.
10            •    “Converted Transaction Date” – Because the DRS system logs Transaction Dates
11                 as YYYYMMDD, the Transaction Date must be converted into MM/DD/YYYY.

12            •    “Interest from Transaction Date to Transfer Date” – For each separate
13                 Transaction, the amount of daily interest compounded quarterly for that Transaction

14                 from the Transaction Date to the Transfer Date.

15            •    “Calculated Interest” – For a given Class Member, the total daily interest
16                 compounded quarterly for all Transactions. This is the sum of interest calculated for

17                 each of the individual Transactions.

18            •    “Actual Interest” – The amount of interest that was originally credited to the Class
19                 Member’s [notional] Plan 2 account and transferred to Plan 3.

20            •    “Value of Contribution on 1/1/1996” – This term contains two categories. For
21                 Contributions with Transaction Dates prior to 1/1/1996, the value of such

22                 contribution on 1/1/1996, including daily interest compounded quarterly. For

23                 Contributions with Transaction Dates after 1/1/1996 that relate to earnings periods

24                 prior to 1/1/1996, the value of such Contribution without interest.

25

26


      DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                                K&L GATES LLP
                                                                                   925 FOURTH AVENUE, SUITE 2900
      INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 8                                   SEATTLE, WA 98104-1158
                                                                                      TELEPHONE: +1 206 623 7580
      Case No. 3:15-CV-05367-BHS                                                      FACSIMILE: +1 206 623 7022
     322729778.1
         Case 3:15-cv-05367-BHS             Document 190        Filed 03/14/25      Page 61 of 90




 1             •   “Calculated Transfer Basis” – For a given Class Member, the revised transfer

 2                 basis, based on daily interest compounded quarterly for all Transactions. This is the

 3                 sum of the Value[s] of Contribution[s] on 1/1/1996 for each relevant transaction.

 4             •   “Actual Transfer Basis” – the Transfer Basis that was originally used for the Class
 5                 Member.

 6             •   “Additional Transfer Payment”- This is calculated by finding the difference
 7                 between the Calculated Transfer Basis and the Actual Transfer Basis and then

 8                 multiplying by the relevant percentage (65%, 45%, or 0%).

 9       II.       First Component Calculation

10       There are multiple possible approaches, each requiring expert analysis and testimony to

11   determine its appropriateness. The Director is considering the following method to compute the

12   First Component for a particular Class Member. The description that follows refers to excerpts

13   from Exhibit A.

14

15

16       Exhibit A, Sheet 2 (Member 864675 Computation) (Screenshot of Columns D-O and

17   Rows 9-10).

18       Step 1:

19       For each of the Class Member’s Transactions, using Member #864675, the first step in the

20   Director’s proposal is to determine the days the Contribution was in Plan 2 prior to transfer to

21   Plan 3. This number is shown in the column labeled “Days in Plan 2 Prior to Transfer,” in the

22   excerpt above. That number is equal to the Transfer Date minus the Transaction Date.

23       For example, the Transfer Date for Member #864675 is 2/9/1998, and the Converted

24   Transaction Date for that Contribution is 1/9/1998. Thus, the total “Days in Plan 2 prior to

25   Transfer” is 31 days. The days are then converted to quarters to be used in a formula that

26


      DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                               K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
      INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 9                                  SEATTLE, WA 98104-1158
                                                                                     TELEPHONE: +1 206 623 7580
      Case No. 3:15-CV-05367-BHS                                                     FACSIMILE: +1 206 623 7022
     322729778.1
           Case 3:15-cv-05367-BHS         Document 190        Filed 03/14/25         Page 62 of 90




 1   compounds interest quarterly. 3 This results in approximately .339 quarters.

 2

 3         Step 2:

 4         Next, the value of the Contribution on the Transfer Date is calculated as follows. This is

 5   shown in the column labeled “Value of Contribution on Transfer Date.”

 6                               Value of Contribution on Transfer Date =

 7                          (Contribution Amount) x (1 + Quarterly Rate)Quarters

 8   Stated differently:

 9                               Value of Contribution on Transfer Date =

10                               (Contribution Amount) x (1+.055/4)Quarters

11   Through this formula, daily interest is compounded quarterly. Using the numbers provided

12   above for Member #864675 (with some minor rounding 4 for ease of explanation):

13                                  $151.26 = $150.56 x (1+.055/4).339

14   Step 3:

15             Next, the difference between the Value of Contribution on Transfer Date and the

16   Contribution Amount represents the Interest from Transaction Date to Transfer Date.

17                           Interest from Transaction Date to Transfer Date =

18                    Value of Contribution on Transfer Date – Contribution Amount

19   For this Class Member, Member #864675, that is:

20                                      $151.26 - $150.56 = $0.70

21             At this point, the above three steps are repeated for each of the Class Member’s

22   Contributions, and the results are added together to determine the total Calculated Interest. As

23

24
     3
       The average days in a quarter are 91.3125. This is computed over a four-year period: (365 +
25   365 + 365 + 366)/16. Therefore the “Days in Plan 2 Prior to Transfer” is divided by 91.3125
     to be converted into quarters.
     4
26     The actual calculations in Exhibit A do not use the same rounding that is being used to describe
     the calculations, which is only for ease of explanation in this interrogatory answer.

         DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                             K&L GATES LLP
                                                                                   925 FOURTH AVENUE, SUITE 2900
         INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 10                               SEATTLE, WA 98104-1158
                                                                                      TELEPHONE: +1 206 623 7580
         Case No. 3:15-CV-05367-BHS                                                   FACSIMILE: +1 206 623 7022
     322729778.1
         Case 3:15-cv-05367-BHS              Document 190        Filed 03/14/25      Page 63 of 90




 1   depicted in Exhibit A, doing so for Member #864675 yields $171.41 in Calculated Interest.

 2   Exhibit A, Sheet 2 (Member 864675 Computation), Column O.

 3   Step 4:

 4              The next step is to subtract the Actual Interest (interest that was credited to the Class

 5   Member’s account and subsequently transferred to Plan 3) from the Calculated Interest:

 6                          First Component = Calculated Interest – Actual Interest

 7   For this Class Member, Member #864675:

 8                                        $28.09 = $171.41 - $143.32

 9   Therefore, the total calculation for the First Component for this Class Member, Member

10   #864675, is $28.09.

11       III.      Second Component Calculation

12

13

14

15

16

17

18

19

20

21

22

23   Exhibit A, Sheet 2 (Member 864675 Computation).

24   Step 1:

25       The Second Component, while similar to the First Component, requires some additional

26   calculations. First, the Value of Contribution on 1/1/1996 is calculated in conceptually the same


      DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                                K&L GATES LLP
                                                                                   925 FOURTH AVENUE, SUITE 2900
      INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 11                                  SEATTLE, WA 98104-1158
                                                                                      TELEPHONE: +1 206 623 7580
      Case No. 3:15-CV-05367-BHS                                                      FACSIMILE: +1 206 623 7022
     322729778.1
         Case 3:15-cv-05367-BHS             Document 190        Filed 03/14/25      Page 64 of 90




 1   manner as the Value of Contribution on Transfer Date for Component 1, for those contributions

 2   before 1/1/1996 (the Statutory Date established by RCW 41.32.8401). For this Class Member,

 3   Member #864675, the Value of Contribution on 1/1/1996 equals $52.36 and $104.24, for two

 4   Contributions that occurred on 12/11/1995.

 5       The data for the Class Member, Member #864675 in this example also includes

 6   contributions with Transaction Dates after 1/1/1996 that were earned prior to 1/1/1996 (those

 7   contributions are highlighted in green). For those Contributions, the Director’s proposed

 8   method considers the Value of Contribution on 1/1/1996 to be equal to the Contribution Amount

 9   (without interest).

10       The “Value of Contribution on 1/1/1996” for each relevant Contribution is added together.

11   The sum is the Calculated Transfer Basis (upon which the Transfer Payment is calculated). For

12   this Class Member, Member #864675, the Calculated Transfer Basis is $319.67.

13   Step 2:

14             The next step is to determine the difference between the Calculated Transfer Basis and

15   the Actual Transfer Basis.

16                     difference = Calculated Transfer Basis – Actual Transfer Basis

17   For this Class Member, Member #864675, this is:

18                                        $0.49 = $319.67 - $319.18

19   Step 3:

20             The last step is to multiply the difference between the Calculated Transfer Basis and the

21   Actual Transfer Basis by the relevant percentage (65%, 45%, or 0%) to determine the

22   Additional Transfer Payment, which yields the Second Component for this Class Member,

23   Member #864675.

24                                          Second Component =

25      (difference between Calculated Transfer Basis and Actual Transfer Basis) x (percentage)

26   For this Class Member, Member #864675, this is:


      DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                               K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
      INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 12                                 SEATTLE, WA 98104-1158
                                                                                     TELEPHONE: +1 206 623 7580
      Case No. 3:15-CV-05367-BHS                                                     FACSIMILE: +1 206 623 7022
     322729778.1
         Case 3:15-cv-05367-BHS           Document 190         Filed 03/14/25      Page 65 of 90




 1                                         $0.32 = $0.49 x 65%

 2   Therefore, the total calculation for the Second Component is $0.32 for this Class Member,

 3   Member #864675.

 4       IV.       Third Component Calculation

 5       The beginning of the Third Component is the sum of the First and Second Components.

 6   For this Class Member, Member #864675, that is:

 7                                         $28.41 = $28.09 + $0.32

 8       The next step would be to apply an appropriate rate to determine the amount that is required

 9   to justly compensate the Class Members for an alleged unconstitutional taking that occurred in

10   the past. This is not the amount that the Plan 2/3 trust fund earned on the funds that were

11   allegedly taken from the Class Members. Rather, in a Section 1983 action predicated on an

12   unconstitutional taking, the amount of prejudgment interest is “what a reasonably prudent

13   person investing funds so as to produce a reasonable return while maintaining safety of principal

14   . . . would receive.” Schneider v. County of San Diego, 285 F.3d 784, 792 (9th Cir. 2002)

15   (internal quotation marks and citations omitted). This requires “evidence of the rate that would

16   be generated by investment in a diverse group of securities, including treasury bills.” (Id. at

17   793) and is an issue of fact. Id at 790 The Director is seeking clarity from the Court and is

18   seeking an expert to opine as to the appropriate applicable rate as well as the actual computation

19   of such amounts. This expert witness will assemble and present evidence and will do so as soon

20   as the Court confirms that the calculation of interest in this case will be done in accordance with

21   Schneider.

22       V.        Factors Not Addressed in this Calculation.

23       The Director has used the example of Class Member, Member #864675, to illustrate its

24   proposed computation. The Director has also conducted the proposed calculations for an

25   additional Class Member, Member #00020249, on Exhibit A, Sheet 3, Member 00020249

26   Computation. Many other issues apply to other Class Members, including Member #00020249,


      DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                              K&L GATES LLP
                                                                                 925 FOURTH AVENUE, SUITE 2900
      INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 13                                SEATTLE, WA 98104-1158
                                                                                    TELEPHONE: +1 206 623 7580
      Case No. 3:15-CV-05367-BHS                                                    FACSIMILE: +1 206 623 7022
     322729778.1
         Case 3:15-cv-05367-BHS             Document 190         Filed 03/14/25      Page 66 of 90




 1   which must be addressed where they arise. These include:

 2             1. Anomalous data for 389 Individuals: When the Director initially provided data to

 3                 Plaintiffs, information for 389 individuals was withheld to confirm its accuracy.

 4                 After review, the Director provided data on these members to Plaintiffs as it appears

 5                 in the Department’s database and, to the extent possible, highlighted transactions

 6                 that it believed may require special handling in the calculation of daily interest. The

 7                 Department is working on proposals for the handling of various categories of these

 8                 anomalies.

 9             2. Negative Transactions: Certain transactions in the Department’s database are

10                 negative. These entries reverse prior Contribution Amounts that were incorrect. The

11                 Department is working on a proposal for a reasonable way to handle these

12                 transactions within the context of its general proposal.

13             3. MM/00/YYYY: Some Transaction Dates appear in the form mm/00/YYYY – i.e.

14                 no specific day of the month is recorded for the transaction. The Department is

15                 working on a proposal for handling this issue.

16             4. The Director anticipates other issues will arise.

17       VI.       Conclusion

18             Per the above, the Director reserves the right to modify or supplement this response

19   subject to an expert retention, as well as the Director’s ongoing investigation into the

20   allegations, new information, and/or legal research or analysis, as well as any other basis

21   permitted under the Federal Rules of Civil Procedure.

22

23   REQUEST FOR DOCUMENTS NO. 1: Please provide all documents relating to the

24   calculations mentioned in the question and/or answer to Interrogatory No. 1, including those

25   pertaining to instigation of the work, the work plan, instructions, specifications, drafts, other

26   items pertaining to how the work will be or was conducted, the calculations’ output or results


      DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                                K&L GATES LLP
                                                                                   925 FOURTH AVENUE, SUITE 2900
      INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 14                                  SEATTLE, WA 98104-1158
                                                                                      TELEPHONE: +1 206 623 7580
      Case No. 3:15-CV-05367-BHS                                                      FACSIMILE: +1 206 623 7022
     322729778.1
         Case 3:15-cv-05367-BHS            Document 190        Filed 03/14/25       Page 67 of 90




 1   sought, and comments and communications about the plan, scope of work, calculations, output,

 2   and/or results.

 3   RESPONSE:

 4            The Director objects to this Request on the basis that it seeks information subject to the

 5   attorney-client privilege, the work product doctrine, or both. The Director will not produce such

 6   documents. The Director further objects to this Request as unduly burdensome, overly broad,

 7   and not proportional to the needs of the case because it requests documents not relevant to any

 8   party’s claim or defense and, even if it did, the burdens of providing the requested information

 9   outweigh any potential benefit. The Director further objects to the phrase “all documents

10   relating to the calculations mentioned in the question and/or answer to Interrogatory No. 1” as

11   overbroad, unduly burdensome, vague, ambiguous, and failing to identify with reasonable

12   particularity the documents sought. The Director objects to this Request as overbroad, unduly

13   burdensome, irrelevant, and not proportional to the needs of the case because it fails to identify

14   a relevant time period. Finally, to the extent the Director’s objections to Interrogatory No. 1 are

15   equally applicable to this Request because the Request incorporates the Interrogatory by

16   reference, the Director objects on those bases as well.

17            Subject to and notwithstanding the forgoing objections:

18            Plaintiffs have already received numerous documents and information, including the

19   following:

20                 •   Smith_001; Bates stamped Smith_0000001–2834, produced on June 15, 2021
21                 •   Smith_002; Bates stamped Smith_0002835–6071, produced on June 16, 2021
22                 •   Smith_003; Bates stamped Smith_0006072–8915, produced on June 18, 2021
23                 •   Smith_004; Bates stamped Smith_0008916–10511, produced on June 23, 2021
24                 •   Public Record Request documents, produced in 2020–2021
25                 •   Class member information and data
26                 •   Documents and information in related proceedings


      DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                               K&L GATES LLP
                                                                                  925 FOURTH AVENUE, SUITE 2900
      INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 15                                 SEATTLE, WA 98104-1158
                                                                                     TELEPHONE: +1 206 623 7580
      Case No. 3:15-CV-05367-BHS                                                     FACSIMILE: +1 206 623 7022
     322729778.1
         Case 3:15-cv-05367-BHS           Document 190        Filed 03/14/25       Page 68 of 90




 1   There are many hundreds of thousands of emails and well over 700 gigs of material that could

 2   be implicated by Plaintiff’s request, the vast majority of which is subject to attorney-client and

 3   work product privileges. Reviewing all this material would be an enormous expense and burden

 4   to the Director, far outweighing any potential relevance to this action.

 5            Nonetheless, the Department is willing to meet and confer to determine the scope of

 6   reasonable requests as well as a reasonable date limitation, search terms, and custodians.

 7            The Director reserves the right to modify or supplement this response as this case

 8   proceeds, based on the Director’s ongoing investigation into the allegations, new information,

 9   and/or legal research or analysis, as well as any other basis permitted under the Federal Rules

10   of Civil Procedure.

11   REQUEST FOR DOCUMENTS NO. 2: Please provide all documents considered by,

12   mentioned by, or created by or received by Sarah Blocki while working with or assisting “DRS

13   with needs related to this litigation” and “active in preparing the data to be produced to the

14   plaintiffs.” Blocki [5/17/21] Dec.; Blocki [5/31/23] Dec. This includes all documents she

15   created, received, and/or viewed in connection with any of this work—“questions noted by the

16   programmer,” programmers’ notes, emails, answers to questions, instructions to programmers,

17   queries, communications with others in the Department—all information and details about how

18   DRS’s interest crediting program worked; all information showing where the contribution dates

19   are found (Blocki [5/31/23] Dec. at 5, lines 21-24), all information showing why (a)

20   “transaction dates” were provided to plaintiffs instead of the contribution dates (id. at line 25;

21   id. at 6, lines 1-6) and (b) why contribution dates were needed or useful for calculations, and

22   all information concerning Sarah Blocki’s views as to how the calculation would be made in an

23   “appropriate manner,” as Ms. Blocki suggests.

24   RESPONSE:

25            The Director incorporates by reference her response to Request for Documents No. 1.

26   REQUEST FOR DOCUMENTS NO. 3: Please provide all calculations (as described in


      DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                              K&L GATES LLP
                                                                                 925 FOURTH AVENUE, SUITE 2900
      INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 16                                SEATTLE, WA 98104-1158
                                                                                    TELEPHONE: +1 206 623 7580
      Case No. 3:15-CV-05367-BHS                                                    FACSIMILE: +1 206 623 7022
     322729778.1
         Case 3:15-cv-05367-BHS          Document 190       Filed 03/14/25     Page 69 of 90




 1   Interrogatory No. 1) and estimates of value or cost of this case, including omitted interest,

 2   omitted transfer payment, and investment returns, provided to elements of the State, including

 3   the Department, the Legislature, the Select Committee on Pension Policy, the Department’s

 4   budget office, the State Actuary, the Office of Financial Management, the Attorney General’s

 5   Office, and the State Treasurer.

 6   RESPONSE:

 7            The Director incorporates by reference her response to Request for Documents No. 1.

 8

 9

10            DATED this 7th day of March, 2025.

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


      DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                          K&L GATES LLP
                                                                             925 FOURTH AVENUE, SUITE 2900
      INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 17                            SEATTLE, WA 98104-1158
                                                                                TELEPHONE: +1 206 623 7580
      Case No. 3:15-CV-05367-BHS                                                FACSIMILE: +1 206 623 7022
     322729778.1
         Case 3:15-cv-05367-BHS    Document 190    Filed 03/14/25     Page 70 of 90




 1

 2                                             K&L Gates LLP

 3

 4

 5                                             By s/ Philip M. Guess
                                                  Robert B. Mitchell, WSBA # 10874
 6                                                 Philip M. Guess, WSBA #26765
                                                  Todd L. Nunn, WSBA # 23267
 7
                                               925 Fourth Avenue, Suite 2900
 8                                             Seattle, WA 98104
                                               Phone: (206) 623-7580
 9                                             Fax: (206) 623-7022
                                               Email: rob.mitchell@klgates.com
10                                                     philip.guess@klgates.com
                                                       todd.nunn@klgates.com
11
                                               Attorneys for Defendant
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


      DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’                 K&L GATES LLP
                                                                    925 FOURTH AVENUE, SUITE 2900
      INTERROGATORIES AND REQUESTS FOR DOCUMENTS - 18                   SEATTLE, WA 98104-1158
                                                                       TELEPHONE: +1 206 623 7580
      Case No. 3:15-CV-05367-BHS                                       FACSIMILE: +1 206 623 7022
     322729778.1
                                            Case 3:15-cv-05367-BHS                   Document 190             Filed 03/14/25           Page 71 of 90



Source Data: Screenshot from MIS (Member Information System--DRS's database)
          This shows member's contributions from the beginning of her career through March 11, 1996 (in reverse chronological order).
          For example:
                       The member's initial contributions (at the bottom of the screen) were recorded in MIS on 12/11/1995 for $103.91 and $52.20.
                       The member's contributions recorded 3/11/1996 were $2.03 and $80.85.
          It is possible to scroll up to see the member's contributions throughout her career.
          DRS extracted all such contributions and put them in the Excel File <Fowler Class Clean Accounts Detail with Earning Period 2020-07-07>. This file was provided to Plaintiffs.
          For cross reference (as an example), the 12/11/1995 and 3/11/1996 contributions are highlighted in magenta in the sample calculation using the extracted data. See other sheet.
                                            Case 3:15-cv-05367-BHS                   Document 190             Filed 03/14/25   Page 72 of 90




<Fowler Class Clean Accounts Transfer Data 2020-04-25>
           Data in this file is used in DRS's proposed calculation.
           The screen shot below pertains to the sample member whose calculations are done on the preceeding sheet.
                                                                                       Case 3:15-cv-05367-BHS                                           Document 190                                 Filed 03/14/25                         Page 73 of 90


PROPOSED CALCULATIONS FOR MEMBER 864675
                                                                                                                                                                                                                                                                                                            1/1/1996

Transfer Date              2/9/1998 Cells highlighted in gray contain comments.




                                                                                                                                                         Days in Plan 2                     Value of            Interest from
                                                                                                                                        Converted
                                                Member #     Contribution Amt     Transaction Date Earning Period                                          Prior to       Quarters      Contribution on       Transaction Date
                                                                                                                                     Transaction Date
                                                                                                                                                           Transfer                      Transfer Date        to Transfer Date
Plan 2 Interest            $ 143.32
Transfer Payment Amount #1 $ 127.67                864675                150.56         19980109         199711     1998    1    9            1/9/1998               31   0.339493498             $151.26                $0.70
Transfer Payment Amount #2 $ 79.79                 864675                 14.14         19980109         199710     1998    1    9            1/9/1998               31   0.339493498              $14.21                $0.07
Transfer Basis Amount      $ 319.18                864675                164.68         19971209         199710     1997   12    9           12/9/1997               62   0.678986995             $166.21                $1.53
                                                   864675                 67.46         19971105         199710     1997   11    5           11/5/1997               96   1.051334702              $68.44                $0.98
                                                   864675                 65.89         19971105         199709     1997   11    5           11/5/1997               96   1.051334702              $66.84                $0.95
                                                   864675                 34.27         19971105         199708     1997   11    5           11/5/1997               96   1.051334702              $34.77                $0.50
                                                   864675                 11.15         19971007         199708     1997   10    7           10/7/1997              125   1.368925394              $11.36                $0.21
                                                   864675                148.42         19971007         199709     1997   10    7           10/7/1997              125   1.368925394             $151.22                $2.80
                                                   864675                 79.04         19970909         199706     1997    9    9            9/9/1997              153   1.675564682              $80.87                $1.83
                                                   864675                  67.4         19970811         199706     1997    8   11           8/11/1997              182   1.993155373              $69.26                $1.86
                                                   864675                 79.04         19970811         199705     1997    8   11           8/11/1997              182   1.993155373              $81.22                $2.18
                                                   864675                140.28         19970709         199705     1997    7    9            7/9/1997              215   2.354551677             $144.86                $4.58
                                                   864675                 47.42         19970709         199704     1997    7    9            7/9/1997              215   2.354551677              $48.97                $1.55
                                                   864675                151.13         19970603         199704     1997    6    3            6/3/1997              251    2.74880219             $156.91                $5.78
                                                   864675                 95.43         19970603         199703     1997    6    3            6/3/1997              251    2.74880219              $99.08                $3.65
                                                   864675                 68.51         19970502         199703     1997    5    2            5/2/1997              283   3.099247091              $71.47                $2.96
                                                   864675                 10.53         19970502         199702     1997    5    2            5/2/1997              283   3.099247091              $10.99                $0.46
                                                   864675                 96.88         19970409         199702     1997    4    9            4/9/1997              306   3.351129363             $101.42                $4.54
                                                   864675                 10.55         19970409         199701     1997    4    9            4/9/1997              306   3.351129363              $11.04                $0.49
                                                   864675                 94.67         19970311         199701     1997    3   11           3/11/1997              335   3.668720055              $99.53                $4.86
                                                   864675                 21.08         19970210         199701     1997    2   10           2/10/1997              364   3.986310746              $22.26                $1.18
                                                   864675                 70.29         19970210         199612     1997    2   10           2/10/1997              364   3.986310746              $74.22                $3.93
                                                   864675                 72.47         19970110         199611     1997    1   10           1/10/1997              395   4.325804244              $76.88                $4.41
                                                   864675                 15.81         19970110         199612     1997    1   10           1/10/1997              395   4.325804244              $16.77                $0.96
                                                   864675                 21.08         19961210         199611     1996   12   10          12/10/1996              426   4.665297741              $22.47                $1.39
                                                   864675                 70.28         19961210         199610     1996   12   10          12/10/1996              426   4.665297741              $74.90                $4.62
                                                   864675                 57.97         19961112         199610     1996   11   12          11/12/1996              454   4.971937029              $62.04                $4.07
                                                   864675                 21.08         19961112         199609     1996   11   12          11/12/1996              454   4.971937029              $22.56                $1.48
                                                   864675                 79.04         19961010         199609     1996   10   10          10/10/1996              487   5.333333333              $85.01                $5.97
                                                   864675                 73.77         19960910         199606     1996    9   10           9/10/1996              517   5.661875428              $79.70                $5.93
                                                   864675                  3.18         19960910         199605     1996    9   10           9/10/1996              517   5.661875428               $3.44                $0.26
                                                   864675                  5.27         19960823         199606     1996    8   23           8/23/1996              535   5.859000684               $5.71                $0.44
                                                   864675                 76.94         19960823         199605     1996    8   23           8/23/1996              535   5.859000684              $83.35                $6.41
                                                   864675                 39.45         19960709         199605     1996    7    9            7/9/1996              580   6.351813826              $43.02                $3.57
                                                   864675                 46.41         19960709         199604     1996    7    9            7/9/1996              580   6.351813826              $50.62                $4.21
                                                   864675                 86.65         19960614         199604     1996    6   14           6/14/1996              605   6.625598905              $94.86                $8.21
                                                   864675                 33.77         19960614         199603     1996    6   14           6/14/1996              605   6.625598905              $36.97                $3.20
                                                   864675                  5.33         19960509         199602     1996    5    9            5/9/1996              641   7.019849418               $5.87                $0.54
                                                   864675                 86.45         19960509         199603     1996    5    9            5/9/1996              641   7.019849418              $95.15                $8.70
                                                   864675                 79.92         19960409         199602     1996    4    9            4/9/1996              671   7.348391513              $88.36                $8.44       Days from                                  Value of Contribution Interest from
                                                   864675                  2.03         19960311         199602     1996    3   11           3/11/1996              700   7.665982204               $2.25                $0.22   Transaction Date          Quarters                 on 1/1/1996      Transaction Date
                                                   864675                 80.85         19960311         199601     1996    3   11           3/11/1996              700   7.665982204              $89.77                $8.92      to 1/1/1996                                                         to 1/1/1996
                                                   864675                 25.21         19960209         199601     1996    2    9            2/9/1996              731   8.005475702              $28.12                $2.91
                                                   864675                 63.61         19960209         199512     1996    2    9            2/9/1996              731   8.005475702              $70.96                $7.35                                                                63.61
                                                   864675                  27.3         19960109         199512     1996    1    9            1/9/1996              762   8.344969199              $30.60                $3.30                                                                 27.3
                                                   864675                 63.43         19960109         199511     1996    1    9            1/9/1996              762   8.344969199              $71.09                $7.66                                                                63.43
                                                   864675                  8.73         19960109         199510     1996    1    9            1/9/1996              762   8.344969199               $9.78                $1.05                                                                 8.73
                                                   864675                  52.2         19951211         199511     1995   12   11          12/11/1995              791    8.66255989              $58.76               $6.56                 21               0.229979466                   $52.36            $0.16
                                                   864675                103.91         19951211         199510     1995   12   11          12/11/1995              791    8.66255989             $116.96              $13.05                 21               0.229979466                  $104.24            $0.33

                                                                                                                                                                                        Calculated Interest           $171.41                       Calculated Transfer Basis               $319.67                     Total Additional Amt to Deposit in Plan 3 Account
                                                                                                                                                                                            Actual Interest            143.32                           Actual Transfer Basis                319.18                         $28.41
                                                                                                                                                                                                Difference             $28.09                                      Difference                 $0.49
                                                                                                                                                                                                                                                           65% of Difference                  $0.32
                                                                             Case 3:15-cv-05367-BHS                                         Document 190                                    Filed 03/14/25                    Page 74 of 90


PROPOSED CALCULATIONS FOR MEMBER 00020249
                                                                                                                                                                                                                                                                        1/1/1996


                                                                                                                              Converted Days in Plan                     Value of         Interest from
                                            Member # Contribution Amt   Transaction Date   Earning Period                    Transaction 2 Prior to    Quarters      Contribution on    Transaction Date
                                                                                                                                Date     Transfer                     Transfer Date     to Transfer Date
Transfer Date                12/9/1996
                                            00020249        000215.09           19961115          199610    1996   11   15    11/15/1996         24    0.262833676             215.86              0.77
                                            00020249        000006.55           19961115          199609    1996   11   15    11/15/1996         24    0.262833676               6.57              0.02
                                            00020249        000107.87           19961115          199608    1996   11   15    11/15/1996         24    0.262833676             108.26              0.39
                                            00020249        000346.25           19961015          199609    1996   10   15    10/15/1996         55    0.602327173             349.11              2.86
Plan 2 Interest               13668.9       00020249        000040.17           19961015          199608    1996   10   15    10/15/1996         55    0.602327173              40.50              0.33
Transfer Payment Amount #1   17351.18       00020249        000015.97           19961015          199607    1996   10   15    10/15/1996         55    0.602327173              16.10              0.13
Transfer Payment Amount #2   10844.48       00020249        000005.32           19961015          199606    1996   10   15    10/15/1996         55    0.602327173               5.36              0.04
Transfer Basis Amount        43377.96       00020249        000267.59           19960919          199607    1996    9   19     9/19/1996         81    0.887063655             270.85              3.26
                                            00020249        000035.20           19960919          199606    1996    9   19     9/19/1996         81    0.887063655              35.63              0.43
                                            00020249        000304.92           19960826          199606    1996    8   26     8/26/1996        105    1.149897331             309.75              4.83
                                            00020249        000005.32           19960826          199605    1996    8   26     8/26/1996        105    1.149897331               5.40              0.08
                                            00020249        000008.52           19960826          199604    1996    8   26     8/26/1996        105    1.149897331               8.65              0.13
                                            00020249        000005.32           19960826          199602    1996    8   26     8/26/1996        105    1.149897331               5.40              0.08
                                            00020249        000021.98           19960711          199606    1996    7   11     7/11/1996        151    1.653661875              22.48              0.50
                                            00020249        000131.09           19960711          199605    1996    7   11     7/11/1996        151    1.653661875             134.08              2.99
                                            00020249        000034.81           19960711          199604    1996    7   11     7/11/1996        151    1.653661875              35.61              0.80
                                            00020249        000104.26           19960711          199603    1996    7   11     7/11/1996        151    1.653661875             106.64              2.38
                                            00020249        000292.15           19960618          199605    1996    6   18     6/18/1996        174    1.905544148             299.85              7.70
                                            00020249        000305.45           19960508          199604    1996    5    8      5/8/1996        215    2.354551677             315.43              9.98
                                            00020249        000016.81           19960409          199601    1996    4    9      4/9/1996        244    2.672142368              17.43              0.62
                                            00020249        000275.34           19960409          199603    1996    4    9      4/9/1996        244    2.672142368             285.57             10.23
                                            00020249        000007.45           19960409          199602    1996    4    9      4/9/1996        244    2.672142368               7.73              0.28        Days from                    Value of Contribution Interest from
                                            00020249        000257.64           19960307          199602    1996    3    7      3/7/1996        277    3.033538672             268.54             10.90    Transaction Date   Quarters          on 1/1/1996      Transaction Date
                                            00020249        000008.30           19960307          199601    1996    3    7      3/7/1996        277    3.033538672               8.65              0.35       to 1/1/1996                                           to 1/1/1996
                                            00020249        000042.17           19960307          199511    1996    3    7      3/7/1996        277    3.033538672              43.95              1.78                                     $              42.17
                                            00020249        000308.12           19960209          199601    1996    2    9      2/9/1996        304    3.329226557             322.45             14.33
                                            00020249        000177.43           19960110          199512    1996    1   10     1/10/1996        334    3.657768652             186.52              9.09                                                  177.43
                                            00020249        000118.97           19960110          199511    1996    1   10     1/10/1996        334    3.657768652             125.06              6.09                                                  118.97
                                            00020249        000012.78           19960110          199510    1996    1   10     1/10/1996        334    3.657768652              13.43              0.65                                                   12.78
                                            00020249        000006.39           19960110          199509    1996    1   10     1/10/1996        334    3.657768652               6.72              0.33                                                    6.39
                                            00020249        000150.00           19951211          199511    1995   12   11    12/11/1995        364    3.986310746             158.39              8.39                 21       0.229979466 $          150.47 $            0.47
                                            00020249        000142.15           19951211          199510    1995   12   11    12/11/1995        364    3.986310746             150.10              7.95                 21       0.229979466 $          142.60 $            0.45
                                            00020249        000228.62           19951114          199510    1995   11   14    11/14/1995        391    4.281998631             242.39             13.77                 48       0.525667351 $          230.27 $            1.65
                                            00020249        000086.91           19951114          199508    1995   11   14    11/14/1995        391    4.281998631              92.14              5.23                 48       0.525667351 $           87.54 $            0.63
                                            00020249        000337.94           19951012          199509    1995   10   12    10/12/1995        424    4.643394935             360.06             22.12                 81       0.887063655 $          342.06 $            4.12
                                            00020249        000019.18           19951012          199508    1995   10   12    10/12/1995        424    4.643394935              20.44              1.26                 81       0.887063655 $           19.41 $            0.23
                                            00020249        000200.31           19950911          199507    1995    9   11     9/11/1995        455    4.982888433             214.42             14.11                112       1.226557153 $          203.69 $            3.38
                                            00020249        000068.14           19950911          199506    1995    9   11     9/11/1995        455    4.982888433              72.94              4.80                112       1.226557153 $           69.29 $            1.15
                                            00020249        000051.36           19950817          199506    1995    8   17     8/17/1995        480    5.256673511              55.18              3.82                137       1.500342231 $           52.42 $            1.06
                                            00020249        000114.49           19950817          199505    1995    8   17     8/17/1995        480    5.256673511             123.01              8.52                137       1.500342231 $          116.86 $            2.37
                                            00020249        000011.67           19950817          199504    1995    8   17     8/17/1995        480    5.256673511              12.54              0.87                137       1.500342231 $           11.91 $            0.24
                                            00020249        000128.86           19950817          199503    1995    8   17     8/17/1995        480    5.256673511             138.45              9.59                137       1.500342231 $          131.53 $            2.67
                                            00020249        000268.45           19950714          199506    1995    7   14     7/14/1995        514    5.629021218             289.90             21.45                171       1.872689938 $          275.40 $            6.95
                                            00020249        000284.02           19950622          199505    1995    6   22     6/22/1995        536    5.869952088             307.73             23.71                193       2.113620808 $          292.34 $            8.32
                                            00020249        000277.81           19950511          199504    1995    5   11     5/11/1995        578     6.32991102             302.89             25.08                235        2.57357974 $          287.75 $            9.94
                                            00020249        000002.32           19950511          199503    1995    5   11     5/11/1995        578     6.32991102               2.53              0.21                235        2.57357974 $            2.40 $            0.08
                                            00020249        000007.78           19950511          199502    1995    5   11     5/11/1995        578     6.32991102               8.48              0.70                235        2.57357974 $            8.06 $            0.28
                                            00020249        000268.45           19950412          199503    1995    4   12     4/12/1995        607    6.647501711             293.96             25.51                264       2.891170431 $          279.26 $           10.81
                                            00020249            -0.97           19950412          199501    1995    4   12     4/12/1995        607    6.647501711              -1.06             -0.09                264       2.891170431 $           (1.01) $          (0.04)
                                            00020249        000006.57           19950313          199503    1995    3   13     3/13/1995        637    6.976043806               7.23              0.66                294       3.219712526 $            6.87 $            0.30
                                            00020249        000221.79           19950313          199502    1995    3   13     3/13/1995        637    6.976043806             243.96             22.17                294       3.219712526 $          231.76 $            9.97
                                            00020249        000069.28           19950313          199501    1995    3   13     3/13/1995        637    6.976043806              76.20              6.92                294       3.219712526 $           72.39 $            3.11
                                            00020249        000005.84           19950313          199412    1995    3   13     3/13/1995        637    6.976043806               6.42              0.58                294       3.219712526 $            6.10 $            0.26
                                            00020249        000003.89           19950313          199411    1995    3   13     3/13/1995        637    6.976043806               4.28              0.39                294       3.219712526 $            4.06 $            0.17
                                            00020249        000248.82           19950209          199501    1995    2    9      2/9/1995        669    7.326488706             275.00             26.18                326       3.570157426 $          261.25 $           12.43
                                            00020249           -14.59           19950209          199412    1995    2    9      2/9/1995        669    7.326488706             -16.13             -1.54                326       3.570157426 $          (15.32) $          (0.73)
                                            00020249        000048.82           19950209          199411    1995    2    9      2/9/1995        669    7.326488706              53.96              5.14                326       3.570157426 $           51.26 $            2.44
                                            00020249        000178.43           19950109          199412    1995    1    9      1/9/1995        700    7.665982204             198.12             19.69                357       3.909650924 $          188.22 $            9.79
                                            00020249        000102.67           19950109          199411    1995    1    9      1/9/1995        700    7.665982204             114.00             11.33                357       3.909650924 $          108.30 $            5.63
                                            00020249        000002.92           19950109          199410    1995    1    9      1/9/1995        700    7.665982204               3.24              0.32                357       3.909650924 $            3.08 $            0.16
                                            00020249        000156.71           19941214          199411    1994   12   14    12/14/1994        726    7.950718686             174.68             17.97                383       4.194387406 $          165.95 $            9.24
                                            00020249        000140.92           19941214          199410    1994   12   14    12/14/1994        726    7.950718686             157.08             16.16                383       4.194387406 $          149.23 $            8.31
                                            00020249        000016.54           19941214          199409    1994   12   14    12/14/1994        726    7.950718686              18.44              1.90                383       4.194387406 $           17.52 $            0.98
                                            00020249        000212.17           19941115          199410    1994   11   15    11/15/1994        755    8.268309377             237.53             25.36                412       4.511978097 $          225.65 $           13.48
                                            00020249        000066.09           19941115          199409    1994   11   15    11/15/1994        755    8.268309377              73.99              7.90                412       4.511978097 $           70.29 $            4.20
                                            00020249        000258.65           19941011          199409    1994   10   11    10/11/1994        790    8.651608487             291.09             32.44                447       4.895277207 $          276.53 $           17.88
                                            00020249        000069.78           19941011          199408    1994   10   11    10/11/1994        790    8.651608487              78.53              8.75                447       4.895277207 $           74.60 $            4.82
                                            00020249        000007.55           19941011          199406    1994   10   11    10/11/1994        790    8.651608487               8.50              0.95                447       4.895277207 $            8.07 $            0.52
                                            00020249        000207.60           19940908          199407    1994    9    8      9/8/1994        823    9.013004791             234.79             27.19                480       5.256673511 $          223.05 $           15.45
                                            00020249        000057.94           19940908          199406    1994    9    8      9/8/1994        823    9.013004791              65.53              7.59                480       5.256673511 $           62.25 $            4.31
                                            00020249        000001.24           19940908          199405    1994    9    8      9/8/1994        823    9.013004791               1.40              0.16                480       5.256673511 $            1.33 $            0.09
                                            00020249        000129.11           19940809          199405    1994    8    9      8/9/1994        853    9.341546886             146.68             17.57                510       5.585215606 $          139.34 $           10.23
                                            00020249        000033.94           19940809          199404    1994    8    9      8/9/1994        853    9.341546886              38.56              4.62                510       5.585215606 $           36.63 $            2.69
                       Case 3:15-cv-05367-BHS                            Document 190                   Filed 03/14/25     Page 75 of 90


00020249   000131.89   19940809   199403   1994    8    9     8/9/1994     853   9.341546886   149.84      17.95     510    5.585215606 $   142.34 $    10.45
00020249   000007.55   19940809   199402   1994    8    9     8/9/1994     853   9.341546886     8.58       1.03     510    5.585215606 $     8.15 $     0.60
00020249   000011.71   19940809   199401   1994    8    9     8/9/1994     853   9.341546886    13.30       1.59     510    5.585215606 $    12.64 $     0.93
00020249   000003.55   19940809   199311   1994    8    9     8/9/1994     853   9.341546886     4.03       0.48     510    5.585215606 $     3.83 $     0.28
00020249   000291.33   19940713   199406   1994    7   13    7/13/1994     880   9.637234771   332.31      40.98     537    5.880903491 $   315.69 $    24.36
00020249   000266.78   19940609   199405   1994    6    9     6/9/1994     914   10.00958248   305.86      39.08     571    6.253251198 $   290.56 $    23.78
00020249   000280.00   19940517   199404   1994    5   17    5/17/1994     937   10.26146475   322.12      42.12     594     6.50513347 $   306.01 $    26.01
00020249   000266.78   19940414   199403   1994    4   14    4/14/1994     970   10.62286105   308.43      41.65     627    6.866529774 $   293.01 $    26.23
00020249   000212.41   19940310   199402   1994    3   10    3/10/1994    1005   11.00616016   246.86      34.45     662    7.249828884 $   234.52 $    22.11
00020249   000063.81   19940310   199311   1994    3   10    3/10/1994    1005   11.00616016    74.16      10.35     662    7.249828884 $    70.45 $     6.64
00020249   000280.94   19940222   199401   1994    2   22    2/22/1994    1021   11.18138261   327.29      46.35     678    7.425051335 $   310.92 $    29.98
00020249   000190.75   19940114   199312   1994    1   14    1/14/1994    1060   11.60848734   223.52      32.77     717    7.852156057 $   212.34 $    21.59
00020249   000087.36   19940114   199311   1994    1   14    1/14/1994    1060   11.60848734   102.37      15.01     717    7.852156057 $    97.25 $     9.89
00020249   000148.14   19931216   199311   1993   12   16   12/16/1993    1089   11.92607803   174.34      26.20     746    8.169746749 $   165.63 $    17.49
00020249   000096.72   19931216   199310   1993   12   16   12/16/1993    1089   11.92607803   113.83      17.11     746    8.169746749 $   108.14 $    11.42
00020249   000071.01   19931216   199309   1993   12   16   12/16/1993    1089   11.92607803    83.57      12.56     746    8.169746749 $    79.39 $     8.38
00020249   000280.94   19931116   199310   1993   11   16   11/16/1993    1119   12.25462012   332.12      51.18     776    8.498288843 $   315.51 $    34.57
00020249   000266.78   19931020   199309   1993   10   20   10/20/1993    1146   12.55030801   316.66      49.88     803    8.793976728 $   300.82 $    34.04
00020249   000073.20   19931020   199308   1993   10   20   10/20/1993    1146   12.55030801    86.89      13.69     803    8.793976728 $    82.54 $     9.34
00020249   000084.77   19930924   199306   1993    9   24    9/24/1993    1172   12.83504449   101.01      16.24     829     9.07871321 $    95.96 $    11.19
00020249   000185.40   19930924   199307   1993    9   24    9/24/1993    1172   12.83504449   220.92      35.52     829     9.07871321 $   209.87 $    24.47
00020249   000242.65   19930817   199306   1993    8   17    8/17/1993    1210   13.25119781   290.78      48.13     867     9.49486653 $   276.24 $    33.59
00020249   000009.76   19930817   199305   1993    8   17    8/17/1993    1210   13.25119781    11.70       1.94     867     9.49486653 $    11.11 $     1.35
00020249   000066.56   19930716   199305   1993    7   16    7/16/1993    1242   13.60164271    80.15      13.59     899    9.845311431 $    76.14 $     9.58
00020249   000028.77   19930716   199304   1993    7   16    7/16/1993    1242   13.60164271    34.64       5.87     899    9.845311431 $    32.91 $     4.14
00020249   000115.07   19930716   199303   1993    7   16    7/16/1993    1242   13.60164271   138.56      23.49     899    9.845311431 $   131.63 $    16.56
00020249   000017.75   19930716   199302   1993    7   16    7/16/1993    1242   13.60164271    21.37       3.62     899    9.845311431 $    20.30 $     2.55
00020249   000014.20   19930716   199212   1993    7   16    7/16/1993    1242   13.60164271    17.10       2.90     899    9.845311431 $    16.24 $     2.04
00020249   000020.70   19930716   199211   1993    7   16    7/16/1993    1242   13.60164271    24.93       4.23     899    9.845311431 $    23.68 $     2.98
00020249   000252.41   19930610   199305   1993    6   10    6/10/1993    1278   13.99589322   305.57      53.16     935    10.23956194 $   290.29 $    37.88
00020249   000267.50   19930512   199304   1993    5   12    5/12/1993    1307   14.31348392   325.25      57.75     964    10.55715264 $   308.98 $    41.48
00020249   000270.17   19930409   199303   1993    4    9     4/9/1993    1340   14.67488022   330.12      59.95     997    10.91854894 $   313.61 $    43.44
00020249   000252.99   19930318   199302   1993    3   18    3/18/1993    1362   14.91581109   310.15      57.16    1019    11.15947981 $   294.64 $    41.65
00020249       -8.88   19930318   199301   1993    3   18    3/18/1993    1362   14.91581109   -10.89      -2.01    1019    11.15947981 $   (10.34) $   (1.46)
00020249   000026.06   19930318   199211   1993    3   18    3/18/1993    1362   14.91581109    31.95       5.89    1019    11.15947981 $    30.35 $     4.29
00020249   000252.99   19930218   199301   1993    2   18    2/18/1993    1390   15.22245038   311.45      58.46    1047     11.4661191 $   295.87 $    42.88
00020249   000041.15   19930218   199211   1993    2   18    2/18/1993    1390   15.22245038    50.66       9.51    1047     11.4661191 $    48.13 $     6.98
00020249   000192.87   19921200   199212   1992   12    0   11/30/1992    1470   16.09856263   240.29      47.42    1127    12.34223135 $   228.28 $    35.41
00020249   000063.10   19921200   199211   1992   12    0   11/30/1992    1470   16.09856263    78.62      15.52    1127    12.34223135 $    74.68 $    11.58
00020249   000014.20   19921200   199210   1992   12    0   11/30/1992    1470   16.09856263    17.69       3.49    1127    12.34223135 $    16.81 $     2.61
00020249   000140.31   19921100   199211   1992   11    0   10/31/1992    1500   16.42710472   175.60      35.29    1157    12.67077344 $   166.82 $    26.51
00020249   000057.38   19921100   199210   1992   11    0   10/31/1992    1500   16.42710472    71.81      14.43    1157    12.67077344 $    68.22 $    10.84
00020249   000080.46   19921100   199209   1992   11    0   10/31/1992    1500   16.42710472   100.69      20.23    1157    12.67077344 $    95.66 $    15.20
00020249   000279.04   19921000   199210   1992   10    0    9/30/1992    1531   16.76659822   350.84      71.80    1188    13.01026694 $   333.29 $    54.25
00020249   000036.79   19920928   199206   1992    9   28    9/28/1992    1533   16.78850103    46.27       9.48    1190    13.03216975 $    43.96 $     7.17
00020249   000086.46   19920928   199205   1992    9   28    9/28/1992    1533   16.78850103   108.74      22.28    1190    13.03216975 $   103.30 $    16.84
00020249   000048.26   19920928   199204   1992    9   28    9/28/1992    1533   16.78850103    60.70      12.44    1190    13.03216975 $    57.66 $     9.40
00020249   000040.65   19920928   199203   1992    9   28    9/28/1992    1533   16.78850103    51.12      10.47    1190    13.03216975 $    48.57 $     7.92
00020249   000252.41   19920900   199209   1992    9    0    8/31/1992    1561   17.09514031   318.78      66.37    1218    13.33880903 $   302.84 $    50.43
00020249   000058.53   19920900   199208   1992    9    0    8/31/1992    1561   17.09514031    73.92      15.39    1218    13.33880903 $    70.22 $    11.69
00020249   000012.54   19920900   199207   1992    9    0    8/31/1992    1561   17.09514031    15.84       3.30    1218    13.33880903 $    15.05 $     2.51
00020249   000153.13   19920831   199201   1992    8   31    8/31/1992    1561   17.09514031   193.40      40.27    1218    13.33880903 $   183.73 $    30.60
00020249   000089.66   19920831   199203   1992    8   31    8/31/1992    1561   17.09514031   113.24      23.58    1218    13.33880903 $   107.57 $    17.91
00020249   000009.51   19920831   199202   1992    8   31    8/31/1992    1561   17.09514031    12.01       2.50    1218    13.33880903 $    11.41 $     1.90
00020249   000086.74   19920600   199201   1992    6    0    5/31/1992    1653    18.1026694   111.07      24.33    1310    14.34633812 $   105.51 $    18.77
00020249   000125.42   19920600   199206   1992    6    0    5/31/1992    1653    18.1026694   160.59      35.17    1310    14.34633812 $   152.56 $    27.14
00020249   000214.67   19920500   199205   1992    5    0    4/30/1992    1684    18.4421629   276.15      61.48    1341    14.68583162 $   262.34 $    47.67
00020249   000227.21   19920400   199204   1992    4    0    3/31/1992    1714     18.770705   293.60      66.39    1371    15.01437372 $   278.92 $    51.71
00020249   000221.67   19920300   199203   1992    3    0    2/29/1992    1745   19.11019849   287.77      66.10    1402    15.35386721 $   273.38 $    51.71
00020249   000225.76   19920200   199202   1992    2    0    1/31/1992    1774   19.42778919   294.35      68.59    1431    15.67145791 $   279.64 $    53.88
00020249   000005.84   19920200   199201   1992    2    0    1/31/1992    1774   19.42778919     7.61       1.77    1431    15.67145791 $     7.23 $     1.39
00020249   000007.16   19920200   199112   1992    2    0    1/31/1992    1774   19.42778919     9.34       2.18    1431    15.67145791 $     8.87 $     1.71
00020249   000024.57   19920100   199201   1992    1    0   12/31/1991    1805   19.76728268    32.18       7.61    1462     16.0109514 $    30.57 $     6.00
00020249   000005.81   19920100   199112   1992    1    0   12/31/1991    1805   19.76728268     7.61       1.80    1462     16.0109514 $     7.23 $     1.42
00020249   000036.35   19920100   199111   1992    1    0   12/31/1991    1805   19.76728268    47.61      11.26    1462     16.0109514 $    45.23 $     8.88
00020249   000123.82   19920100   199110   1992    1    0   12/31/1991    1805   19.76728268   162.19      38.37    1462     16.0109514 $   154.08 $    30.26
00020249   000040.60   19920100   199109   1992    1    0   12/31/1991    1805   19.76728268    53.18      12.58    1462     16.0109514 $    50.52 $     9.92
00020249   000209.74   19911200   199112   1991   12    0   11/30/1991    1836   20.10677618   276.01      66.27    1493     16.3504449 $   262.21 $    52.47
00020249   000017.57   19911200   199109   1991   12    0   11/30/1991    1836   20.10677618    23.12       5.55    1493     16.3504449 $    21.97 $     4.40
00020249   000003.34   19911200   199108   1991   12    0   11/30/1991    1836   20.10677618     4.40       1.06    1493     16.3504449 $     4.18 $     0.84
00020249   000240.50   19911100   199111   1991   11    0   10/31/1991    1866   20.43531828   317.92      77.42    1523      16.678987 $   302.02 $    61.52
00020249   000231.55   19911000   199110   1991   10    0    9/30/1991    1897   20.77481177   307.51      75.96    1554    17.01848049 $   292.13 $    60.58
00020249   000243.84   19910900   199109   1991    9    0    8/31/1991    1927   21.10335387   325.29      81.45    1584    17.34702259 $   309.02 $    65.18
00020249      -20.48   19910800   199106   1991    8    0    7/31/1991    1958   21.44284736   -27.45      -6.97    1615    17.68651608 $   (26.08) $   (5.60)
00020249   000104.17   19910800   199105   1991    8    0    7/31/1991    1958   21.44284736   139.61      35.44    1615    17.68651608 $   132.63 $    28.46
00020249   000019.46   19910800   199104   1991    8    0    7/31/1991    1958   21.44284736    26.08       6.62    1615    17.68651608 $    24.78 $     5.32
00020249   000098.69   19910800   199103   1991    8    0    7/31/1991    1958   21.44284736   132.27      33.58    1615    17.68651608 $   125.65 $    26.96
00020249      -16.99   19910800   199102   1991    8    0    7/31/1991    1958   21.44284736   -22.77      -5.78    1615    17.68651608 $   (21.63) $   (4.64)
00020249   000012.53   19910800   199101   1991    8    0    7/31/1991    1958   21.44284736    16.79       4.26    1615    17.68651608 $    15.95 $     3.42
00020249      -35.97   19910800   199012   1991    8    0    7/31/1991    1958   21.44284736   -48.21     -12.24    1615    17.68651608 $   (45.80) $   (9.83)
                       Case 3:15-cv-05367-BHS                                 Document 190                   Filed 03/14/25     Page 76 of 90


00020249   000009.27   19910800        199011   1991    8    0    7/31/1991    1958   21.44284736    12.42      3.15     1615    17.68651608 $    11.80 $      2.53
00020249   000021.80   19910800        199010   1991    8    0    7/31/1991    1958   21.44284736    29.22      7.42     1615    17.68651608 $    27.76 $      5.96
00020249   000020.19   19910800        199009   1991    8    0    7/31/1991    1958   21.44284736    27.06      6.87     1615    17.68651608 $    25.71 $      5.52
00020249   000034.45   19910700        199102   1991    7    0    6/30/1991    1989   21.78234086    46.38     11.93     1646    18.02600958 $    44.07 $      9.62
00020249   000025.24   19910700        199101   1991    7    0    6/30/1991    1989   21.78234086    33.98      8.74     1646    18.02600958 $    32.28 $      7.04
00020249   000012.03   19910700        199012   1991    7    0    6/30/1991    1989   21.78234086    16.20      4.17     1646    18.02600958 $    15.39 $      3.36
00020249   000062.28   19910700        199011   1991    7    0    6/30/1991    1989   21.78234086    83.86     21.58     1646    18.02600958 $    79.66 $     17.38
00020249   000095.37   19910700        199010   1991    7    0    6/30/1991    1989   21.78234086   128.41     33.04     1646    18.02600958 $   121.99 $     26.62
00020249   000215.67   19910600        199106   1991    6    0    5/31/1991    2019   22.11088296   291.69     76.02     1676    18.35455168 $   277.11 $     61.44
00020249   000230.20   19910500        199105   1991    5    0    4/30/1991    2050   22.45037645   312.79     82.59     1707    18.69404517 $   297.15 $     66.95
00020249   000219.14   19910400        199104   1991    4    0    3/31/1991    2080   22.77891855   299.10     79.96     1737    19.02258727 $   284.15 $     65.01
00020249   000224.83   19910300        199103   1991    3    0    2/28/1991    2111   23.11841205   308.30     83.47     1768    19.36208077 $   292.88 $     68.05
00020249   000241.04   19910200        199102   1991    2    0    1/31/1991    2139   23.42505133   331.91     90.87     1796    19.66872005 $   315.31 $     74.27
00020249   000238.05   19910100        199101   1991    1    0   12/31/1990    2170   23.76454483   329.32     91.27     1827    20.00821355 $   312.85 $     74.80
00020249   000000.14   19910100        199010   1991    1    0   12/31/1990    2170   23.76454483     0.19      0.05     1827    20.00821355 $     0.18 $      0.04
00020249   000187.94   19901200        199012   1990   12    0   11/30/1990    2201   24.10403833   261.20     73.26     1858    20.34770705 $   248.14 $     60.20
00020249   000000.50   19901200        199010   1990   12    0   11/30/1990    2201   24.10403833     0.69      0.19     1858    20.34770705 $     0.66 $      0.16
00020249   000037.55   19901200        199009   1990   12    0   11/30/1990    2201   24.10403833    52.19     14.64     1858    20.34770705 $    49.58 $     12.03
00020249   000010.69   19901200        199008   1990   12    0   11/30/1990    2201   24.10403833    14.86      4.17     1858    20.34770705 $    14.11 $      3.42
00020249   000230.66   19901100        199011   1990   11    0   10/31/1990    2231   24.43258042   322.02     91.36     1888    20.67624914 $   305.91 $     75.25
00020249   000215.80   19901000        199010   1990   10    0    9/30/1990    2262   24.77207392   302.67     86.87     1919    21.01574264 $   287.54 $     71.74
00020249   000215.80   19900900        199009   1990    9    0    8/31/1990    2292   25.10061602   304.03     88.23     1949    21.34428474 $   288.83 $     73.03
00020249   000021.38   19900800        199007   1990    8    0    7/31/1990    2323   25.44010951    30.26      8.88     1980    21.68377823 $    28.75 $      7.37
00020249      -46.86   19900800        199006   1990    8    0    7/31/1990    2323   25.44010951   -66.33    -19.47     1980    21.68377823 $   (63.01) $   (16.15)
00020249   000106.01   19900800        199005   1990    8    0    7/31/1990    2323   25.44010951   150.05     44.04     1980    21.68377823 $   142.54 $     36.53
00020249   000037.50   19900800        199004   1990    8    0    7/31/1990    2323   25.44010951    53.08     15.58     1980    21.68377823 $    50.42 $     12.92
00020249   000094.52   19900800        199003   1990    8    0    7/31/1990    2323   25.44010951   133.78     39.26     1980    21.68377823 $   127.09 $     32.57
00020249       -0.35   19900800        199002   1990    8    0    7/31/1990    2323   25.44010951    -0.50     -0.15     1980    21.68377823 $    (0.47) $    (0.12)
00020249   000007.01   19900700        198909   1990    7    0    6/30/1990    2354   25.77960301     9.97      2.96     2011    22.02327173 $     9.47 $      2.46
00020249   000013.19   19900700        199002   1990    7    0    6/30/1990    2354   25.77960301    18.76      5.57     2011    22.02327173 $    17.82 $      4.63
00020249   000039.66   19900700        199001   1990    7    0    6/30/1990    2354   25.77960301    56.40     16.74     2011    22.02327173 $    53.58 $     13.92
00020249   000013.32   19900700        198912   1990    7    0    6/30/1990    2354   25.77960301    18.94      5.62     2011    22.02327173 $    17.99 $      4.67
00020249   000035.26   19900700        198911   1990    7    0    6/30/1990    2354   25.77960301    50.14     14.88     2011    22.02327173 $    47.63 $     12.37
00020249   000075.96   19900700        198910   1990    7    0    6/30/1990    2354   25.77960301   108.01     32.05     2011    22.02327173 $   102.61 $     26.65
00020249   000183.65   19900600        199006   1990    6    0    5/31/1990    2384   26.10814511   262.32     78.67     2041    22.35181383 $   249.20 $     65.55
00020249   000185.74   19900500        199005   1990    5    0    4/30/1990    2415    26.4476386   266.54     80.80     2072    22.69130732 $   253.21 $     67.47
00020249   000192.87   19900400        199004   1990    4    0    3/31/1990    2445    26.7761807   278.02     85.15     2102    23.01984942 $   264.11 $     71.24
00020249   000201.42   19900300        199003   1990    3    0    2/28/1990    2476    27.1156742   291.69     90.27     2133    23.35934292 $   277.10 $     75.68
00020249   000207.49   19900200        199002   1990    2    0    1/31/1990    2504   27.42231348   301.74     94.25     2161     23.6659822 $   286.65 $     79.16
00020249   000196.30   19900100        199001   1990    1    0   12/31/1989    2535   27.76180698   286.80     90.50     2192     24.0054757 $   272.45 $     76.15
00020249   000143.05   19891200        198912   1989   12    0   11/30/1989    2566   28.10130048   209.97     66.92     2223     24.3449692 $   199.47 $     56.42
00020249   000039.93   19891200        198909   1989   12    0   11/30/1989    2566   28.10130048    58.61     18.68     2223     24.3449692 $    55.68 $     15.75
00020249   000193.31   19891100        198911   1989   11    0   10/31/1989    2596   28.42984257   285.02     91.71     2253    24.67351129 $   270.76 $     77.45
00020249   000184.32   19891000        198910   1989   10    0    9/30/1989    2627   28.76933607   273.02     88.70     2284    25.01300479 $   259.37 $     75.05
00020249   000193.66   19890900        198909   1989    9    0    8/31/1989    2657   29.09787817   288.15     94.49     2314    25.34154689 $   273.74 $     80.08
00020249       -9.58   19890800        198810   1989    8    0    7/31/1989    2688   29.43737166   -14.32     -4.74     2345    25.68104038 $   (13.60) $    (4.02)
00020249   000093.99   19890800        198905   1989    8    0    7/31/1989    2688   29.43737166   140.50     46.51     2345    25.68104038 $   133.47 $     39.48
00020249   000029.77   19890800        198904   1989    8    0    7/31/1989    2688   29.43737166    44.50     14.73     2345    25.68104038 $    42.28 $     12.51
00020249   000048.24   19890800        198903   1989    8    0    7/31/1989    2688   29.43737166    72.11     23.87     2345    25.68104038 $    68.50 $     20.26
00020249      -14.18   19890800        198902   1989    8    0    7/31/1989    2688   29.43737166   -21.20     -7.02     2345    25.68104038 $   (20.14) $    (5.96)
00020249   000009.58   19890800        198811   1989    8    0    7/31/1989    2688   29.43737166    14.32      4.74     2345    25.68104038 $    13.60 $      4.02
00020249   000008.83   19890700        198811   1989    7    0    6/30/1989    2719   29.77686516    13.26      4.43     2376    26.02053388 $    12.60 $      3.77
00020249   000029.26   19890700        198810   1989    7    0    6/30/1989    2719   29.77686516    43.94     14.68     2376    26.02053388 $    41.74 $     12.48
00020249   000010.55   19890700        198809   1989    7    0    6/30/1989    2719   29.77686516    15.84      5.29     2376    26.02053388 $    15.05 $      4.50
00020249   000034.90   19890700        198903   1989    7    0    6/30/1989    2719   29.77686516    52.41     17.51     2376    26.02053388 $    49.79 $     14.89
00020249   000016.27   19890700        198902   1989    7    0    6/30/1989    2719   29.77686516    24.43      8.16     2376    26.02053388 $    23.21 $      6.94
00020249   000048.15   19890700        198901   1989    7    0    6/30/1989    2719   29.77686516    72.31     24.16     2376    26.02053388 $    68.69 $     20.54
00020249   000009.86   19890700        198812   1989    7    0    6/30/1989    2719   29.77686516    14.81      4.95     2376    26.02053388 $    14.07 $      4.21
00020249   000000.24   19890600        198809   1989    6    0    5/31/1989    2749   30.10540726     0.36      0.12     2406    26.34907598 $     0.34 $      0.10
00020249   000004.37   19890600        198808   1989    6    0    5/31/1989    2749   30.10540726     6.59      2.22     2406    26.34907598 $     6.26 $      1.89
00020249   000154.26   19890600        198906   1989    6    0    5/31/1989    2749   30.10540726   232.70     78.44     2406    26.34907598 $   221.07 $     66.81
00020249   000159.22   19890500        198905   1989    5    0    4/30/1989    2780   30.44490075   241.30     82.08     2437    26.68856947 $   229.24 $     70.02
00020249   000157.82   19890400        198904   1989    4    0    3/31/1989    2810   30.77344285   240.26     82.44     2467    27.01711157 $   228.24 $     70.42
00020249   000170.07   19890300        198903   1989    3    0    2/28/1989    2841   31.11293634   260.11     90.04     2498    27.35660507 $   247.10 $     77.03
00020249   000198.11   19890200        198902   1989    2    0    1/31/1989    2869   31.41957563   304.26    106.15     2526    27.66324435 $   289.05 $     90.94
00020249   000165.04   19890100        198901   1989    1    0   12/31/1988    2900   31.75906913   254.65     89.61     2557    28.00273785 $   241.92 $     76.88
00020249   000043.68   19881200        198808   1988   12    0   11/30/1988    2931   32.09856263    67.71     24.03     2588    28.34223135 $    64.32 $     20.64
00020249   000112.97   19881200        198812   1988   12    0   11/30/1988    2931   32.09856263   175.12     62.15     2588    28.34223135 $   166.36 $     53.39
00020249   000007.87   19881107 000000          1988   11    7    11/7/1988    2954    32.3504449    12.24      4.37     2611    28.59411362 $    11.63 $      3.76
00020249   000164.81   19881100        198811   1988   11    0   10/31/1988    2961   32.42710472   256.63     91.82     2618    28.67077344 $   243.80 $     78.99
00020249   000158.22   19881000        198810   1988   10    0    9/30/1988    2992   32.76659822   247.51     89.29     2649    29.01026694 $   235.14 $     76.92
00020249      -12.47   19880926        198708   1988    9   26    9/26/1988    2996   32.81040383   -19.52     -7.05     2653    29.05407255 $   (18.54) $    (6.07)
00020249   000012.47   19880926        198708   1988    9   26    9/26/1988    2996   32.81040383    19.52      7.05     2653    29.05407255 $    18.54 $      6.07
00020249   000030.23   19880900        198810   1988    9    0    8/31/1988    3022   33.09514031    47.50     17.27     2679    29.33880903 $    45.13 $     14.90
00020249   000182.64   19880900        198809   1988    9    0    8/31/1988    3022   33.09514031   287.00    104.36     2679    29.33880903 $   272.65 $     90.01
00020249   000078.83   19880800        198805   1988    8    0    7/31/1988    3053   33.43463381   124.45     45.62     2710    29.67830253 $   118.23 $     39.40
00020249   000030.76   19880800        198804   1988    8    0    7/31/1988    3053   33.43463381    48.56     17.80     2710    29.67830253 $    46.13 $     15.37
00020249   000049.74   19880800        198803   1988    8    0    7/31/1988    3053   33.43463381    78.52     28.78     2710    29.67830253 $    74.60 $     24.86
00020249   000057.50   19880700        198803   1988    7    0    6/30/1988    3084   33.77412731    91.20     33.70     2741    30.01779603 $    86.64 $     29.14
00020249   000084.93   19880700        198801   1988    7    0    6/30/1988    3084   33.77412731   134.70     49.77     2741    30.01779603 $   127.97 $     43.04
                       Case 3:15-cv-05367-BHS                            Document 190                   Filed 03/14/25     Page 77 of 90


00020249   000009.73   19880700   198712   1988    7    0    6/30/1988    3084   33.77412731    15.43      5.70     2741    30.01779603 $    14.66 $      4.93
00020249   000015.37   19880700   198711   1988    7    0    6/30/1988    3084   33.77412731    24.38      9.01     2741    30.01779603 $    23.16 $      7.79
00020249   000087.31   19880600   198806   1988    6    0    5/31/1988    3114    34.1026694   139.10     51.79     2771    30.34633812 $   132.14 $     44.83
00020249   000030.58   19880600   198711   1988    6    0    5/31/1988    3114    34.1026694    48.72     18.14     2771    30.34633812 $    46.28 $     15.70
00020249   000038.27   19880600   198710   1988    6    0    5/31/1988    3114    34.1026694    60.97     22.70     2771    30.34633812 $    57.92 $     19.65
00020249   000006.10   19880600   198709   1988    6    0    5/31/1988    3114    34.1026694     9.72      3.62     2771    30.34633812 $     9.23 $      3.13
00020249   000160.72   19880500   198805   1988    5    0    4/30/1988    3145    34.4421629   257.24     96.52     2802    30.68583162 $   244.38 $     83.66
00020249   000168.58   19880400   198804   1988    4    0    3/31/1988    3175     34.770705   271.04    102.46     2832    31.01437372 $   257.48 $     88.90
00020249   000194.08   19880300   198803   1988    3    0    2/29/1988    3206   35.11019849   313.48    119.40     2863    31.35386721 $   297.81 $    103.73
00020249   000208.77   19880200   198802   1988    2    0    1/31/1988    3235   35.42778919   338.68    129.91     2892    31.67145791 $   321.74 $    112.97
00020249   000011.97   19880200   198709   1988    2    0    1/31/1988    3235   35.42778919    19.42      7.45     2892    31.67145791 $    18.45 $      6.48
00020249   000011.50   19880200   198708   1988    2    0    1/31/1988    3235   35.42778919    18.66      7.16     2892    31.67145791 $    17.72 $      6.22
00020249   000148.42   19880100   198801   1988    1    0   12/31/1987    3266   35.76728268   241.89     93.47     2923     32.0109514 $   229.80 $     81.38
00020249   000146.31   19871200   198712   1987   12    0   11/30/1987    3297   36.10677618   239.56     93.25     2954     32.3504449 $   227.58 $     81.27
00020249   000146.31   19871100   198711   1987   11    0   10/31/1987    3327   36.43531828   240.64     94.33     2984      32.678987 $   228.61 $     82.30
00020249   000154.23   19871000   198710   1987   10    0    9/30/1987    3358   36.77481177   254.84    100.61     3015    33.01848049 $   242.10 $     87.87
00020249   000166.70   19870900   198709   1987    9    0    8/31/1987    3388   37.10335387   276.69    109.99     3045    33.34702259 $   262.85 $     96.15
00020249   000049.52   19870800   198705   1987    8    0    7/31/1987    3419   37.44284736    82.58     33.06     3076    33.68651608 $    78.45 $     28.93
00020249   000050.56   19870800   198704   1987    8    0    7/31/1987    3419   37.44284736    84.31     33.75     3076    33.68651608 $    80.09 $     29.53
00020249   000041.47   19870800   198703   1987    8    0    7/31/1987    3419   37.44284736    69.15     27.68     3076    33.68651608 $    65.69 $     24.22
00020249   000050.81   19870700   198612   1987    7    0    6/30/1987    3450   37.78234086    85.12     34.31     3107    34.02600958 $    80.86 $     30.05
00020249   000002.01   19870700   198611   1987    7    0    6/30/1987    3450   37.78234086     3.37      1.36     3107    34.02600958 $     3.20 $      1.19
00020249   000019.18   19870700   198703   1987    7    0    6/30/1987    3450   37.78234086    32.13     12.95     3107    34.02600958 $    30.52 $     11.34
00020249   000043.68   19870700   198702   1987    7    0    6/30/1987    3450   37.78234086    73.18     29.50     3107    34.02600958 $    69.52 $     25.84
00020249   000031.14   19870700   198701   1987    7    0    6/30/1987    3450   37.78234086    52.17     21.03     3107    34.02600958 $    49.56 $     18.42
00020249   000049.52   19870600   198611   1987    6    0    5/31/1987    3480   38.11088296    83.33     33.81     3137    34.35455168 $    79.16 $     29.64
00020249   000019.46   19870600   198610   1987    6    0    5/31/1987    3480   38.11088296    32.75     13.29     3137    34.35455168 $    31.11 $     11.65
00020249   000073.34   19870600   198706   1987    6    0    5/31/1987    3480   38.11088296   123.42     50.08     3137    34.35455168 $   117.24 $     43.90
00020249   000143.98   19870505   198612   1987    5    5     5/5/1987    3506   38.39561944   243.23     99.25     3163    34.63928816 $   231.07 $     87.09
00020249   000145.42   19870500   198705   1987    5    0    4/30/1987    3511   38.45037645   245.85    100.43     3168    34.69404517 $   233.56 $     88.14
00020249   000135.90   19870423   198611   1987    4   23    4/23/1987    3518   38.52703628   229.99     94.09     3175      34.770705 $   218.49 $     82.59
00020249   000024.29   19870400   198610   1987    4    0    3/31/1987    3541   38.77891855    41.25     16.96     3198    35.02258727 $    39.19 $     14.90
00020249      -24.29   19870400   198609   1987    4    0    3/31/1987    3541   38.77891855   -41.25    -16.96     3198    35.02258727 $   (39.19) $   (14.90)
00020249   000142.84   19870400   198704   1987    4    0    3/31/1987    3541   38.77891855   242.57     99.73     3198    35.02258727 $   230.44 $     87.60
00020249   000134.56   19870318   198610   1987    3   18    3/18/1987    3554   38.92128679   228.96     94.40     3211    35.16495551 $   217.51 $     82.95
00020249   000161.68   19870300   198703   1987    3    0    2/28/1987    3572   39.11841205   275.84    114.16     3229    35.36208077 $   262.05 $    100.37
00020249   000134.56   19870219   198609   1987    2   19    2/19/1987    3581   39.21697467   229.88     95.32     3238    35.46064339 $   218.39 $     83.83
00020249   000141.55   19870200   198702   1987    2    0    1/31/1987    3600   39.42505133   242.51    100.96     3257    35.66872005 $   230.39 $     88.84
00020249   000013.63   19870100   198610   1987    1    0   12/31/1986    3631   39.76454483    23.46      9.83     3288    36.00821355 $    22.29 $      8.66
00020249   000020.01   19870100   198609   1987    1    0   12/31/1986    3631   39.76454483    34.44     14.43     3288    36.00821355 $    32.72 $     12.71
00020249   000136.60   19870100   198701   1987    1    0   12/31/1986    3631   39.76454483   235.12     98.52     3288    36.00821355 $   223.36 $     86.76
00020249   000131.51   19861024   198608   1986   10   24   10/24/1986    3699   40.50924025   228.67     97.16     3356    36.75290897 $   217.24 $     85.73
00020249   000135.77   19860911   198607   1986    9   11    9/11/1986    3742   40.98015058   237.60    101.83     3399     37.2238193 $   225.72 $     89.95
00020249   000132.16   19860805   198606   1986    8    5     8/5/1986    3779    41.3853525   232.57    100.41     3436    37.62902122 $   220.94 $     88.78
00020249   000142.57   19860710   198605   1986    7   10    7/10/1986    3805   41.67008898   251.87    109.30     3462     37.9137577 $   239.27 $     96.70
00020249   000131.51   19860612   198604   1986    6   12    6/12/1986    3833   41.97672827   233.30    101.79     3490    38.22039699 $   221.64 $     90.13
00020249   000136.92   19860519   198603   1986    5   19    5/19/1986    3857   42.23956194   243.77    106.85     3514    38.48323066 $   231.58 $     94.66
00020249   000130.93   19860429   198602   1986    4   29    4/29/1986    3877   42.45859001   233.81    102.88     3534    38.70225873 $   222.11 $     91.18
00020249   000130.93   19860408   198601   1986    4    8     4/8/1986    3898   42.68856947   234.54    103.61     3555    38.93223819 $   222.81 $     91.88
00020249   000173.03   19860314   198512   1986    3   14    3/14/1986    3923   42.96235455   311.12    138.09     3580    39.20602327 $   295.56 $    122.53
00020249   000122.64   19860220   198511   1986    2   20    2/20/1986    3945   43.20328542   221.24     98.60     3602    39.44695414 $   210.18 $     87.54
00020249   000136.86   19860110   198510   1986    1   10    1/10/1986    3986   43.65229295   248.41    111.55     3643    39.89596167 $   235.99 $     99.13
00020249   000110.30   19851127   198509   1985   11   27   11/27/1985    4030   44.13415469   201.53     91.23     3687    40.37782341 $   191.45 $     81.15
00020249   000108.32   19851028   198508   1985   10   28   10/28/1985    4060   44.46269678   198.80     90.48     3717     40.7063655 $   188.86 $     80.54
00020249   000108.32   19850918   198507   1985    9   18    9/18/1985    4100   44.90075291   199.99     91.67     3757    41.14442163 $   189.99 $     81.67
00020249   000116.02   19850823   198506   1985    8   23    8/23/1985    4126   45.18548939   215.04     99.02     3783    41.42915811 $   204.29 $     88.27
00020249   000111.40   19850731   198505   1985    7   31    7/31/1985    4149   45.43737166   207.19     95.79     3806    41.68104038 $   196.83 $     85.43
00020249   000113.03   19850626   198504   1985    6   26    6/26/1985    4184   45.82067077   211.32     98.29     3841    42.06433949 $   200.76 $     87.73
00020249   000115.46   19850604   198503   1985    6    4     6/4/1985    4206   46.06160164   216.58    101.12     3863    42.30527036 $   205.75 $     90.29
00020249   000109.59   19850509   198502   1985    5    9     5/9/1985    4232   46.34633812   206.37     96.78     3889    42.59000684 $   196.05 $     86.46
00020249   000129.34   19850417   198501   1985    4   17    4/17/1985    4254   46.58726899   244.36    115.02     3911    42.83093771 $   232.14 $    102.80
00020249   000104.83   19850325   198412   1985    3   25    3/25/1985    4277   46.83915127   198.74     93.91     3934    43.08281999 $   188.80 $     83.97
00020249   000096.89   19850225   198411   1985    2   25    2/25/1985    4305   47.14579055   184.46     87.57     3962    43.38945927 $   175.23 $     78.34
00020249   000096.89   19850110   198410   1985    1   10    1/10/1985    4351    47.6495551   185.73     88.84     4008    43.89322382 $   176.44 $     79.55
00020249   000103.97   19841128   198409   1984   11   28   11/28/1984    4394   48.12046543   200.59     96.62     4051    44.36413415 $   190.56 $     86.59
00020249   000108.89   19841018   198408   1984   10   18   10/18/1984    4435   48.56947296   211.37    102.48     4092    44.81314168 $   200.80 $     91.91
00020249   000108.88   19840918   198407   1984    9   18    9/18/1984    4465   48.89801506   212.30    103.42     4122    45.14168378 $   201.69 $     92.81
00020249   000116.97   19840809   198406   1984    8    9     8/9/1984    4505   49.33607118   229.45    112.48     4162     45.5797399 $   217.97 $    101.00
00020249   000112.69   19840705   198405   1984    7    5     7/5/1984    4540   49.71937029   222.21    109.52     4197    45.96303901 $   211.10 $     98.41
00020249   000109.84   19840613   198404   1984    6   13    6/13/1984    4562   49.96030116   217.30    107.46     4219    46.20396988 $   206.44 $     96.60
00020249   000131.28   19840516   198403   1984    5   16    5/16/1984    4590   50.26694045   260.81    129.53     4247    46.51060917 $   247.77 $    116.49
00020249   000105.15   19840502   198402   1984    5    2     5/2/1984    4604    50.4202601   209.34    104.19     4261    46.66392882 $   198.87 $     93.72
00020249   000105.15   19840327   198401   1984    3   27    3/27/1984    4640   50.81451061   210.47    105.32     4297    47.05817933 $   199.94 $     94.79
00020249   000109.59   19840228   198312   1984    2   28    2/28/1984    4668    51.1211499   220.27    110.68     4325    47.36481862 $   209.26 $     99.67
00020249   000105.15   19840207   198311   1984    2    7     2/7/1984    4689   51.35112936   212.01    106.86     4346    47.59479808 $   201.41 $     96.26
00020249   000110.70   19840110   198310   1984    1   10    1/10/1984    4717   51.65776865   224.14    113.44     4374    47.90143737 $   212.93 $    102.23
00020249   000105.15   19831201   198309   1983   12    1    12/1/1983    4757   52.09582478   214.18    109.03     4414     48.3394935 $   203.47 $     98.32
00020249   000104.69   19831011   198308   1983   10   11   10/11/1983    4808   52.65434634   214.88    110.19     4465    48.89801506 $   204.13 $     99.44
00020249   000100.89   19830902   198307   1983    9    2     9/2/1983    4847   53.08145106   208.29    107.40     4504    49.32511978 $   197.87 $     96.98
00020249   000100.15   19830805   198306   1983    8    5     8/5/1983    4875   53.38809035   207.63    107.48     4532    49.63175907 $   197.25 $     97.10
                       Case 3:15-cv-05367-BHS                            Document 190                                Filed 03/14/25            Page 78 of 90


00020249   000098.03   19830706   198305   1983    7    6     7/6/1983    4905   53.71663244              204.15        106.12    4562              49.96030116 $       193.94    $    95.91
00020249   000096.23   19830524   198304   1983    5   24    5/24/1983    4948   54.18754278              201.69        105.46    4605               50.4312115 $       191.61    $    95.38
00020249   000095.55   19830428   198303   1983    4   28    4/28/1983    4974   54.47227926              201.05        105.50    4631              50.71594798 $       190.99    $    95.44
00020249   000095.55   19830405   198302   1983    4    5     4/5/1983    4997   54.72416153              201.74        106.19    4654              50.96783025 $       191.65    $    96.10
00020249   000095.55   19830308   198301   1983    3    8     3/8/1983    5025   55.03080082              202.59        107.04    4682              51.27446954 $       192.46    $    96.91
00020249   000102.38   19830208   198212   1983    2    8     2/8/1983    5053   55.33744011              217.98        115.60    4710              51.58110883 $       207.08    $   104.70
00020249   000099.64   19830124   198211   1983    1   24    1/24/1983    5068   55.50171116              212.62        112.98    4725              51.74537988 $       201.99    $   102.35
00020249   000103.51   19830110   198210   1983    1   10    1/10/1983    5082    55.6550308              221.34        117.83    4739              51.89869952 $       210.27    $   106.76
00020249   000087.85   19821208   198209   1982   12    8    12/8/1982    5115    56.0164271              188.79        100.94    4772              52.26009582 $       179.35    $    91.50
00020249   000085.51   19821027   198208   1982   10   27   10/27/1982    5157   56.47638604              184.91         99.40    4814              52.72005476 $       175.67    $    90.16
00020249   000085.51   19820916   198207   1982    9   16    9/16/1982    5198   56.92539357              186.05        100.54    4855              53.16906229 $       176.75    $    91.24
00020249   000086.87   19820813   198206   1982    8   13    8/13/1982    5232   57.29774127              189.97        103.10    4889              53.54140999 $       180.47    $    93.60
00020249   000086.75   19820713   198205   1982    7   13    7/13/1982    5263   57.63723477              190.59        103.84    4920              53.88090349 $       181.06    $    94.31
00020249   000085.51   19820604   198204   1982    6    4     6/4/1982    5302   58.06433949              188.97        103.46    4959              54.30800821 $       179.52    $    94.01
00020249   000087.56   19820430   198203   1982    4   30    4/30/1982    5337    58.4476386              194.51        106.95    4994              54.69130732 $       184.79    $    97.23
00020249   000085.26   19820405   198202   1982    4    5     4/5/1982    5362   58.72142368              190.11        104.85    5019               54.9650924 $       180.61    $    95.35
00020249   000085.26   19820226   198201   1982    2   26    2/26/1982    5400     59.137577              191.20        105.94    5057              55.38124572 $       181.64    $    96.38
00020249   000085.26   19820204   198112   1982    2    4     2/4/1982    5422   59.37850787              191.83        106.57    5079              55.62217659 $       182.24    $    96.98
00020249   000094.28   19820121   198111   1982    1   21    1/21/1982    5436   59.53182752              212.57        118.29    5093              55.77549624 $       201.94    $   107.66
00020249   000077.38   19820105   198110   1982    1    5     1/5/1982    5452   59.70704997              174.88         97.50    5109              55.95071869 $       166.14    $    88.76
00020249   000056.40   19811204   198109   1981   12    4    12/4/1981    5484   60.05749487              128.08         71.68    5141              56.30116359 $       121.67    $    65.27

                                                                                               Calculated Interest   $14,472.56          Calculated Transfer Basis   $43,659.86                Total Additional Amt to Deposit in Plan 3 Account
                                                                                                   Actual Interest     13668.90              Actual Transfer Basis     43377.96                        $986.89
                                                                                                       Difference       $803.66                        Difference       $281.90
                                                                                                                                                65% of Difference       $183.23
Case 3:15-cv-05367-BHS   Document 190   Filed 03/14/25   Page 79 of 90




                  EXHIBIT F
                                                                             Case 3:15-cv-05367-BHS                                       Document 190                                     Filed 03/14/25                    Page 80 of 90


PROPOSED CALCULATIONS FOR MEMBER 252953 - Mr. Fowler
                                                                                                                                                                                                                                                                       1/1/1996

                                                                                                                         Converted Days in Plan                   Value of          Interest from
                                             Member # Contribution Amt Transaction Date Earning Period                  Transaction  2 Prior to    Quarters   Contribution on    Transaction Date
Transfer Date                10/14/1996                                                                                     Date     Transfer                  Transfer Date      to Transfer Date
                                               252953            221.96 19960911        199606           1996    9   11    9/11/1996            33 0.361396              223.06                  1.10
                                               252953             37.67 19960911        199605           1996    9   11    9/11/1996            33 0.361396                37.86                 0.19
                                               252953            259.61 19960819        199605           1996    8   19    8/19/1996            56 0.613279              261.79                  2.18
                                               252953               3.4 19960711        199606           1996    7   11    7/11/1996            95 1.040383                 3.45                 0.05
Plan 2 Interest               11594.68         252953             27.17 19960711        199605           1996    7   11    7/11/1996            95 1.040383                27.56                 0.39
Transfer Payment Amount #1    14780.07         252953            232.44 19960711        199604           1996    7   11    7/11/1996           95 1.040383               235.77                  3.33
Transfer Payment Amount #2     9237.54         252953             14.99 19960615        199605           1996    6   15    6/15/1996          121 1.32512                  15.26                 0.27
Transfer Basis Amount         36950.18         252953             18.27 19960615        199604           1996    6   15    6/15/1996          121 1.32512                  18.60                 0.33
                                               252953            241.36 19960615        199603           1996    6   15    6/15/1996          121 1.32512                245.77                  4.41
                                               252953              0.66 19960514        199604           1996    5   14    5/14/1996          153 1.675565                  0.68                 0.02
                                               252953             68.35 19960514        199603           1996    5   14    5/14/1996          153 1.675565                 69.93                 1.58
                                               252953            191.27 19960514        199602           1996    5   14    5/14/1996          153 1.675565               195.70                  4.43       Days from                     Value of Contribution Interest from
                                               252953              94.8 19960411        199602           1996    4   11    4/11/1996          186 2.036961                 97.47                 2.67   Transaction Date   Quarters           on 1/1/1996       Transaction Date
                                               252953            164.81 19960411        199601           1996    4   11    4/11/1996          186 2.036961               169.46                  4.65      to 1/1/1996                                             to 1/1/1996
                                               252953             44.87 19960312        199512           1996    3   12    3/12/1996          216 2.365503                 46.34                 1.47                                                     44.87
                                               252953              1.32 19960312        199602           1996    3   12    3/12/1996          216 2.365503                  1.36                 0.04
                                               252953            214.76 19960312        199601           1996    3   12    3/12/1996          216 2.365503               221.81                  7.05
                                               252953            209.32 19960214        199512           1996    2   14    2/14/1996          243 2.661191               217.07                  7.75                                                   209.32
                                               252953             50.29 19960214        199511           1996    2   14    2/14/1996          243 2.661191                 52.15                 1.86                                                    50.29
                                               252953            259.62 19960112        199511           1996    1   12    1/12/1996          276 3.022587               270.56                 10.94                                                   259.62
                                               252953             80.63 19951214        199511           1995   12   14 12/14/1995            305 3.340178                 84.39                 3.76               18         0.197125257 $            80.85 $            0.22
                                               252953            210.61 19951214        199510           1995   12   14 12/14/1995            305 3.340178               220.44                  9.83               18         0.197125257 $           211.18 $            0.57
                                               252953            177.54 19951115        199510           1995   11   15 11/15/1995            334 3.657769               186.63                  9.09               47         0.514715948 $           178.79 $            1.25
                                               252953             82.08 19951115        199509           1995   11   15 11/15/1995            334 3.657769                 86.28                 4.20               47         0.514715948 $            82.66 $            0.58
                                               252953            261.62 19951012        199509           1995   10   12 10/12/1995            368 4.030116               276.42                 14.80               81         0.887063655 $           264.81 $            3.19
                                               252953             224.8 19950913        199506           1995    9   13    9/13/1995          397 4.347707               238.55                 13.75              110         1.204654346 $           228.53 $            3.73
                                               252953             11.54 19950815        199506           1995    8   15    8/15/1995          426 4.665298                 12.30                 0.76              139         1.522245038 $            11.78 $            0.24
                                               252953            224.15 19950815        199505           1995    8   15    8/15/1995          426 4.665298               238.90                 14.75              139         1.522245038 $           228.86 $            4.71
                                               252953             -1.14 19950815        199504           1995    8   15    8/15/1995          426 4.665298                 -1.21                -0.07              139         1.522245038 $             (1.16) $         (0.02)
                                               252953             -1.52 19950815        199410           1995    8   15    8/15/1995          426 4.665298                 -1.62                -0.10              139         1.522245038 $             (1.55) $         (0.03)
                                               252953             -1.29 19950815        199409           1995    8   15    8/15/1995          426 4.665298                 -1.37                -0.08              139         1.522245038 $             (1.32) $         (0.03)
                                               252953             -1.74 19950815        199503           1995    8   15    8/15/1995          426 4.665298                 -1.85                -0.11              139         1.522245038 $             (1.78) $         (0.04)
                                               252953             -1.14 19950815        199502           1995    8   15    8/15/1995          426 4.665298                 -1.21                -0.07              139         1.522245038 $             (1.16) $         (0.02)
                                               252953             -1.52 19950815        199501           1995    8   15    8/15/1995          426 4.665298                 -1.62                -0.10              139         1.522245038 $             (1.55) $         (0.03)
                                               252953             -1.21 19950815        199412           1995    8   15    8/15/1995          426 4.665298                 -1.29                -0.08              139         1.522245038 $             (1.24) $         (0.03)
                                               252953             -1.36 19950815        199411           1995    8   15    8/15/1995          426 4.665298                 -1.45                -0.09              139         1.522245038 $             (1.39) $         (0.03)
                                               252953              1.94 19950712        199506           1995    7   12    7/12/1995          460 5.037645                  2.08                 0.14              173         1.894592745 $              1.99 $           0.05
                                               252953             91.57 19950712        199505           1995    7   12    7/12/1995          460 5.037645                 98.09                 6.52              173         1.894592745 $            93.97 $            2.40
                                               252953            133.23 19950712        199504           1995    7   12    7/12/1995          460 5.037645               142.72                  9.49              173         1.894592745 $           136.72 $            3.49
                                               252953              13.7 19950620        199505           1995    6   20    6/20/1995          482 5.278576                 14.72                 1.02              195         2.135523614 $            14.11 $            0.41
                                               252953             72.27 19950620        199504           1995    6   20    6/20/1995          482 5.278576                 77.67                 5.40              195         2.135523614 $            74.41 $            2.14
                                               252953            152.53 19950620        199503           1995    6   20    6/20/1995          482 5.278576               163.93                 11.40              195         2.135523614 $           157.04 $            4.51
                                               252953              6.85 19950515        199504           1995    5   15    5/15/1995          518 5.672827                  7.40                 0.55              231         2.529774127 $              7.09 $           0.24
                                               252953            162.57 19950515        199503           1995    5   15    5/15/1995          518 5.672827               175.66                 13.09              231         2.529774127 $           168.28 $            5.71
                                               252953             62.23 19950515        199502           1995    5   15    5/15/1995          518 5.672827                 67.24                 5.01              231         2.529774127 $            64.42 $            2.19
                                               252953            143.27 19950419        199502           1995    4   19    4/19/1995          544 5.957563               155.41                 12.14              257         2.814510609 $           148.88 $            5.61
                                               252953             81.53 19950419        199501           1995    4   19    4/19/1995          544 5.957563                 88.44                 6.91              257         2.814510609 $            84.72 $            3.19
                                               252953             16.28 19950317        199502           1995    3   17    3/17/1995          577 6.31896                  17.75                 1.47              290         3.175906913 $            17.00 $            0.72
                                               252953            208.46 19950317        199501           1995    3   17    3/17/1995          577 6.31896                227.25                 18.79              290         3.175906913 $           217.70 $            9.24
                                               252953             16.34 19950317        199412           1995    3   17    3/17/1995          577 6.31896                  17.81                 1.47              290         3.175906913 $            17.06 $            0.72
                                               252953            202.86 19950217        199412           1995    2   17    2/17/1995          605 6.625599               222.07                 19.21              318         3.482546201 $           212.74 $            9.88
                                               252953             21.95 19950217        199411           1995    2   17    2/17/1995          605 6.625599                 24.03                 2.08              318         3.482546201 $            23.02 $            1.07
                                               252953             224.8 19950118        199411           1995    1   18    1/18/1995          635 6.954141               247.20                 22.40              348         3.811088296 $           236.81 $           12.01
                                               252953            160.02 19941221        199410           1994   12   21 12/21/1994            663 7.26078                176.70                 16.68              376         4.117727584 $           169.28 $            9.26
                                               252953             71.62 19941221        199411           1994   12   21 12/21/1994            663 7.26078                  79.09                 7.47              376         4.117727584 $            75.76 $            4.14
                                               252953            160.68 19941118        199410           1994   11   18 11/18/1994            696 7.622177               178.31                 17.63              409         4.479123888 $           170.82 $           10.14
                                               252953             64.12 19941118        199409           1994   11   18 11/18/1994            696 7.622177                 71.15                 7.03              409         4.479123888 $            68.16 $            4.04
                                               252953            234.88 19941018        199409           1994   10   18 10/18/1994            727 7.96167                261.86                 26.98              440         4.818617385 $           250.86 $           15.98
                                               252953            134.92 19940923        199406           1994    9   23    9/23/1994          752 8.235455               150.98                 16.06              465         5.092402464 $           144.64 $            9.72
                                               252953             96.61 19940923        199405           1994    9   23    9/23/1994          752 8.235455               108.11                 11.50              465         5.092402464 $           103.57 $            6.96
                                               252953            231.53 19940822        199405           1994    8   22    8/22/1994          784    8.5859              260.33                 28.80              497         5.442847365 $           249.40 $           17.87
                                               252953               9.4 19940719        199405           1994    7   19    7/19/1994          818 8.958248                 10.62                 1.22              531         5.815195072 $            10.18 $            0.78
                                               252953            222.12 19940719        199404           1994    7   19    7/19/1994          818 8.958248               251.03                 28.91              531         5.815195072 $           240.48 $           18.36
                                               252953             37.71 19940617        199404           1994    6   17    6/17/1994          850 9.308693                 42.82                 5.11              563         6.165639973 $            41.02 $            3.31
                                               252953            193.83 19940617        199403           1994    6   17    6/17/1994          850 9.308693               220.10                 26.27              563         6.165639973 $           210.86 $           17.03
                                               252953             15.21 19940519        199404           1994    5   19    5/19/1994          879 9.626283                 17.35                 2.14              592         6.483230664 $            16.62 $            1.41
                                               252953            182.94 19940519        199403           1994    5   19    5/19/1994          879 9.626283               208.64                 25.70              592         6.483230664 $           199.88 $           16.94
                                               252953             48.59 19940519        199402           1994    5   19    5/19/1994          879 9.626283                 55.42                 6.83              592         6.483230664 $            53.09 $            4.50
                                               252953            206.36 19940418        199402           1994    4   18    4/18/1994          910 9.965777               236.45                 30.09              623         6.822724162 $           226.51 $           20.15
                                               252953             25.17 19940418        199401           1994    4   18    4/18/1994          910 9.965777                 28.84                 3.67              623         6.822724162 $            27.63 $            2.46
                                               252953              16.5 19940322        199402           1994    3   22    3/22/1994          937 10.26146                 18.98                 2.48              650         7.118412047 $            18.18 $            1.68
                                               252953            231.53 19940322        199401           1994    3   22    3/22/1994          937 10.26146               266.36                 34.83              650         7.118412047 $           255.17 $           23.64
                                               252953             11.67 19940228        199401           1994    2   28    2/28/1994          959 10.5024                  13.47                 1.80              672         7.359342916 $            12.90 $            1.23
                                               252953            238.34 19940228        199312           1994    2   28    2/28/1994          959 10.5024                275.10                 36.76              672         7.359342916 $           263.54 $           25.20
                                               252953            -24.15 19940228        199311           1994    2   28    2/28/1994          959 10.5024                 -27.87                -3.72              672         7.359342916 $           (26.70) $          (2.55)
                                               252953              2.98 19940228        199310           1994    2   28    2/28/1994          959 10.5024                   3.44                 0.46              672         7.359342916 $              3.30 $           0.32
                    Case 3:15-cv-05367-BHS                        Document 190               Filed 03/14/25    Page 81 of 90


252953     2.69 19940228   199309   1994    2   28    2/28/1994    959    10.5024     3.10     0.41      672   7.359342916 $     2.97   $    0.28
252953    20.45 19940118   199312   1994    1   18    1/18/1994   1000    10.9514    23.75     3.30      713   7.808350445 $    22.75   $    2.30
252953   226.87 19940118   199311   1994    1   18    1/18/1994   1000    10.9514   263.47    36.60      713   7.808350445 $   252.40   $   25.53
252953    64.58 19931220   199311   1993   12   20   12/20/1993   1029   11.26899    75.32    10.74      742   8.125941136 $    72.16   $    7.58
252953   166.95 19931220   199310   1993   12   20   12/20/1993   1029   11.26899   194.72    27.77      742   8.125941136 $   186.54   $   19.59
252953   155.32 19931119   199310   1993   11   19   11/19/1993   1060   11.60849   182.00    26.68      773   8.465434634 $   174.36   $   19.04
252953    76.21 19931119   199309   1993   11   19   11/19/1993   1060   11.60849    89.30    13.09      773   8.465434634 $    85.55   $    9.34
252953   236.57 19931026   199309   1993   10   26   10/26/1993   1084   11.87132   278.21    41.64      797   8.728268309 $   266.52   $   29.95
252953   186.77 19930924   199306   1993    9   24    9/24/1993   1116   12.22177   220.70    33.93      829    9.07871321 $   211.42   $   24.65
252953    57.38 19930924   199305   1993    9   24    9/24/1993   1116   12.22177    67.80    10.42      829    9.07871321 $    64.95   $    7.57
252953   244.13 19930823   199305   1993    8   23    8/23/1993   1148   12.57221   289.86    45.73      861   9.429158111 $   277.68   $   33.55
252953   239.56 19930724   199304   1993    7   24    7/24/1993   1178   12.90075   285.71    46.15      891   9.757700205 $   273.71   $   34.15
252953     4.59 19930724   199305   1993    7   24    7/24/1993   1178   12.90075     5.47     0.88      891   9.757700205 $     5.24   $    0.65
252953    223.5 19930624   199303   1993    6   24    6/24/1993   1208    13.2293   267.76    44.26      921    10.0862423 $   256.51   $   33.01
252953    12.45 19930624   199305   1993    6   24    6/24/1993   1208    13.2293    14.92     2.47      921    10.0862423 $    14.29   $    1.84
252953    20.63 19930624   199304   1993    6   24    6/24/1993   1208    13.2293    24.71     4.08      921    10.0862423 $    23.68   $    3.05
252953   131.67 19930518   199303   1993    5   18    5/18/1993   1245    13.6345   158.62    26.95      958   10.49144422 $   151.95   $   20.28
252953   112.47 19930518   199302   1993    5   18    5/18/1993   1245    13.6345   135.49    23.02      958   10.49144422 $   129.80   $   17.33
252953   168.95 19930419   199302   1993    4   19    4/19/1993   1274   13.95209   204.41    35.46      987   10.80903491 $   195.82   $   26.87
252953    75.19 19930419   199301   1993    4   19    4/19/1993   1274   13.95209    90.97    15.78      987   10.80903491 $    87.15   $   11.96
252953    18.55 19930322   199302   1993    3   22    3/22/1993   1302   14.25873    22.54     3.99     1015    11.1156742 $    21.59   $    3.04
252953   212.45 19930322   199301   1993    3   22    3/22/1993   1302   14.25873   258.12    45.67     1015    11.1156742 $   247.28   $   34.83
252953     5.54 19930322   199212   1993    3   22    3/22/1993   1302   14.25873     6.73     1.19     1015    11.1156742 $     6.45   $    0.91
252953    12.45 19930224   199301   1993    2   24    2/24/1993   1328   14.54346    15.19     2.74     1041   11.40041068 $    14.55   $    2.10
252953   217.99 19930224   199212   1993    2   24    2/24/1993   1328   14.54346   265.88    47.89     1041   11.40041068 $   254.71   $   36.72
252953     1.85 19921200   199212   1992   12    0   11/30/1992   1414   15.48528     2.29     0.44     1127   12.34223135 $     2.19   $    0.34
252953   216.13 19921200   199211   1992   12    0   11/30/1992   1414   15.48528   267.03    50.90     1127   12.34223135 $   255.81   $   39.68
252953    64.78 19921100   199211   1992   11    0   10/31/1992   1444   15.81383    80.40    15.62     1157   12.67077344 $    77.02   $   12.24
252953   153.21 19921100   199210   1992   11    0   10/31/1992   1444   15.81383   190.14    36.93     1157   12.67077344 $   182.15   $   28.94
252953   151.54 19921000   199210   1992   10    0    9/30/1992   1475   16.15332   188.94    37.40     1188   13.01026694 $   181.00   $   29.46
252953    66.45 19921000   199209   1992   10    0    9/30/1992   1475   16.15332    82.85    16.40     1188   13.01026694 $    79.37   $   12.92
252953   187.25 19920928   199206   1992    9   28    9/28/1992   1477   16.17522   233.54    46.29     1190   13.03216975 $   223.72   $   36.47
252953     8.04 19920928   199205   1992    9   28    9/28/1992   1477   16.17522    10.03     1.99     1190   13.03216975 $     9.61   $    1.57
252953   217.98 19920900   199209   1992    9    0    8/31/1992   1505   16.48186   273.00    55.02     1218   13.33880903 $   261.53   $   43.55
252953    195.3 19920831   199205   1992    8   31    8/31/1992   1505   16.48186   244.60    49.30     1218   13.33880903 $   234.32   $   39.02
252953     11.7 19920700   199207   1992    7    0    6/30/1992   1567   17.16085    14.79     3.09     1280   14.01779603 $    14.17   $    2.47
252953     1.88 19920600   199206   1992    6    0    5/31/1992   1597   17.48939     2.39     0.51     1310   14.34633812 $     2.29   $    0.41
252953    30.73 19920600   199205   1992    6    0    5/31/1992   1597   17.48939    39.02     8.29     1310   14.34633812 $    37.38   $    6.65
252953   164.57 19920600   199204   1992    6    0    5/31/1992   1597   17.48939   208.97    44.40     1310   14.34633812 $   200.19   $   35.62
252953     11.7 19920500   199205   1992    5    0    4/30/1992   1628   17.82888    14.93     3.23     1341   14.68583162 $    14.30   $    2.60
252953    34.39 19920500   199204   1992    5    0    4/30/1992   1628   17.82888    43.87     9.48     1341   14.68583162 $    42.03   $    7.64
252953   160.91 19920500   199203   1992    5    0    4/30/1992   1628   17.82888   205.27    44.36     1341   14.68583162 $   196.64   $   35.73
252953    96.57 19920400   199203   1992    4    0    3/31/1992   1658   18.15743   123.75    27.18     1371   15.01437372 $   118.55   $   21.98
252953    98.73 19920400   199202   1992    4    0    3/31/1992   1658   18.15743   126.51    27.78     1371   15.01437372 $   121.20   $   22.47
252953     6.48 19920300   199203   1992    3    0    2/29/1992   1689   18.49692     8.34     1.86     1402   15.35386721 $     7.99   $    1.51
252953   165.95 19920300   199202   1992    3    0    2/29/1992   1689   18.49692   213.64    47.69     1402   15.35386721 $   204.66   $   38.71
252953    29.35 19920300   199201   1992    3    0    2/29/1992   1689   18.49692    37.78     8.43     1402   15.35386721 $    36.20   $    6.85
252953    19.43 19920200   199202   1992    2    0    1/31/1992   1718   18.81451    25.12     5.69     1431   15.67145791 $    24.07   $    4.64
252953   195.29 19920200   199201   1992    2    0    1/31/1992   1718   18.81451   252.50    57.21     1431   15.67145791 $   241.89   $   46.60
252953    53.86 19920100   199201   1992    1    0   12/31/1991   1749     19.154    69.96    16.10     1462    16.0109514 $    67.02   $   13.16
252953   151.39 19920100   199112   1992    1    0   12/31/1991   1749     19.154   196.65    45.26     1462    16.0109514 $   188.39   $   37.00
252953    79.53 19911200   199112   1991   12    0   11/30/1991   1780    19.4935   103.79    24.26     1493    16.3504449 $    99.43   $   19.90
252953    129.5 19911200   199111   1991   12    0   11/30/1991   1780    19.4935   169.00    39.50     1493    16.3504449 $   161.90   $   32.40
252953   152.13 19911100   199111   1991   11    0   10/31/1991   1810   19.82204   199.42    47.29     1523     16.678987 $   191.05   $   38.92
252953    69.43 19911100   199110   1991   11    0   10/31/1991   1810   19.82204    91.01    21.58     1523     16.678987 $    87.19   $   17.76
252953   222.76 19911000   199110   1991   10    0    9/30/1991   1841   20.16153   293.37    70.61     1554   17.01848049 $   281.04   $   58.28
252953    19.92 19911000   199109   1991   10    0    9/30/1991   1841   20.16153    26.23     6.31     1554   17.01848049 $    25.13   $    5.21
252953     50.1 19910900   199110   1991    9    0    8/31/1991   1871   20.49008    66.28    16.18     1584   17.34702259 $    63.49   $   13.39
252953   200.42 19910900   199109   1991    9    0    8/31/1991   1871   20.49008   265.13    64.71     1584   17.34702259 $   253.99   $   53.57
252953   141.22 19910800   199106   1991    8    0    7/31/1991   1902   20.82957   187.69    46.47     1615   17.68651608 $   179.80   $   38.58
252953    32.18 19910800   199105   1991    8    0    7/31/1991   1902   20.82957    42.77    10.59     1615   17.68651608 $    40.97   $    8.79
252953    23.06 19910700   199107   1991    7    0    6/30/1991   1933   21.16906    30.79     7.73     1646   18.02600958 $    29.50   $    6.44
252953   173.39 19910700   199105   1991    7    0    6/30/1991   1933   21.16906   231.51    58.12     1646   18.02600958 $   221.79   $   48.40
252953     8.48 19910600   199106   1991    6    0    5/31/1991   1963    21.4976    11.37     2.89     1676   18.35455168 $    10.90   $    2.42
252953    22.55 19910600   199105   1991    6    0    5/31/1991   1963    21.4976    30.24     7.69     1676   18.35455168 $    28.97   $    6.42
252953   150.85 19910600   199104   1991    6    0    5/31/1991   1963    21.4976   202.32    51.47     1676   18.35455168 $   193.82   $   42.97
252953    33.82 19910500   199104   1991    5    0    4/30/1991   1994    21.8371    45.57    11.75     1707   18.69404517 $    43.66   $    9.84
252953   139.58 19910500   199103   1991    5    0    4/30/1991   1994    21.8371   188.08    48.50     1707   18.69404517 $   180.18   $   40.60
252953     3.66 19910400   199104   1991    4    0    3/31/1991   2024   22.16564     4.95     1.29     1737   19.02258727 $     4.75   $    1.09
252953    77.68 19910400   199103   1991    4    0    3/31/1991   2024   22.16564   105.14    27.46     1737   19.02258727 $   100.72   $   23.04
252953    95.71 19910400   199102   1991    4    0    3/31/1991   2024   22.16564   129.54    33.83     1737   19.02258727 $   124.10   $   28.39
252953   129.26 19910300   199102   1991    3    0    2/28/1991   2055   22.50513   175.77    46.51     1768   19.36208077 $   168.38   $   39.12
252953    44.13 19910300   199101   1991    3    0    2/28/1991   2055   22.50513    60.01    15.88     1768   19.36208077 $    57.49   $   13.36
252953     5.43 19910300   199103   1991    3    0    2/28/1991   2055   22.50513     7.38     1.95     1768   19.36208077 $     7.07   $    1.64
252953    33.01 19910200   199102   1991    2    0    1/31/1991   2083   22.81177    45.08    12.07     1796   19.66872005 $    43.18   $   10.17
252953   168.51 19910200   199101   1991    2    0    1/31/1991   2083   22.81177   230.10    61.59     1796   19.66872005 $   220.43   $   51.92
252953     4.88 19910200   199012   1991    2    0    1/31/1991   2083   22.81177     6.66     1.78     1796   19.66872005 $     6.38   $    1.50
252953    173.4 19910100   199012   1991    1    0   12/31/1990   2114   23.15127   237.88    64.48     1827   20.00821355 $   227.88   $   54.48
252953     6.88 19901200   199012   1990   12    0   11/30/1990   2145   23.49076     9.48     2.60     1858   20.34770705 $     9.08   $    2.20
252953   167.26 19901200   199011   1990   12    0   11/30/1990   2145   23.49076   230.52    63.26     1858   20.34770705 $   220.84   $   53.58
252953    64.16 19901100   199011   1990   11    0   10/31/1990   2175    23.8193    88.82    24.66     1888   20.67624914 $    85.09   $   20.93
252953    119.5 19901100   199010   1990   11    0   10/31/1990   2175    23.8193   165.44    45.94     1888   20.67624914 $   158.49   $   38.99
                    Case 3:15-cv-05367-BHS                       Document 190               Filed 03/14/25    Page 82 of 90


252953   121.78 19901000   199010   1990   10   0    9/30/1990   2206    24.1588   169.38    47.60     1919   21.01574264 $   162.26 $    40.48
252953    43.46 19901000   199009   1990   10   0    9/30/1990   2206    24.1588    60.45    16.99     1919   21.01574264 $    57.91 $    14.45
252953    222.3 19900900   199009   1990    9   0    8/31/1990   2236   24.48734   310.58    88.28     1949   21.34428474 $   297.53 $    75.23
252953     0.02 19900800   199008   1990    8   0    7/31/1990   2267   24.82683     0.03     0.01     1980   21.68377823 $     0.03 $     0.01
252953   107.78 19900800   199006   1990    8   0    7/31/1990   2267   24.82683   151.28    43.50     1980   21.68377823 $   144.92 $    37.14
252953    53.38 19900800   199005   1990    8   0    7/31/1990   2267   24.82683    74.92    21.54     1980   21.68377823 $    71.78 $    18.40
252953     4.97 19900700   199007   1990    7   0    6/30/1990   2298   25.16632     7.01     2.04     2011   22.02327173 $     6.71 $     1.74
252953   161.18 19900700   199005   1990    7   0    6/30/1990   2298   25.16632   227.28    66.10     2011   22.02327173 $   217.74 $    56.56
252953     9.95 19900600   199006   1990    6   0    5/31/1990   2328   25.49487    14.09     4.14     2041   22.35181383 $    13.50 $     3.55
252953    22.57 19900600   199005   1990    6   0    5/31/1990   2328   25.49487    31.97     9.40     2041   22.35181383 $    30.63 $     8.06
252953   138.61 19900600   199004   1990    6   0    5/31/1990   2328   25.49487   196.34    57.73     2041   22.35181383 $   188.09 $    49.48
252953    13.89 19900500   199005   1990    5   0    4/30/1990   2359   25.83436    19.77     5.88     2072   22.69130732 $    18.94 $     5.05
252953    33.85 19900500   199004   1990    5   0    4/30/1990   2359   25.83436    48.17    14.32     2072   22.69130732 $    46.15 $    12.30
252953   127.33 19900500   199003   1990    5   0    4/30/1990   2359   25.83436   181.20    53.87     2072   22.69130732 $   173.58 $    46.25
252953    109.8 19900400   199003   1990    4   0    3/31/1990   2389    26.1629   156.95    47.15     2102   23.01984942 $   150.36 $    40.56
252953    51.38 19900400   199002   1990    4   0    3/31/1990   2389    26.1629    73.45    22.07     2102   23.01984942 $    70.36 $    18.98
252953   139.93 19900300   199002   1990    3   0    2/28/1990   2420    26.5024   200.95    61.02     2133   23.35934292 $   192.51 $    52.58
252953    21.25 19900300   199001   1990    3   0    2/28/1990   2420    26.5024    30.52     9.27     2133   23.35934292 $    29.23 $     7.98
252953   159.43 19900200   199001   1990    2   0    1/31/1990   2448   26.80903   229.92    70.49     2161    23.6659822 $   220.26 $    60.83
252953    21.26 19900100   199001   1990    1   0   12/31/1989   2479   27.14853    30.80     9.54     2192    24.0054757 $    29.51 $     8.25
252953   138.17 19900100   198912   1990    1   0   12/31/1989   2479   27.14853   200.18    62.01     2192    24.0054757 $   191.77 $    53.60
252953    21.26 19891200   198912   1989   12   0   11/30/1989   2510   27.48802    30.95     9.69     2223    24.3449692 $    29.64 $     8.38
252953   138.17 19891200   198911   1989   12   0   11/30/1989   2510   27.48802   201.11    62.94     2223    24.3449692 $   192.66 $    54.49
252953    53.14 19891100   198911   1989   11   0   10/31/1989   2540   27.81656    77.70    24.56     2253   24.67351129 $    74.43 $    21.29
252953     9.95 19891100   198911   1989   11   0   10/31/1989   2540   27.81656    14.55     4.60     2253   24.67351129 $    13.94 $     3.99
252953   106.29 19891100   198910   1989   11   0   10/31/1989   2540   27.81656   155.41    49.12     2253   24.67351129 $   148.88 $    42.59
252953   116.91 19891000   198910   1989   10   0    9/30/1989   2571   28.15606   171.73    54.82     2284   25.01300479 $   164.51 $    47.60
252953    -9.95 19891000   198910   1989   10   0    9/30/1989   2571   28.15606   -14.62    -4.67     2284   25.01300479 $   (14.00) $   (4.05)
252953    44.56 19891000   198909   1989   10   0    9/30/1989   2571   28.15606    65.45    20.89     2284   25.01300479 $    62.70 $    18.14
252953   157.38 19890900   198909   1989    9   0    8/31/1989   2601    28.4846   232.21    74.83     2314   25.34154689 $   222.46 $    65.08
252953    19.89 19890900   198909   1989    9   0    8/31/1989   2601    28.4846    29.35     9.46     2314   25.34154689 $    28.11 $     8.22
252953    71.56 19890800   198906   1989    8   0    7/31/1989   2632   28.82409   106.08    34.52     2345   25.68104038 $   101.62 $    30.06
252953       82 19890800   198905   1989    8   0    7/31/1989   2632   28.82409   121.55    39.55     2345   25.68104038 $   116.45 $    34.45
252953     6.71 19890700   198907   1989    7   0    6/30/1989   2663   29.16359     9.99     3.28     2376   26.02053388 $     9.57 $     2.86
252953   142.89 19890700   198905   1989    7   0    6/30/1989   2663   29.16359   212.80    69.91     2376   26.02053388 $   203.86 $    60.97
252953    10.64 19890700   198904   1989    7   0    6/30/1989   2663   29.16359    15.85     5.21     2376   26.02053388 $    15.18 $     4.54
252953     9.61 19890600   198906   1989    6   0    5/31/1989   2693   29.49213    14.38     4.77     2406   26.34907598 $    13.77 $     4.16
252953   142.69 19890600   198904   1989    6   0    5/31/1989   2693   29.49213   213.46    70.77     2406   26.34907598 $   204.49 $    61.80
252953    10.84 19890600   198903   1989    6   0    5/31/1989   2693   29.49213    16.22     5.38     2406   26.34907598 $    15.53 $     4.69
252953    14.41 19890500   198905   1989    5   0    4/30/1989   2724   29.83162    21.66     7.25     2437   26.68856947 $    20.75 $     6.34
252953   153.53 19890500   198903   1989    5   0    4/30/1989   2724   29.83162   230.74    77.21     2437   26.68856947 $   221.04 $    67.51
252953     6.15 19890400   198904   1989    4   0    3/31/1989   2754   30.16016     9.28     3.13     2467   27.01711157 $     8.89 $     2.74
252953    60.52 19890400   198903   1989    4   0    3/31/1989   2754   30.16016    91.36    30.84     2467   27.01711157 $    87.53 $    27.01
252953    93.01 19890400   198902   1989    4   0    3/31/1989   2754   30.16016   140.41    47.40     2467   27.01711157 $   134.51 $    41.50
252953    90.99 19890300   198902   1989    3   0    2/28/1989   2785   30.49966   138.00    47.01     2498   27.35660507 $   132.20 $    41.21
252953    62.54 19890300   198901   1989    3   0    2/28/1989   2785   30.49966    94.85    32.31     2498   27.35660507 $    90.87 $    28.33
252953      4.8 19890200   198902   1989    2   0    1/31/1989   2813    30.8063     7.31     2.51     2526   27.66324435 $     7.00 $     2.20
252953    141.9 19890200   198901   1989    2   0    1/31/1989   2813    30.8063   216.12    74.22     2526   27.66324435 $   207.04 $    65.14
252953    11.63 19890200   198812   1989    2   0    1/31/1989   2813    30.8063    17.71     6.08     2526   27.66324435 $    16.97 $     5.34
252953    141.7 19890100   198812   1989    1   0   12/31/1988   2844   31.14579   216.82    75.12     2557   28.00273785 $   207.71 $    66.01
252953    11.83 19890100   198811   1989    1   0   12/31/1988   2844   31.14579    18.10     6.27     2557   28.00273785 $    17.34 $     5.51
252953   153.53 19881200   198811   1988   12   0   11/30/1988   2875   31.48528   236.01    82.48     2588   28.34223135 $   226.09 $    72.56
252953     2.27 19881107   000000   1988   11   7    11/7/1988   2898   31.73717     3.50     1.23     2611   28.59411362 $     3.35 $     1.08
252953    28.86 19881100   198811   1988   11   0   10/31/1988   2905   31.81383    44.56    15.70     2618   28.67077344 $    42.69 $    13.83
252953     9.61 19881100   198811   1988   11   0   10/31/1988   2905   31.81383    14.84     5.23     2618   28.67077344 $    14.22 $     4.61
252953   124.67 19881100   198810   1988   11   0   10/31/1988   2905   31.81383   192.51    67.84     2618   28.67077344 $   184.42 $    59.75
252953    89.99 19881000   198810   1988   10   0    9/30/1988   2936   32.15332   139.60    49.61     2649   29.01026694 $   133.74 $    43.75
252953    63.54 19881000   198809   1988   10   0    9/30/1988   2936   32.15332    98.57    35.03     2649   29.01026694 $    94.43 $    30.89
252953   151.12 19880900   198809   1988    9   0    8/31/1988   2966   32.48186   235.49    84.37     2679   29.33880903 $   225.59 $    74.47
252953     9.61 19880900   198809   1988    9   0    8/31/1988   2966   32.48186    14.98     5.37     2679   29.33880903 $    14.35 $     4.74
252953    77.81 19880800   198806   1988    8   0    7/31/1988   2997   32.82136   121.81    44.00     2710   29.67830253 $   116.70 $    38.89
252953    55.77 19880800   198805   1988    8   0    7/31/1988   2997   32.82136    87.31    31.54     2710   29.67830253 $    83.64 $    27.87
252953   115.43 19880700   198805   1988    7   0    6/30/1988   3028   33.16085   181.55    66.12     2741   30.01779603 $   173.92 $    58.49
252953    18.15 19880700   198804   1988    7   0    6/30/1988   3028   33.16085    28.55    10.40     2741   30.01779603 $    27.35 $     9.20
252953    25.84 19880600   198806   1988    6   0    5/31/1988   3058   33.48939    40.82    14.98     2771   30.34633812 $    39.11 $    13.27
252953   133.58 19880600   198804   1988    6   0    5/31/1988   3058   33.48939   211.04    77.46     2771   30.34633812 $   202.17 $    68.59
252953    11.68 19880500   198804   1988    5   0    4/30/1988   3089   33.82888    18.54     6.86     2802   30.68583162 $    17.76 $     6.08
252953   121.91 19880500   198803   1988    5   0    4/30/1988   3089   33.82888   193.50    71.59     2802   30.68583162 $   185.37 $    63.46
252953    57.07 19880400   198803   1988    4   0    3/31/1988   3119   34.15743    90.99    33.92     2832   31.01437372 $    87.17 $    30.10
252953    76.51 19880400   198802   1988    4   0    3/31/1988   3119   34.15743   121.98    45.47     2832   31.01437372 $   116.86 $    40.35
252953     1.08 19880300   198803   1988    3   0    2/29/1988   3150   34.49692     1.73     0.65     2863   31.35386721 $     1.66 $     0.58
252953     86.9 19880300   198802   1988    3   0    2/29/1988   3150   34.49692   139.19    52.29     2863   31.35386721 $   133.34 $    46.44
252953    46.69 19880300   198801   1988    3   0    2/29/1988   3150   34.49692    74.79    28.10     2863   31.35386721 $    71.64 $    24.95
252953     2.69 19880200   198802   1988    2   0    1/31/1988   3179   34.81451     4.33     1.64     2892   31.67145791 $     4.15 $     1.46
252953   116.72 19880200   198801   1988    2   0    1/31/1988   3179   34.81451   187.77    71.05     2892   31.67145791 $   179.88 $    63.16
252953    16.86 19880200   198712   1988    2   0    1/31/1988   3179   34.81451    27.12    10.26     2892   31.67145791 $    25.98 $     9.12
252953     4.24 19880100   198801   1988    1   0   12/31/1987   3210     35.154     6.85     2.61     2923    32.0109514 $     6.56 $     2.32
252953   133.59 19880100   198712   1988    1   0   12/31/1987   3210     35.154   215.91    82.32     2923    32.0109514 $   206.84 $    73.25
252953    28.53 19871200   198712   1987   12   0   11/30/1987   3241    35.4935    46.32    17.79     2954    32.3504449 $    44.38 $    15.85
252953   105.06 19871200   198711   1987   12   0   11/30/1987   3241    35.4935   170.59    65.53     2954    32.3504449 $   163.42 $    58.36
252953    58.35 19871100   198711   1987   11   0   10/31/1987   3271   35.82204    95.17    36.82     2984     32.678987 $    91.17 $    32.82
252953    75.27 19871100   198710   1987   11   0   10/31/1987   3271   35.82204   122.77    47.50     2984     32.678987 $   117.61 $    42.34
                    Case 3:15-cv-05367-BHS                        Document 190               Filed 03/14/25    Page 83 of 90


252953     0.09 19871100   198709   1987   11    0   10/31/1987   3271   35.82204     0.15     0.06     2984     32.678987 $     0.14 $     0.05
252953     8.48 19871000   198710   1987   10    0    9/30/1987   3302   36.16153    13.90     5.42     3015   33.01848049 $    13.31 $     4.83
252953    95.93 19871000   198710   1987   10    0    9/30/1987   3302   36.16153   157.19    61.26     3015   33.01848049 $   150.59 $    54.66
252953    37.59 19871000   198709   1987   10    0    9/30/1987   3302   36.16153    61.59    24.00     3015   33.01848049 $    59.01 $    21.42
252953   133.52 19870900   198709   1987    9    0    8/31/1987   3332   36.49008   219.77    86.25     3045   33.34702259 $   210.53 $    77.01
252953     8.48 19870900   198709   1987    9    0    8/31/1987   3332   36.49008    13.96     5.48     3045   33.34702259 $    13.37 $     4.89
252953    80.29 19870800   198706   1987    8    0    7/31/1987   3363   36.82957   132.77    52.48     3076   33.68651608 $   127.19 $    46.90
252953    42.16 19870800   198705   1987    8    0    7/31/1987   3363   36.82957    69.72    27.56     3076   33.68651608 $    66.79 $    24.63
252953     4.02 19870700   198704   1987    7    0    6/30/1987   3394   37.16906     6.68     2.66     3107   34.02600958 $     6.40 $     2.38
252953   118.43 19870700   198705   1987    7    0    6/30/1987   3394   37.16906   196.75    78.32     3107   34.02600958 $   188.48 $    70.05
252953   122.45 19870600   198704   1987    6    0    5/31/1987   3424    37.4976   204.34    81.89     3137   34.35455168 $   195.75 $    73.30
252953   122.45 19870505   198612   1987    5    5     5/5/1987   3450   37.78234   205.14    82.69     3163   34.63928816 $   196.52 $    74.07
252953     26.1 19870500   198704   1987    5    0    4/30/1987   3455    37.8371    43.76    17.66     3168   34.69404517 $    41.92 $    15.82
252953    96.35 19870500   198703   1987    5    0    4/30/1987   3455    37.8371   161.53    65.18     3168   34.69404517 $   154.75 $    58.40
252953   125.26 19870423   198611   1987    4   23    4/23/1987   3462   37.91376   210.22    84.96     3175     34.770705 $   201.39 $    76.13
252953    64.24 19870400   198703   1987    4    0    3/31/1987   3485   38.16564   108.18    43.94     3198   35.02258727 $   103.64 $    39.40
252953    58.21 19870400   198702   1987    4    0    3/31/1987   3485   38.16564    98.03    39.82     3198   35.02258727 $    93.91 $    35.70
252953   124.47 19870318   198610   1987    3   18    3/18/1987   3498   38.30801   210.02    85.55     3211   35.16495551 $   201.20 $    76.73
252953    94.36 19870300   198702   1987    3    0    2/28/1987   3516   38.50513   159.65    65.29     3229   35.36208077 $   152.94 $    58.58
252953    28.09 19870300   198701   1987    3    0    2/28/1987   3516   38.50513    47.52    19.43     3229   35.36208077 $    45.53 $    17.44
252953     2.81 19870300   198611   1987    3    0    2/28/1987   3516   38.50513     4.75     1.94     3229   35.36208077 $     4.55 $     1.74
252953     2.02 19870300   198610   1987    3    0    2/28/1987   3516   38.50513     3.42     1.40     3229   35.36208077 $     3.27 $     1.25
252953    -4.82 19870300   198609   1987    3    0    2/28/1987   3516   38.50513    -8.15    -3.33     3229   35.36208077 $    (7.81) $   (2.99)
252953   124.84 19870219   198609   1987    2   19    2/19/1987   3525    38.6037   211.50    86.66     3238   35.46064339 $   202.61 $    77.77
252953     3.89 19870200   198702   1987    2    0    1/31/1987   3544   38.81177     6.61     2.72     3257   35.66872005 $     6.33 $     2.44
252953   122.45 19870200   198701   1987    2    0    1/31/1987   3544   38.81177   208.04    85.59     3257   35.66872005 $   199.30 $    76.85
252953     2.03 19870100   198701   1987    1    0   12/31/1986   3575   39.15127     3.46     1.43     3288   36.00821355 $     3.32 $     1.29
252953    -2.01 19870100   198612   1987    1    0   12/31/1986   3575   39.15127    -3.43    -1.42     3288   36.00821355 $    (3.29) $   (1.28)
252953    14.05 19870100   198611   1987    1    0   12/31/1986   3575   39.15127    23.98     9.93     3288   36.00821355 $    22.97 $     8.92
252953    62.22 19870100   198610   1987    1    0   12/31/1986   3575   39.15127   106.20    43.98     3288   36.00821355 $   101.74 $    39.52
252953    46.16 19870100   198609   1987    1    0   12/31/1986   3575   39.15127    78.79    32.63     3288   36.00821355 $    75.48 $    29.32
252953   109.91 19861024   198608   1986   10   24   10/24/1986   3643   39.89596   189.52    79.61     3356   36.75290897 $   181.56 $    71.65
252953   109.91 19860911   198607   1986    9   11    9/11/1986   3686   40.36687   190.74    80.83     3399    37.2238193 $   182.73 $    72.82
252953   109.91 19860805   198606   1986    8    5     8/5/1986   3723   40.77207   191.80    81.89     3436   37.62902122 $   183.74 $    73.83
252953   115.56 19860710   198605   1986    7   10    7/10/1986   3749   41.05681   202.45    86.89     3462    37.9137577 $   193.94 $    78.38
252953   109.52 19860612   198604   1986    6   12    6/12/1986   3777   41.36345   192.67    83.15     3490   38.22039699 $   184.58 $    75.06
252953   109.52 19860519   198603   1986    5   19    5/19/1986   3801   41.62628   193.36    83.84     3514   38.48323066 $   185.24 $    75.72
252953   113.11 19860429   198602   1986    4   29    4/29/1986   3821   41.84531   200.30    87.19     3534   38.70225873 $   191.88 $    78.77
252953   109.52 19860408   198601   1986    4    8     4/8/1986   3842   42.07529   194.55    85.03     3555   38.93223819 $   186.38 $    76.86
252953   109.52 19860314   198512   1986    3   14    3/14/1986   3867   42.34908   195.28    85.76     3580   39.20602327 $   187.08 $    77.56
252953   109.52 19860220   198511   1986    2   20    2/20/1986   3889   42.59001   195.92    86.40     3602   39.44695414 $   187.69 $    78.17
252953   115.15 19860110   198510   1986    1   10    1/10/1986   3930   43.03901   207.26    92.11     3643   39.89596167 $   198.56 $    83.41
252953   110.58 19851127   198509   1985   11   27   11/27/1985   3974   43.52088   200.35    89.77     3687   40.37782341 $   191.93 $    81.35
252953    97.82 19851028   198508   1985   10   28   10/28/1985   4004   43.84942   178.03    80.21     3717    40.7063655 $   170.55 $    72.73
252953    97.82 19850918   198507   1985    9   18    9/18/1985   4044   44.28747   179.10    81.28     3757   41.14442163 $   171.57 $    73.75
252953    98.64 19850823   198506   1985    8   23    8/23/1985   4070   44.57221   181.30    82.66     3783   41.42915811 $   173.69 $    75.05
252953    97.82 19850731   198505   1985    7   31    7/31/1985   4093   44.82409   180.42    82.60     3806   41.68104038 $   172.84 $    75.02
252953    97.82 19850626   198504   1985    6   26    6/26/1985   4128   45.20739   181.36    83.54     3841   42.06433949 $   173.74 $    75.92
252953    97.82 19850604   198503   1985    6    4     6/4/1985   4150   45.44832   181.96    84.14     3863   42.30527036 $   174.31 $    76.49
252953    97.82 19850509   198502   1985    5    9     5/9/1985   4176   45.73306   182.67    84.85     3889   42.59000684 $   174.99 $    77.17
252953    97.82 19850417   198501   1985    4   17    4/17/1985   4198   45.97399   183.27    85.45     3911   42.83093771 $   175.57 $    77.75
252953    91.11 19850325   198412   1985    3   25    3/25/1985   4221   46.22587   171.29    80.18     3934   43.08281999 $   164.09 $    72.98
252953    91.11 19850225   198411   1985    2   25    2/25/1985   4249   46.53251   172.01    80.90     3962   43.38945927 $   164.78 $    73.67
252953    97.24 19850110   198410   1985    1   10    1/10/1985   4295   47.03628   184.85    87.61     4008   43.89322382 $   177.08 $    79.84
252953   104.89 19841128   198409   1984   11   28   11/28/1984   4338   47.50719   200.67    95.78     4051   44.36413415 $   192.24 $    87.35
252953    93.88 19841018   198408   1984   10   18   10/18/1984   4379   47.95619   180.72    86.84     4092   44.81314168 $   173.12 $    79.24
252953    86.76 19840918   198407   1984    9   18    9/18/1984   4409   48.28474   167.76    81.00     4122   45.14168378 $   160.71 $    73.95
252953    86.76 19840809   198406   1984    8    9     8/9/1984   4449   48.72279   168.77    82.01     4162    45.5797399 $   161.68 $    74.92
252953    86.76 19840705   198405   1984    7    5     7/5/1984   4484   49.10609   169.65    82.89     4197   45.96303901 $   162.53 $    75.77
252953    86.76 19840613   198404   1984    6   13    6/13/1984   4506   49.34702   170.21    83.45     4219   46.20396988 $   163.06 $    76.30
252953    86.76 19840516   198403   1984    5   16    5/16/1984   4534   49.65366   170.93    84.17     4247   46.51060917 $   163.74 $    76.98
252953    89.33 19840502   198402   1984    5    2     5/2/1984   4548   49.80698   176.36    87.03     4261   46.66392882 $   168.95 $    79.62
252953    86.24 19840327   198401   1984    3   27    3/27/1984   4584   50.20123   171.18    84.94     4297   47.05817933 $   163.99 $    77.75
252953    86.24 19840228   198312   1984    2   28    2/28/1984   4612   50.50787   171.90    85.66     4325   47.36481862 $   164.67 $    78.43
252953    86.24 19840207   198311   1984    2    7     2/7/1984   4633   50.73785   172.44    86.20     4346   47.59479808 $   165.19 $    78.95
252953    86.24 19840110   198310   1984    1   10    1/10/1984   4661   51.04449   173.16    86.92     4374   47.90143737 $   165.88 $    79.64
252953    86.24 19831201   198309   1983   12    1    12/1/1983   4701   51.48255   174.20    87.96     4414    48.3394935 $   166.88 $    80.64
252953    83.28 19831011   198308   1983   10   11   10/11/1983   4752   52.04107   169.51    86.23     4465   48.89801506 $   162.39 $    79.11
252953    83.28 19830902   198307   1983    9    2     9/2/1983   4791   52.46817   170.50    87.22     4504   49.32511978 $   163.34 $    80.06
252953    77.86 19830805   198306   1983    8    5     8/5/1983   4819   52.77481   160.07    82.21     4532   49.63175907 $   153.35 $    75.49
252953    77.86 19830706   198305   1983    7    6     7/6/1983   4849   53.10335   160.79    82.93     4562   49.96030116 $   154.04 $    76.18
252953    77.86 19830524   198304   1983    5   24    5/24/1983   4892   53.57426   161.83    83.97     4605    50.4312115 $   155.03 $    77.17
252953    77.86 19830428   198303   1983    4   28    4/28/1983   4918     53.859   162.46    84.60     4631   50.71594798 $   155.63 $    77.77
252953    77.86 19830405   198302   1983    4    5     4/5/1983   4941   54.11088   163.02    85.16     4654   50.96783025 $   156.17 $    78.31
252953    77.86 19830308   198301   1983    3    8     3/8/1983   4969   54.41752   163.70    85.84     4682   51.27446954 $   156.83 $    78.97
252953    77.86 19830208   198212   1983    2    8     2/8/1983   4997   54.72416   164.39    86.53     4710   51.58110883 $   157.48 $    79.62
252953    85.65 19830124   198211   1983    1   24    1/24/1983   5012   54.88843   181.24    95.59     4725   51.74537988 $   173.63 $    87.98
252953    73.96 19830110   198210   1983    1   10    1/10/1983   5026   55.04175   156.83    82.87     4739   51.89869952 $   150.25 $    76.29
252953    73.96 19821208   198209   1982   12    8    12/8/1982   5059   55.40315   157.61    83.65     4772   52.26009582 $   150.99 $    77.03
252953    73.96 19821027   198208   1982   10   27   10/27/1982   5101   55.86311   158.60    84.64     4814   52.72005476 $   151.94 $    77.98
252953    73.96 19820916   198207   1982    9   16    9/16/1982   5142   56.31211   159.58    85.62     4855   53.16906229 $   152.87 $    78.91
252953    73.96 19820813   198206   1982    8   13    8/13/1982   5176   56.68446   160.39    86.43     4889   53.54140999 $   153.65 $    79.69
                   Case 3:15-cv-05367-BHS                       Document 190                             Filed 03/14/25              Page 84 of 90


252953   79.63 19820713   198205   1982    7   13   7/13/1982   5207   57.02396              173.49         93.86    4920               53.88090349 $      166.20    $   86.57
252953   73.25 19820604   198204   1982    6    4    6/4/1982   5246   57.45106              160.52         87.27    4959               54.30800821 $      153.78    $   80.53
252953   73.25 19820430   198203   1982    4   30   4/30/1982   5281   57.83436              161.37         88.12    4994               54.69130732 $      154.59    $   81.34
252953   82.34 19820405   198202   1982    4    5    4/5/1982   5306   58.10815              182.07         99.73    5019                54.9650924 $      174.42    $   92.08
252953   73.25 19820226   198201   1982    2   26   2/26/1982   5344    58.5243              162.89         89.64    5057               55.38124572 $      156.05    $   82.80
252953   70.98 19820204   198112   1982    2    4    2/4/1982   5366   58.76523              158.37         87.39    5079               55.62217659 $      151.71    $   80.73
252953   70.98 19820121   198111   1982    1   21   1/21/1982   5380   58.91855              158.70         87.72    5093               55.77549624 $      152.03    $   81.05
252953   70.98 19820105   198110   1982    1    5    1/5/1982   5396   59.09377              159.08         88.10    5109               55.95071869 $      152.40    $   81.42
252953   70.98 19811204   198109   1981   12    4   12/4/1981   5428   59.44422              159.84         88.86    5141               56.30116359 $      153.13    $   82.15

                                                                                  Calculated Interest   $11,911.39          Calculated Transfer Basis   $37,171.77               Total Additional Amt to Deposit in Plan 3 Account
                                                                                      Actual Interest     11594.68              Actual Transfer Basis     36950.18                       $460.75
                                                                                          Difference       $316.71                         Difference      $221.59
                                                                                                                                   65% of Difference       $144.03
                                                                            Case 3:15-cv-05367-BHS                                      Document 190                                  Filed 03/14/25                        Page 85 of 90


PROPOSED CALCULATIONS FOR MEMBER 159721 - Ms. Maurer
                                                                                                                                                                                                                                                                           1/1/1996

                                                                                                                                                                                          Interest from
                                                                                                                                Converted Days in Plan 2                  Value of
                                                                                                                                                                                           Transaction
                                              Member #   Contribution Amt   Transaction Date Earning Period                    Transaction  Prior to       Quarters   Contribution on
                                                                                                                                                                                         Date to Transfer
                                                                                                                                  Date      Transfer                   Transfer Date
Transfer Date                10/14/1996                                                                                                                                                        Date
                                                159721              -3.21 19960911           199608           1996    9   11    9/11/1996             33   0.361396                -3.23             -0.02
                                                159721             189.15 19960911           199606           1996    9   11    9/11/1996             33   0.361396              190.09               0.94
                                                159721              51.23 19960911           199605           1996    9   11    9/11/1996             33   0.361396               51.48               0.25
                                                159721               3.21 19960828           199607           1996    8   28    8/28/1996             47   0.514716                 3.23              0.02
Plan 2 Interest               15449.09          159721               3.21 19960828           199607           1996    8   28    8/28/1996             47   0.514716                 3.23              0.02
Transfer Payment Amount #1     17637.5          159721              -3.21 19960828           199605           1996    8   28    8/28/1996             47   0.514716                -3.23             -0.02
Transfer Payment Amount #2    11023.43          159721              -3.21 19960828           199605           1996    8   28    8/28/1996             47   0.514716                -3.23             -0.02
Transfer Basis Amount         44093.77          159721              -3.21 19960819           199607           1996    8   19    8/19/1996             56   0.613279                -3.24             -0.03
                                                159721             240.37 19960819           199605           1996    8   19    8/19/1996             56   0.613279              242.39               2.02
                                                159721              -3.21 19960711           199606           1996    7   11    7/11/1996             95   1.040383                -3.26             -0.05
                                                159721              55.17 19960711           199605           1996    7   11    7/11/1996             95   1.040383               55.96               0.79
                                                159721             185.21 19960711           199604           1996    7   11    7/11/1996             95   1.040383              187.86               2.65
                                                159721              -3.21 19960615           199605           1996    6   15    6/15/1996            121    1.32512                -3.27             -0.06
                                                159721              84.95 19960615           199604           1996    6   15    6/15/1996            121    1.32512               86.50               1.55
                                                159721             153.74 19960615           199603           1996    6   15    6/15/1996            121    1.32512              156.55               2.81       Days from                    Value of Contribution Interest from
                                                159721               -0.6 19960615           199602           1996    6   15    6/15/1996            121    1.32512                -0.61             -0.01   Transaction Date   Quarters          on 1/1/1996       Transaction Date
                                                159721               0.24 19960615           199601           1996    6   15    6/15/1996            121    1.32512                 0.24              0.00      to 1/1/1996                                            to 1/1/1996
                                                159721              -0.52 19960615           199512           1996    6   15    6/15/1996            121    1.32512                -0.53             -0.01                                                    -0.52
                                                159721               1.34 19960615           199511           1996    6   15    6/15/1996            121    1.32512                 1.36              0.02                                                     1.34
                                                159721                0.2 19960615           199510           1996    6   15    6/15/1996            121    1.32512                 0.20              0.00                                                      0.2
                                                159721               1.02 19960615           199509           1996    6   15    6/15/1996            121    1.32512                 1.04              0.02                                                     1.02
                                                159721             179.99 19960514           199603           1996    5   14    5/14/1996            153   1.675565              184.16               4.17
                                                159721              73.28 19960514           199602           1996    5   14    5/14/1996            153   1.675565               74.98               1.70
                                                159721             181.59 19960411           199602           1996    4   11    4/11/1996            186   2.036961              186.71               5.12
                                                159721              71.68 19960411           199601           1996    4   11    4/11/1996            186   2.036961               73.70               2.02
                                                159721             253.26 19960312           199601           1996    3   12    3/12/1996            216   2.365503              261.57               8.31
                                                159721              24.96 19960214           199601           1996    2   14    2/14/1996            243   2.661191               25.88               0.92
                                                159721                223 19960214           199512           1996    2   14    2/14/1996            243   2.661191              231.25               8.25                                                    223
                                                159721               4.73 19960214           199511           1996    2   14    2/14/1996            243   2.661191                 4.91              0.18                                                   4.73
                                                159721               0.58 19960214           199510           1996    2   14    2/14/1996            243   2.661191                 0.60              0.02                                                   0.58
                                                159721             252.73 19960112           199511           1996    1   12    1/12/1996            276   3.022587              263.38             10.65                                                  252.73
                                                159721                 93 19951214           199511           1995   12   14   12/14/1995            305   3.340178              97.34               4.34                 18       0.197125257 $           93.25 $             0.25
                                                159721             176.76 19951214           199510           1995   12   14   12/14/1995            305   3.340178             185.01               8.25                 18       0.197125257 $          177.24 $             0.48
                                                159721             189.15 19951115           199510           1995   11   15   11/15/1995            334   3.657769             198.84               9.69                 47       0.514715948 $          190.48 $             1.33
                                                159721              64.24 19951115           199509           1995   11   15   11/15/1995            334   3.657769              67.53               3.29                 47       0.514715948 $           64.69 $             0.45
                                                159721             250.63 19951012           199509           1995   10   12   10/12/1995            368   4.030116             264.81              14.18                 81       0.887063655 $          253.68 $             3.05
                                                159721             235.03 19950913           199506           1995    9   13    9/13/1995            397   4.347707             249.41              14.38                110       1.204654346 $          238.93 $             3.90
                                                159721              -1.67 19950815           199501           1995    8   15    8/15/1995            426   4.665298              -1.78              -0.11                139       1.522245038 $           (1.71) $           (0.04)
                                                159721              -1.33 19950815           199412           1995    8   15    8/15/1995            426   4.665298              -1.42              -0.09                139       1.522245038 $           (1.36) $           (0.03)
                                                159721               -1.5 19950815           199411           1995    8   15    8/15/1995            426   4.665298              -1.60              -0.10                139       1.522245038 $           (1.53) $           (0.03)
                                                159721              -1.67 19950815           199410           1995    8   15    8/15/1995            426   4.665298              -1.78              -0.11                139       1.522245038 $           (1.71) $           (0.04)
                                                159721              -1.42 19950815           199409           1995    8   15    8/15/1995            426   4.665298              -1.51              -0.09                139       1.522245038 $           (1.45) $           (0.03)
                                                159721              24.14 19950815           199506           1995    8   15    8/15/1995            426   4.665298              25.73               1.59                139       1.522245038 $           24.65 $             0.51
                                                159721             222.91 19950815           199505           1995    8   15    8/15/1995            426   4.665298             237.57              14.66                139       1.522245038 $          227.59 $             4.68
                                                159721              -1.25 19950815           199504           1995    8   15    8/15/1995            426   4.665298              -1.33              -0.08                139       1.522245038 $           (1.28) $           (0.03)
                                                159721              -1.91 19950815           199503           1995    8   15    8/15/1995            426   4.665298              -2.04              -0.13                139       1.522245038 $           (1.95) $           (0.04)
                                                159721              -1.25 19950815           199502           1995    8   15    8/15/1995            426   4.665298              -1.33              -0.08                139       1.522245038 $           (1.28) $           (0.03)
                                                159721               0.65 19950712           199506           1995    7   12    7/12/1995            460   5.037645               0.70               0.05                173       1.894592745 $            0.67 $             0.02
                                                159721             124.48 19950712           199505           1995    7   12    7/12/1995            460   5.037645             133.35               8.87                173       1.894592745 $          127.74 $             3.26
                                                159721             110.55 19950712           199504           1995    7   12    7/12/1995            460   5.037645             118.42               7.87                173       1.894592745 $          113.45 $             2.90
                                                159721              18.93 19950620           199505           1995    6   20    6/20/1995            482   5.278576              20.34               1.41                195       2.135523614 $           19.49 $             0.56
                                                159721             116.02 19950620           199504           1995    6   20    6/20/1995            482   5.278576             124.69               8.67                195       2.135523614 $          119.45 $             3.43
                                                159721             119.01 19950620           199503           1995    6   20    6/20/1995            482   5.278576             127.91               8.90                195       2.135523614 $          122.53 $             3.52
                                                159721              18.28 19950515           199504           1995    5   15    5/15/1995            518   5.672827              19.75               1.47                231       2.529774127 $           18.92 $             0.64
                                                159721             228.39 19950515           199503           1995    5   15    5/15/1995            518   5.672827             246.79              18.40                231       2.529774127 $          236.42 $             8.03
                                                159721               6.64 19950515           199502           1995    5   15    5/15/1995            518   5.672827               7.17               0.53                231       2.529774127 $            6.87 $             0.23
                                                159721              15.11 19950419           199501           1995    4   19    4/19/1995            544   5.957563              16.39               1.28                257       2.814510609 $           15.70 $             0.59
                                                159721             219.93 19950419           199502           1995    4   19    4/19/1995            544   5.957563             238.57              18.64                257       2.814510609 $          228.55 $             8.62
                                                159721             235.03 19950317           199501           1995    3   17    3/17/1995            577    6.31896             256.21              21.18                290       3.175906913 $          245.45 $            10.42
                                                159721               14.5 19950317           199502           1995    3   17    3/17/1995            577    6.31896              15.81               1.31                290       3.175906913 $           15.14 $             0.64
                                                159721              68.88 19950217           199501           1995    2   17    2/17/1995            605   6.625599              75.40               6.52                318       3.482546201 $           72.23 $             3.35
                                                159721             166.15 19950217           199412           1995    2   17    2/17/1995            605   6.625599             181.88              15.73                318       3.482546201 $          174.24 $             8.09
                                                159721              75.52 19950118           199412           1995    1   18    1/18/1995            635   6.954141              83.04               7.52                348       3.811088296 $           79.55 $             4.03
                                                159721             159.51 19950118           199411           1995    1   18    1/18/1995            635   6.954141             175.40              15.89                348       3.811088296 $          168.03 $             8.52
                                                159721              129.3 19941221           199411           1994   12   21   12/21/1994            663    7.26078             142.78              13.48                376       4.117727584 $          136.78 $             7.48
                                                159721             105.73 19941221           199410           1994   12   21   12/21/1994            663    7.26078             116.75              11.02                376       4.117727584 $          111.85 $             6.12
                                                159721             196.36 19941118           199410           1994   11   18   11/18/1994            696   7.622177             217.90              21.54                409       4.479123888 $          208.75 $            12.39
                                                159721              38.68 19941118           199409           1994   11   18   11/18/1994            696   7.622177              42.92               4.24                409       4.479123888 $           41.12 $             2.44
                                                159721             242.59 19941018           199409           1994   10   18   10/18/1994            727    7.96167             270.45              27.86                440       4.818617385 $          259.09 $            16.50
               Case 3:15-cv-05367-BHS                        Document 190                Filed 03/14/25     Page 86 of 90


159721   159.03 19940923   199406   1994    9   23    9/23/1994    752   8.235455   177.96   18.93         465   5.092402464 $   170.48 $    11.45
159721    88.26 19940923   199405   1994    9   23    9/23/1994    752   8.235455    98.77   10.51         465   5.092402464 $    94.62 $     6.36
159721   247.29 19940822   199405   1994    8   22    8/22/1994    784     8.5859   278.05   30.76         497   5.442847365 $   266.37 $    19.08
159721     0.36 19940719   199405   1994    7   19    7/19/1994    818   8.958248     0.41    0.05         531   5.815195072 $     0.39 $     0.03
159721   246.92 19940719   199404   1994    7   19    7/19/1994    818   8.958248   279.05   32.13         531   5.815195072 $   267.33 $    20.41
159721        9 19940617   199404   1994    6   17    6/17/1994    850   9.308693    10.22    1.22         563   6.165639973 $     9.79 $     0.79
159721   238.28 19940617   199403   1994    6   17    6/17/1994    850   9.308693   270.58   32.30         563   6.165639973 $   259.21 $    20.93
159721    14.13 19940519   199404   1994    5   19    5/19/1994    879   9.626283    16.12    1.99         592   6.483230664 $    15.44 $     1.31
159721   137.15 19940519   199403   1994    5   19    5/19/1994    879   9.626283   156.42   19.27         592   6.483230664 $   149.85 $    12.70
159721   110.15 19940519   199402   1994    5   19    5/19/1994    879   9.626283   125.63   15.48         592   6.483230664 $   120.35 $    10.20
159721   193.77 19940418   199402   1994    4   18    4/18/1994    910   9.965777   222.02   28.25         623   6.822724162 $   212.69 $    18.92
159721    53.52 19940418   199401   1994    4   18    4/18/1994    910   9.965777    61.32    7.80         623   6.822724162 $    58.75 $     5.23
159721    14.13 19940322   199402   1994    3   22    3/22/1994    937   10.26146    16.26    2.13         650   7.118412047 $    15.57 $     1.44
159721   247.28 19940322   199401   1994    3   22    3/22/1994    937   10.26146   284.48   37.20         650   7.118412047 $   272.53 $    25.25
159721      3.2 19940228   199309   1994    2   28    2/28/1994    959    10.5024     3.69    0.49         672   7.359342916 $     3.54 $     0.34
159721    19.11 19940228   199401   1994    2   28    2/28/1994    959    10.5024    22.06    2.95         672   7.359342916 $    21.13 $     2.02
159721   250.21 19940228   199312   1994    2   28    2/28/1994    959    10.5024   288.80   38.59         672   7.359342916 $   276.66 $    26.45
159721    -28.8 19940228   199311   1994    2   28    2/28/1994    959    10.5024   -33.24   -4.44         672   7.359342916 $   (31.84) $   (3.04)
159721     3.57 19940228   199310   1994    2   28    2/28/1994    959    10.5024     4.12    0.55         672   7.359342916 $     3.95 $     0.38
159721    35.86 19940118   199312   1994    1   18    1/18/1994   1000    10.9514    41.64    5.78         713   7.808350445 $    39.90 $     4.04
159721   211.42 19940118   199311   1994    1   18    1/18/1994   1000    10.9514   245.53   34.11         713   7.808350445 $   235.21 $    23.79
159721      3.6 19931220   199309   1993   12   20   12/20/1993   1029   11.26899     4.20    0.60         742   8.125941136 $     4.02 $     0.42
159721    89.02 19931220   199311   1993   12   20   12/20/1993   1029   11.26899   103.83   14.81         742   8.125941136 $    99.47 $    10.45
159721    155.3 19931220   199310   1993   12   20   12/20/1993   1029   11.26899   181.14   25.84         742   8.125941136 $   173.53 $    18.23
159721    67.58 19931119   199309   1993   11   19   11/19/1993   1060   11.60849    79.19   11.61         773   8.465434634 $    75.86 $     8.28
159721   205.36 19931119   199310   1993   11   19   11/19/1993   1060   11.60849   240.64   35.28         773   8.465434634 $   230.53 $    25.17
159721   243.69 19931026   199309   1993   10   26   10/26/1993   1084   11.87132   286.58   42.89         797   8.728268309 $   274.54 $    30.85
159721   208.73 19930924   199306   1993    9   24    9/24/1993   1116   12.22177   246.64   37.91         829    9.07871321 $   236.28 $    27.55
159721    10.75 19930924   199305   1993    9   24    9/24/1993   1116   12.22177    12.70    1.95         829    9.07871321 $    12.17 $     1.42
159721   219.46 19930823   199305   1993    8   23    8/23/1993   1148   12.57221   260.57   41.11         861   9.429158111 $   249.62 $    30.16
159721     1.25 19930724   199306   1993    7   24    7/24/1993   1178   12.90075     1.49    0.24         891   9.757700205 $     1.43 $     0.18
159721    50.05 19930724   199305   1993    7   24    7/24/1993   1178   12.90075    59.69    9.64         891   9.757700205 $    57.18 $     7.13
159721   169.43 19930724   199304   1993    7   24    7/24/1993   1178   12.90075   202.07   32.64         891   9.757700205 $   193.58 $    24.15
159721    13.28 19930624   199305   1993    6   24    6/24/1993   1208    13.2293    15.91    2.63         921    10.0862423 $    15.24 $     1.96
159721     68.8 19930624   199304   1993    6   24    6/24/1993   1208    13.2293    82.42   13.62         921    10.0862423 $    78.96 $    10.16
159721   150.68 19930624   199303   1993    6   24    6/24/1993   1208    13.2293   180.52   29.84         921    10.0862423 $   172.93 $    22.25
159721     2.09 19930518   199304   1993    5   18    5/18/1993   1245    13.6345     2.52    0.43         958   10.49144422 $     2.41 $     0.32
159721   178.27 19930518   199303   1993    5   18    5/18/1993   1245    13.6345   214.75   36.48         958   10.49144422 $   205.73 $    27.46
159721    41.21 19930518   199302   1993    5   18    5/18/1993   1245    13.6345    49.64    8.43         958   10.49144422 $    47.56 $     6.35
159721   219.46 19930419   199302   1993    4   19    4/19/1993   1274   13.95209   265.52   46.06         987   10.80903491 $   254.37 $    34.91
159721     5.58 19930322   199302   1993    3   22    3/22/1993   1302   14.25873     6.78    1.20        1015    11.1156742 $     6.49 $     0.91
159721   207.26 19930322   199301   1993    3   22    3/22/1993   1302   14.25873   251.82   44.56        1015    11.1156742 $   241.24 $    33.98
159721     1.66 19930322   199211   1993    3   22    3/22/1993   1302   14.25873     2.02    0.36        1015    11.1156742 $     1.93 $     0.27
159721     4.98 19930322   199209   1993    3   22    3/22/1993   1302   14.25873     6.05    1.07        1015    11.1156742 $     5.80 $     0.82
159721     64.9 19930224   199301   1993    2   24    2/24/1993   1328   14.54346    79.16   14.26        1041   11.40041068 $    75.83 $    10.93
159721   152.68 19930224   199212   1993    2   24    2/24/1993   1328   14.54346   186.22   33.54        1041   11.40041068 $   178.40 $    25.72
159721    43.51 19921200   199212   1992   12    0   11/30/1992   1414   15.48528    53.76   10.25        1127   12.34223135 $    51.50 $     7.99
159721   179.05 19921200   199211   1992   12    0   11/30/1992   1414   15.48528   221.22   42.17        1127   12.34223135 $   211.92 $    32.87
159721    -4.98 19921200   199209   1992   12    0   11/30/1992   1414   15.48528    -6.15   -1.17        1127   12.34223135 $    (5.89) $   (0.91)
159721    98.09 19921100   199211   1992   11    0   10/31/1992   1444   15.81383   121.73   23.64        1157   12.67077344 $   116.62 $    18.53
159721   134.24 19921100   199210   1992   11    0   10/31/1992   1444   15.81383   166.60   32.36        1157   12.67077344 $   159.60 $    25.36
159721   160.04 19921000   199210   1992   10    0    9/30/1992   1475   16.15332   199.54   39.50        1188   13.01026694 $   191.16 $    31.12
159721    59.02 19921000   199209   1992   10    0    9/30/1992   1475   16.15332    73.59   14.57        1188   13.01026694 $    70.50 $    11.48
159721   197.67 19920928   199206   1992    9   28    9/28/1992   1477   16.17522   246.53   48.86        1190   13.03216975 $   236.17 $    38.50
159721   219.05 19920900   199209   1992    9    0    8/31/1992   1505   16.48186   274.34   55.29        1218   13.33880903 $   262.82 $    43.77
159721    13.18 19920831   199206   1992    8   31    8/31/1992   1505   16.48186    16.51    3.33        1218   13.33880903 $    15.81 $     2.63
159721   184.48 19920831   199205   1992    8   31    8/31/1992   1505   16.48186   231.05   46.57        1218   13.33880903 $   221.34 $    36.86
159721    12.48 19920700   199207   1992    7    0    6/30/1992   1567   17.16085    15.78    3.30        1280   14.01779603 $    15.11 $     2.63
159721    79.07 19920600   199205   1992    6    0    5/31/1992   1597   17.48939   100.40   21.33        1310   14.34633812 $    96.18 $    17.11
159721    118.6 19920600   199204   1992    6    0    5/31/1992   1597   17.48939   150.60   32.00        1310   14.34633812 $   144.27 $    25.67
159721    92.25 19920500   199203   1992    5    0    4/30/1992   1628   17.82888   117.68   25.43        1341   14.68583162 $   112.74 $    20.49
159721    12.48 19920500   199205   1992    5    0    4/30/1992   1628   17.82888    15.92    3.44        1341   14.68583162 $    15.25 $     2.77
159721   105.42 19920500   199204   1992    5    0    4/30/1992   1628   17.82888   134.48   29.06        1341   14.68583162 $   128.83 $    23.41
159721   197.66 19920400   199203   1992    4    0    3/31/1992   1658   18.15743   253.28   55.62        1371   15.01437372 $   242.64 $    44.98
159721     6.24 19920400   199204   1992    4    0    3/31/1992   1658   18.15743     8.00    1.76        1371   15.01437372 $     7.66 $     1.42
159721    12.48 19920300   199203   1992    3    0    2/29/1992   1689   18.49692    16.07    3.59        1402   15.35386721 $    15.39 $     2.91
159721   197.67 19920300   199202   1992    3    0    2/29/1992   1689   18.49692   254.47   56.80        1402   15.35386721 $   243.78 $    46.11
159721    71.44 19920200   199202   1992    2    0    1/31/1992   1718   18.81451    92.37   20.93        1431   15.67145791 $    88.49 $    17.05
159721   144.95 19920200   199201   1992    2    0    1/31/1992   1718   18.81451   187.42   42.47        1431   15.67145791 $   179.54 $    34.59
159721    118.6 19920100   199201   1992    1    0   12/31/1991   1749     19.154   154.06   35.46        1462    16.0109514 $   147.59 $    28.99
159721    84.62 19920100   199112   1992    1    0   12/31/1991   1749     19.154   109.92   25.30        1462    16.0109514 $   105.30 $    20.68
159721   126.94 19911200   199112   1991   12    0   11/30/1991   1780    19.4935   165.66   38.72        1493    16.3504449 $   158.70 $    31.76
159721    84.63 19911200   199111   1991   12    0   11/30/1991   1780    19.4935   110.44   25.81        1493    16.3504449 $   105.80 $    21.17
159721    168.5 19911100   199111   1991   11    0   10/31/1991   1810   19.82204   220.88   52.38        1523     16.678987 $   211.60 $    43.10
159721    56.42 19911100   199110   1991   11    0   10/31/1991   1810   19.82204    73.96   17.54        1523     16.678987 $    70.85 $    14.43
159721   264.99 19911000   199110   1991   10    0    9/30/1991   1841   20.16153   348.98   83.99        1554   17.01848049 $   334.32 $    69.33
               Case 3:15-cv-05367-BHS                       Document 190                Filed 03/14/25     Page 87 of 90


159721    56.42 19910900   199110   1991    9   0    8/31/1991   1871   20.49008    74.64    18.22       1584   17.34702259 $    71.50 $    15.08
159721   155.14 19910900   199109   1991    9   0    8/31/1991   1871   20.49008   205.23    50.09       1584   17.34702259 $   196.61 $    41.47
159721    48.78 19910800   199108   1991    8   0    7/31/1991   1902   20.82957    64.83    16.05       1615   17.68651608 $    62.11 $    13.33
159721   150.92 19910800   199106   1991    8   0    7/31/1991   1902   20.82957   200.58    49.66       1615   17.68651608 $   192.15 $    41.23
159721    23.22 19910800   199105   1991    8   0    7/31/1991   1902   20.82957    30.86     7.64       1615   17.68651608 $    29.56 $     6.34
159721    29.02 19910700   199107   1991    7   0    6/30/1991   1933   21.16906    38.75     9.73       1646   18.02600958 $    37.12 $     8.10
159721   174.13 19910700   199105   1991    7   0    6/30/1991   1933   21.16906   232.50    58.37       1646   18.02600958 $   222.73 $    48.60
159721     2.73 19910600   199106   1991    6   0    5/31/1991   1963    21.4976     3.66     0.93       1676   18.35455168 $     3.51 $     0.78
159721    46.44 19910600   199105   1991    6   0    5/31/1991   1963    21.4976    62.29    15.85       1676   18.35455168 $    59.67 $    13.23
159721    127.7 19910600   199104   1991    6   0    5/31/1991   1963    21.4976   171.27    43.57       1676   18.35455168 $   164.08 $    36.38
159721     3.07 19910500   199105   1991    5   0    4/30/1991   1994    21.8371     4.14     1.07       1707   18.69404517 $     3.96 $     0.89
159721    69.66 19910500   199104   1991    5   0    4/30/1991   1994    21.8371    93.86    24.20       1707   18.69404517 $    89.92 $    20.26
159721   104.48 19910500   199103   1991    5   0    4/30/1991   1994    21.8371   140.78    36.30       1707   18.69404517 $   134.87 $    30.39
159721    127.7 19910400   199103   1991    4   0    3/31/1991   2024   22.16564   172.84    45.14       1737   19.02258727 $   165.58 $    37.88
159721    46.44 19910400   199102   1991    4   0    3/31/1991   2024   22.16564    62.86    16.42       1737   19.02258727 $    60.22 $    13.78
159721      5.8 19910300   199103   1991    3   0    2/28/1991   2055   22.50513     7.89     2.09       1768   19.36208077 $     7.56 $     1.76
159721   162.53 19910300   199102   1991    3   0    2/28/1991   2055   22.50513   221.01    58.48       1768   19.36208077 $   211.72 $    49.19
159721    11.61 19910300   199101   1991    3   0    2/28/1991   2055   22.50513    15.79     4.18       1768   19.36208077 $    15.12 $     3.51
159721    15.88 19910200   199102   1991    2   0    1/31/1991   2083   22.81177    21.68     5.80       1796   19.66872005 $    20.77 $     4.89
159721   174.14 19910200   199101   1991    2   0    1/31/1991   2083   22.81177   237.79    63.65       1796   19.66872005 $   227.80 $    53.66
159721    11.61 19910100   199101   1991    1   0   12/31/1990   2114   23.15127    15.93     4.32       1827   20.00821355 $    15.26 $     3.65
159721   162.53 19910100   199012   1991    1   0   12/31/1990   2114   23.15127   222.97    60.44       1827   20.00821355 $   213.60 $    51.07
159721     17.1 19901200   199012   1990   12   0   11/30/1990   2145   23.49076    23.57     6.47       1858   20.34770705 $    22.58 $     5.48
159721   162.53 19901200   199011   1990   12   0   11/30/1990   2145   23.49076   224.00    61.47       1858   20.34770705 $   214.59 $    52.06
159721    69.66 19901100   199011   1990   11   0   10/31/1990   2175    23.8193    96.44    26.78       1888   20.67624914 $    92.39 $    22.73
159721    127.7 19901100   199010   1990   11   0   10/31/1990   2175    23.8193   176.79    49.09       1888   20.67624914 $   169.36 $    41.66
159721   131.05 19901000   199010   1990   10   0    9/30/1990   2206    24.1588   182.27    51.22       1919   21.01574264 $   174.61 $    43.56
159721    46.44 19901000   199009   1990   10   0    9/30/1990   2206    24.1588    64.59    18.15       1919   21.01574264 $    61.88 $    15.44
159721   219.67 19900900   199009   1990    9   0    8/31/1990   2236   24.48734   306.90    87.23       1949   21.34428474 $   294.01 $    74.34
159721   107.17 19900800   199006   1990    8   0    7/31/1990   2267   24.82683   150.42    43.25       1980   21.68377823 $   144.10 $    36.93
159721    53.59 19900800   199005   1990    8   0    7/31/1990   2267   24.82683    75.22    21.63       1980   21.68377823 $    72.06 $    18.47
159721     26.9 19900700   199007   1990    7   0    6/30/1990   2298   25.16632    37.93    11.03       2011   22.02327173 $    36.34 $     9.44
159721   160.76 19900700   199005   1990    7   0    6/30/1990   2298   25.16632   226.69    65.93       2011   22.02327173 $   217.17 $    56.41
159721    14.07 19900600   199006   1990    6   0    5/31/1990   2328   25.49487    19.93     5.86       2041   22.35181383 $    19.09 $     5.02
159721    21.43 19900600   199005   1990    6   0    5/31/1990   2328   25.49487    30.35     8.92       2041   22.35181383 $    29.08 $     7.65
159721   139.32 19900600   199004   1990    6   0    5/31/1990   2328   25.49487   197.34    58.02       2041   22.35181383 $   189.05 $    49.73
159721     5.58 19900500   199005   1990    5   0    4/30/1990   2359   25.83436     7.94     2.36       2072   22.69130732 $     7.61 $     2.03
159721    32.15 19900500   199004   1990    5   0    4/30/1990   2359   25.83436    45.75    13.60       2072   22.69130732 $    43.83 $    11.68
159721   128.61 19900500   199003   1990    5   0    4/30/1990   2359   25.83436   183.02    54.41       2072   22.69130732 $   175.33 $    46.72
159721   107.17 19900400   199003   1990    4   0    3/31/1990   2389    26.1629   153.19    46.02       2102   23.01984942 $   146.76 $    39.59
159721    53.59 19900400   199002   1990    4   0    3/31/1990   2389    26.1629    76.60    23.01       2102   23.01984942 $    73.39 $    19.80
159721   139.32 19900300   199002   1990    3   0    2/28/1990   2420    26.5024   200.08    60.76       2133   23.35934292 $   191.67 $    52.35
159721    21.44 19900300   199001   1990    3   0    2/28/1990   2420    26.5024    30.79     9.35       2133   23.35934292 $    29.50 $     8.06
159721   160.76 19900200   199001   1990    2   0    1/31/1990   2448   26.80903   231.83    71.07       2161    23.6659822 $   222.09 $    61.33
159721    21.45 19900100   199001   1990    1   0   12/31/1989   2479   27.14853    31.08     9.63       2192    24.0054757 $    29.77 $     8.32
159721   139.31 19900100   198912   1990    1   0   12/31/1989   2479   27.14853   201.84    62.53       2192    24.0054757 $   193.36 $    54.05
159721    21.45 19891200   198912   1989   12   0   11/30/1989   2510   27.48802    31.22     9.77       2223    24.3449692 $    29.91 $     8.46
159721   139.31 19891200   198911   1989   12   0   11/30/1989   2510   27.48802   202.77    63.46       2223    24.3449692 $   194.25 $    54.94
159721     53.6 19891100   198911   1989   11   0   10/31/1989   2540   27.81656    78.37    24.77       2253   24.67351129 $    75.08 $    21.48
159721    10.72 19891100   198911   1989   11   0   10/31/1989   2540   27.81656    15.67     4.95       2253   24.67351129 $    15.02 $     4.30
159721   107.16 19891100   198910   1989   11   0   10/31/1989   2540   27.81656   156.68    49.52       2253   24.67351129 $   150.10 $    42.94
159721    117.9 19891000   198910   1989   10   0    9/30/1989   2571   28.15606   173.18    55.28       2284   25.01300479 $   165.91 $    48.01
159721    42.86 19891000   198909   1989   10   0    9/30/1989   2571   28.15606    62.96    20.10       2284   25.01300479 $    60.31 $    17.45
159721    43.74 19890900   198909   1989    9   0    8/31/1989   2601    28.4846    64.54    20.80       2314   25.34154689 $    61.83 $    18.09
159721   160.76 19890900   198909   1989    9   0    8/31/1989   2601    28.4846   237.20    76.44       2314   25.34154689 $   227.24 $    66.48
159721     2.73 19890700   198907   1989    7   0    6/30/1989   2663   29.16359     4.07     1.34       2376   26.02053388 $     3.89 $     1.16
159721   127.88 19890700   198905   1989    7   0    6/30/1989   2663   29.16359   190.44    62.56       2376   26.02053388 $   182.44 $    54.56
159721    118.6 19890600   198904   1989    6   0    5/31/1989   2693   29.49213   177.42    58.82       2406   26.34907598 $   169.96 $    51.36
159721    -4.19 19890600   198903   1989    6   0    5/31/1989   2693   29.49213    -6.27    -2.08       2406   26.34907598 $    (6.00) $   (1.81)
159721    14.46 19890600   198906   1989    6   0    5/31/1989   2693   29.49213    21.63     7.17       2406   26.34907598 $    20.72 $     6.26
159721    18.21 19890600   198905   1989    6   0    5/31/1989   2693   29.49213    27.24     9.03       2406   26.34907598 $    26.10 $     7.89
159721   -22.26 19890600   198902   1989    6   0    5/31/1989   2693   29.49213   -33.30   -11.04       2406   26.34907598 $   (31.90) $   (9.64)
159721     3.62 19890600   198901   1989    6   0    5/31/1989   2693   29.49213     5.42     1.80       2406   26.34907598 $     5.19 $     1.57
159721     2.66 19890600   198812   1989    6   0    5/31/1989   2693   29.49213     3.98     1.32       2406   26.34907598 $     3.81 $     1.15
159721     3.62 19890600   198811   1989    6   0    5/31/1989   2693   29.49213     5.42     1.80       2406   26.34907598 $     5.19 $     1.57
159721        4 19890600   198810   1989    6   0    5/31/1989   2693   29.49213     5.98     1.98       2406   26.34907598 $     5.73 $     1.73
159721     3.62 19890600   198809   1989    6   0    5/31/1989   2693   29.49213     5.42     1.80       2406   26.34907598 $     5.19 $     1.57
159721     9.84 19890500   198904   1989    5   0    4/30/1989   2724   29.83162    14.79     4.95       2437   26.68856947 $    14.17 $     4.33
159721    14.18 19890500   198905   1989    5   0    4/30/1989   2724   29.83162    21.31     7.13       2437   26.68856947 $    20.42 $     6.24
159721   118.04 19890500   198903   1989    5   0    4/30/1989   2724   29.83162   177.40    59.36       2437   26.68856947 $   169.95 $    51.91
159721    15.73 19890400   198904   1989    4   0    3/31/1989   2754   30.16016    23.75     8.02       2467   27.01711157 $    22.75 $     7.02
159721    16.45 19890400   198903   1989    4   0    3/31/1989   2754   30.16016    24.83     8.38       2467   27.01711157 $    23.79 $     7.34
159721    74.52 19890400   198903   1989    4   0    3/31/1989   2754   30.16016   112.50    37.98       2467   27.01711157 $   107.77 $    33.25
159721    53.36 19890400   198902   1989    4   0    3/31/1989   2754   30.16016    80.55    27.19       2467   27.01711157 $    77.17 $    23.81
159721    -6.38 19890300   198903   1989    3   0    2/28/1989   2785   30.49966    -9.68    -3.30       2498   27.35660507 $    (9.27) $   (2.89)
159721    97.34 19890300   198902   1989    3   0    2/28/1989   2785   30.49966   147.63    50.29       2498   27.35660507 $   141.43 $    44.09
               Case 3:15-cv-05367-BHS                        Document 190                Filed 03/14/25     Page 88 of 90


159721    30.54 19890300   198901   1989    3    0    2/28/1989   2785   30.49966    46.32    15.78       2498   27.35660507 $    44.37 $    13.83
159721    10.47 19890200   198902   1989    2    0    1/31/1989   2813    30.8063    15.95     5.48       2526   27.66324435 $    15.28 $     4.81
159721   127.88 19890200   198901   1989    2    0    1/31/1989   2813    30.8063   194.76    66.88       2526   27.66324435 $   186.58 $    58.70
159721     0.65 19890100   198901   1989    1    0   12/31/1988   2844   31.14579     0.99     0.34       2557   28.00273785 $     0.95 $     0.30
159721     7.55 19890100   198901   1989    1    0   12/31/1988   2844   31.14579    11.55     4.00       2557   28.00273785 $    11.07 $     3.52
159721   117.21 19890100   198812   1989    1    0   12/31/1988   2844   31.14579   179.34    62.13       2557   28.00273785 $   171.81 $    54.60
159721    10.02 19890100   198811   1989    1    0   12/31/1988   2844   31.14579    15.33     5.31       2557   28.00273785 $    14.69 $     4.67
159721   120.91 19881200   198811   1988   12    0   11/30/1988   2875   31.48528   185.86    64.95       2588   28.34223135 $   178.06 $    57.15
159721     3.66 19881200   198810   1988   12    0   11/30/1988   2875   31.48528     5.63     1.97       2588   28.34223135 $     5.39 $     1.73
159721     3.31 19881200   198809   1988   12    0   11/30/1988   2875   31.48528     5.09     1.78       2588   28.34223135 $     4.87 $     1.56
159721     3.64 19881107   000000   1988   11    7    11/7/1988   2898   31.73717     5.61     1.97       2611   28.59411362 $     5.38 $     1.74
159721    28.14 19881100   198811   1988   11    0   10/31/1988   2905   31.81383    43.45    15.31       2618   28.67077344 $    41.63 $    13.49
159721    96.25 19881100   198810   1988   11    0   10/31/1988   2905   31.81383   148.62    52.37       2618   28.67077344 $   142.38 $    46.13
159721     -7.1 19881017   198808   1988   10   17   10/17/1988   2919   31.96715   -10.99    -3.89       2632   28.82409309 $   (10.52) $   (3.42)
159721      7.1 19881017   198808   1988   10   17   10/17/1988   2919   31.96715    10.99     3.89       2632   28.82409309 $    10.52 $     3.42
159721     0.01 19881017   198808   1988   10   17   10/17/1988   2919   31.96715     0.02     0.01       2632   28.82409309 $     0.01 $     0.00
159721    -0.01 19881017   198808   1988   10   17   10/17/1988   2919   31.96715    -0.02    -0.01       2632   28.82409309 $    (0.01) $   (0.00)
159721     75.9 19881000   198810   1988   10    0    9/30/1988   2936   32.15332   117.74    41.84       2649   29.01026694 $   112.80 $    36.90
159721    48.49 19881000   198809   1988   10    0    9/30/1988   2936   32.15332    75.22    26.73       2649   29.01026694 $    72.06 $    23.57
159721    10.47 19880900   198809   1988    9    0    8/31/1988   2966   32.48186    16.32     5.85       2679   29.33880903 $    15.63 $     5.16
159721   107.27 19880900   198809   1988    9    0    8/31/1988   2966   32.48186   167.16    59.89       2679   29.33880903 $   160.13 $    52.86
159721    10.47 19880900   198808   1988    9    0    8/31/1988   2966   32.48186    16.32     5.85       2679   29.33880903 $    15.63 $     5.16
159721   135.34 19880800   198806   1988    8    0    7/31/1988   2997   32.82136   211.88    76.54       2710   29.67830253 $   202.98 $    67.64
159721    31.68 19880800   198805   1988    8    0    7/31/1988   2997   32.82136    49.60    17.92       2710   29.67830253 $    47.51 $    15.83
159721     7.69 19880800   198808   1988    8    0    7/31/1988   2997   32.82136    12.04     4.35       2710   29.67830253 $    11.53 $     3.84
159721     0.01 19880800   198808   1988    8    0    7/31/1988   2997   32.82136     0.02     0.01       2710   29.67830253 $     0.01 $     0.00
159721   167.03 19880700   198805   1988    7    0    6/30/1988   3028   33.16085   262.70    95.67       2741   30.01779603 $   251.67 $    84.64
159721    32.59 19880600   198805   1988    6    0    5/31/1988   3058   33.48939    51.49    18.90       2771   30.34633812 $    49.32 $    16.73
159721   134.44 19880600   198804   1988    6    0    5/31/1988   3058   33.48939   212.40    77.96       2771   30.34633812 $   203.47 $    69.03
159721    22.23 19880500   198805   1988    5    0    4/30/1988   3089   33.82888    35.28    13.05       2802   30.68583162 $    33.80 $    11.57
159721    42.23 19880500   198804   1988    5    0    4/30/1988   3089   33.82888    67.03    24.80       2802   30.68583162 $    64.21 $    21.98
159721    124.8 19880500   198803   1988    5    0    4/30/1988   3089   33.82888   198.08    73.28       2802   30.68583162 $   189.76 $    64.96
159721     0.63 19880400   198804   1988    4    0    3/31/1988   3119   34.15743     1.00     0.37       2832   31.01437372 $     0.96 $     0.33
159721   129.17 19880400   198803   1988    4    0    3/31/1988   3119   34.15743   205.94    76.77       2832   31.01437372 $   197.29 $    68.12
159721     4.21 19880400   198803   1988    4    0    3/31/1988   3119   34.15743     6.71     2.50       2832   31.01437372 $     6.43 $     2.22
159721    37.86 19880400   198802   1988    4    0    3/31/1988   3119   34.15743    60.36    22.50       2832   31.01437372 $    57.83 $    19.97
159721     5.61 19880400   198802   1988    4    0    3/31/1988   3119   34.15743     8.94     3.33       2832   31.01437372 $     8.57 $     2.96
159721   167.03 19880300   198802   1988    3    0    2/29/1988   3150   34.49692   267.54   100.51       2863   31.35386721 $   256.30 $    89.27
159721     9.82 19880200   198802   1988    2    0    1/31/1988   3179   34.81451    15.80     5.98       2892   31.67145791 $    15.13 $     5.31
159721     4.91 19880200   198802   1988    2    0    1/31/1988   3179   34.81451     7.90     2.99       2892   31.67145791 $     7.57 $     2.66
159721   162.12 19880200   198801   1988    2    0    1/31/1988   3179   34.81451   260.81    98.69       2892   31.67145791 $   249.85 $    87.73
159721    26.25 19880100   198710   1988    1    0   12/31/1987   3210     35.154    42.43    16.18       2923    32.0109514 $    40.64 $    14.39
159721    47.68 19880100   198801   1988    1    0   12/31/1987   3210     35.154    77.06    29.38       2923    32.0109514 $    73.82 $    26.14
159721     6.29 19880100   198801   1988    1    0   12/31/1987   3210     35.154    10.17     3.88       2923    32.0109514 $     9.74 $     3.45
159721    80.94 19880100   198712   1988    1    0   12/31/1987   3210     35.154   130.81    49.87       2923    32.0109514 $   125.32 $    44.38
159721    -8.06 19880100   198711   1988    1    0   12/31/1987   3210     35.154   -13.03    -4.97       2923    32.0109514 $   (12.48) $   (4.42)
159721    20.22 19880100   198709   1988    1    0   12/31/1987   3210     35.154    32.68    12.46       2923    32.0109514 $    31.31 $    11.09
159721     0.42 19871200   198710   1987   12    0   11/30/1987   3241    35.4935     0.68     0.26       2954    32.3504449 $     0.65 $     0.23
159721    73.65 19871200   198712   1987   12    0   11/30/1987   3241    35.4935   119.59    45.94       2954    32.3504449 $   114.56 $    40.91
159721     1.26 19871200   198712   1987   12    0   11/30/1987   3241    35.4935     2.05     0.79       2954    32.3504449 $     1.96 $     0.70
159721    10.06 19871200   198711   1987   12    0   11/30/1987   3241    35.4935    16.33     6.27       2954    32.3504449 $    15.65 $     5.59
159721    93.62 19871200   198711   1987   12    0   11/30/1987   3241    35.4935   152.01    58.39       2954    32.3504449 $   145.62 $    52.00
159721     3.77 19871200   198710   1987   12    0   11/30/1987   3241    35.4935     6.12     2.35       2954    32.3504449 $     5.86 $     2.09
159721     0.31 19871200   198709   1987   12    0   11/30/1987   3241    35.4935     0.50     0.19       2954    32.3504449 $     0.48 $     0.17
159721    113.2 19871100   198711   1987   11    0   10/31/1987   3271   35.82204   184.63    71.43       2984     32.678987 $   176.87 $    63.67
159721    12.58 19871100   198711   1987   11    0   10/31/1987   3271   35.82204    20.52     7.94       2984     32.678987 $    19.66 $     7.08
159721     53.5 19871100   198710   1987   11    0   10/31/1987   3271   35.82204    87.26    33.76       2984     32.678987 $    83.59 $    30.09
159721      4.4 19871000   198709   1987   10    0    9/30/1987   3302   36.16153     7.21     2.81       3015   33.01848049 $     6.91 $     2.51
159721    12.58 19871000   198709   1987   10    0    9/30/1987   3302   36.16153    20.61     8.03       3015   33.01848049 $    19.75 $     7.17
159721     1.51 19871000   198710   1987   10    0    9/30/1987   3302   36.16153     2.47     0.96       3015   33.01848049 $     2.37 $     0.86
159721   162.75 19871000   198710   1987   10    0    9/30/1987   3302   36.16153   266.68   103.93       3015   33.01848049 $   255.48 $    92.73
159721   162.14 19870900   198709   1987    9    0    8/31/1987   3332   36.49008   266.88   104.74       3045   33.34702259 $   255.66 $    93.52
159721     9.57 19870900   198709   1987    9    0    8/31/1987   3332   36.49008    15.75     6.18       3045   33.34702259 $    15.09 $     5.52
159721    84.88 19870800   198706   1987    8    0    7/31/1987   3363   36.82957   140.36    55.48       3076   33.68651608 $   134.46 $    49.58
159721    70.32 19870800   198705   1987    8    0    7/31/1987   3363   36.82957   116.28    45.96       3076   33.68651608 $   111.40 $    41.08
159721      122 19870700   198705   1987    7    0    6/30/1987   3394   37.16906   202.68    80.68       3107   34.02600958 $   194.16 $    72.16
159721    33.21 19870700   198704   1987    7    0    6/30/1987   3394   37.16906    55.17    21.96       3107   34.02600958 $    52.85 $    19.64
159721     0.97 19870600   198706   1987    6    0    5/31/1987   3424    37.4976     1.62     0.65       3137   34.35455168 $     1.55 $     0.58
159721    149.5 19870600   198704   1987    6    0    5/31/1987   3424    37.4976   249.48    99.98       3137   34.35455168 $   239.00 $    89.50
159721      5.7 19870600   198703   1987    6    0    5/31/1987   3424    37.4976     9.51     3.81       3137   34.35455168 $     9.11 $     3.41
159721   145.88 19870505   198612   1987    5    5     5/5/1987   3450   37.78234   244.39    98.51       3163   34.63928816 $   234.12 $    88.24
159721   155.21 19870500   198703   1987    5    0    4/30/1987   3455    37.8371   260.21   105.00       3168   34.69404517 $   249.28 $    94.07
159721   158.46 19870423   198611   1987    4   23    4/23/1987   3462   37.91376   265.94   107.48       3175     34.770705 $   254.77 $    96.31
159721     0.97 19870400   198704   1987    4    0    3/31/1987   3485   38.16564     1.63     0.66       3198   35.02258727 $     1.56 $     0.59
159721    58.69 19870400   198703   1987    4    0    3/31/1987   3485   38.16564    98.84    40.15       3198   35.02258727 $    94.68 $    35.99
159721    96.51 19870400   198702   1987    4    0    3/31/1987   3485   38.16564   162.53    66.02       3198   35.02258727 $   155.70 $    59.19
               Case 3:15-cv-05367-BHS                        Document 190                Filed 03/14/25     Page 89 of 90


159721   159.43 19870318   198610   1987    3   18    3/18/1987   3498   38.30801   269.01   109.58       3211   35.16495551 $   257.71 $     98.28
159721     8.54 19870300   198703   1987    3    0    2/28/1987   3516   38.50513    14.45     5.91       3229   35.36208077 $    13.84 $      5.30
159721   108.02 19870300   198702   1987    3    0    2/28/1987   3516   38.50513   182.76    74.74       3229   35.36208077 $   175.08 $     67.06
159721    47.19 19870300   198701   1987    3    0    2/28/1987   3516   38.50513    79.84    32.65       3229   35.36208077 $    76.49 $     29.30
159721    145.9 19870219   198609   1987    2   19    2/19/1987   3525    38.6037   247.18   101.28       3238   35.46064339 $   236.79 $     90.89
159721    94.01 19870200   198701   1987    2    0    1/31/1987   3544   38.81177   159.72    65.71       3257   35.66872005 $   153.01 $     59.00
159721    53.01 19870200   198610   1987    2    0    1/31/1987   3544   38.81177    90.06    37.05       3257   35.66872005 $    86.28 $     33.27
159721     8.54 19870100   198701   1987    1    0   12/31/1986   3575   39.15127    14.58     6.04       3288   36.00821355 $    13.96 $      5.42
159721     20.1 19870100   198701   1987    1    0   12/31/1986   3575   39.15127    34.31    14.21       3288   36.00821355 $    32.87 $     12.77
159721   -18.54 19870100   198612   1987    1    0   12/31/1986   3575   39.15127   -31.65   -13.11       3288   36.00821355 $   (30.32) $   (11.78)
159721    -1.56 19870100   198611   1987    1    0   12/31/1986   3575   39.15127    -2.66    -1.10       3288   36.00821355 $    (2.55) $    (0.99)
159721    49.34 19870100   198610   1987    1    0   12/31/1986   3575   39.15127    84.22    34.88       3288   36.00821355 $    80.68 $     31.34
159721    88.55 19870100   198609   1987    1    0   12/31/1986   3575   39.15127   151.14    62.59       3288   36.00821355 $   144.79 $     56.24
159721   138.89 19861024   198608   1986   10   24   10/24/1986   3643   39.89596   239.49   100.60       3356   36.75290897 $   229.43 $     90.54
159721   133.28 19860911   198607   1986    9   11    9/11/1986   3686   40.36687   231.30    98.02       3399    37.2238193 $   221.58 $     88.30
159721   133.74 19860805   198606   1986    8    5     8/5/1986   3723   40.77207   233.39    99.65       3436   37.62902122 $   223.58 $     89.84
159721   134.21 19860710   198605   1986    7   10    7/10/1986   3749   41.05681   235.12   100.91       3462    37.9137577 $   225.24 $     91.03
159721   133.74 19860612   198604   1986    6   12    6/12/1986   3777   41.36345   235.28   101.54       3490   38.22039699 $   225.39 $     91.65
159721   133.74 19860519   198603   1986    5   19    5/19/1986   3801   41.62628   236.12   102.38       3514   38.48323066 $   226.20 $     92.46
159721   141.25 19860429   198602   1986    4   29    4/29/1986   3821   41.84531   250.13   108.88       3534   38.70225873 $   239.62 $     98.37
159721   133.28 19860408   198601   1986    4    8     4/8/1986   3842   42.07529   236.76   103.48       3555   38.93223819 $   226.81 $     93.53
159721   154.89 19860314   198512   1986    3   14    3/14/1986   3867   42.34908   276.18   121.29       3580   39.20602327 $   264.58 $    109.69
159721   133.28 19860220   198511   1986    2   20    2/20/1986   3889   42.59001   238.43   105.15       3602   39.44695414 $   228.41 $     95.13
159721   137.91 19860110   198510   1986    1   10    1/10/1986   3930   43.03901   248.23   110.32       3643   39.89596167 $   237.80 $     99.89
159721   140.76 19851127   198509   1985   11   27   11/27/1985   3974   43.52088   255.03   114.27       3687   40.37782341 $   244.32 $    103.56
159721   125.66 19851028   198508   1985   10   28   10/28/1985   4004   43.84942   228.70   103.04       3717    40.7063655 $   219.09 $     93.43
159721    125.6 19850918   198507   1985    9   18    9/18/1985   4044   44.28747   229.96   104.36       3757   41.14442163 $   220.30 $     94.70
159721    125.6 19850823   198506   1985    8   23    8/23/1985   4070   44.57221   230.86   105.26       3783   41.42915811 $   221.16 $     95.56
159721    125.6 19850731   198505   1985    7   31    7/31/1985   4093   44.82409   231.65   106.05       3806   41.68104038 $   221.92 $     96.32
159721    125.6 19850626   198504   1985    6   26    6/26/1985   4128   45.20739   232.87   107.27       3841   42.06433949 $   223.08 $     97.48
159721   130.36 19850604   198503   1985    6    4     6/4/1985   4150   45.44832   242.49   112.13       3863   42.30527036 $   232.30 $    101.94
159721    125.6 19850509   198502   1985    5    9     5/9/1985   4176   45.73306   234.55   108.95       3889   42.59000684 $   224.69 $     99.09
159721   141.39 19850417   198501   1985    4   17    4/17/1985   4198   45.97399   264.90   123.51       3911   42.83093771 $   253.77 $    112.38
159721   118.67 19850325   198412   1985    3   25    3/25/1985   4221   46.22587   223.10   104.43       3934   43.08281999 $   213.73 $     95.06
159721   125.28 19850225   198411   1985    2   25    2/25/1985   4249   46.53251   236.52   111.24       3962   43.38945927 $   226.58 $    101.30
159721   118.21 19850110   198410   1985    1   10    1/10/1985   4295   47.03628   224.71   106.50       4008   43.89322382 $   215.27 $     97.06
159721   118.21 19841128   198409   1984   11   28   11/28/1984   4338   47.50719   226.16   107.95       4051   44.36413415 $   216.66 $     98.45
159721   121.11 19841018   198408   1984   10   18   10/18/1984   4379   47.95619   233.13   112.02       4092   44.81314168 $   223.34 $    102.23
159721   113.18 19840918   198407   1984    9   18    9/18/1984   4409   48.28474   218.85   105.67       4122   45.14168378 $   209.65 $     96.47
159721   113.17 19840809   198406   1984    8    9     8/9/1984   4449   48.72279   220.14   106.97       4162    45.5797399 $   210.89 $     97.72
159721   113.18 19840705   198405   1984    7    5     7/5/1984   4484   49.10609   221.32   108.14       4197   45.96303901 $   212.02 $     98.84
159721   113.63 19840613   198404   1984    6   13    6/13/1984   4506   49.34702   222.93   109.30       4219   46.20396988 $   213.56 $     99.93
159721   119.55 19840516   198403   1984    5   16    5/16/1984   4534   49.65366   235.53   115.98       4247   46.51060917 $   225.63 $    106.08
159721   119.91 19840502   198402   1984    5    2     5/2/1984   4548   49.80698   236.73   116.82       4261   46.66392882 $   226.78 $    106.87
159721   113.63 19840327   198401   1984    3   27    3/27/1984   4584   50.20123   225.54   111.91       4297   47.05817933 $   216.07 $    102.44
159721   113.17 19840228   198312   1984    2   28    2/28/1984   4612   50.50787   225.57   112.40       4325   47.36481862 $   216.10 $    102.93
159721   113.18 19840207   198311   1984    2    7     2/7/1984   4633   50.73785   226.30   113.12       4346   47.59479808 $   216.79 $    103.61
159721   113.17 19840110   198310   1984    1   10    1/10/1984   4661   51.04449   227.23   114.06       4374   47.90143737 $   217.68 $    104.51
159721   113.18 19831201   198309   1983   12    1    12/1/1983   4701   51.48255   228.62   115.44       4414    48.3394935 $   219.01 $    105.83
159721    94.83 19831011   198308   1983   10   11   10/11/1983   4752   52.04107   193.02    98.19       4465   48.89801506 $   184.91 $     90.08
159721    94.83 19830902   198307   1983    9    2     9/2/1983   4791   52.46817   194.15    99.32       4504   49.32511978 $   185.99 $     91.16
159721    88.87 19830805   198306   1983    8    5     8/5/1983   4819   52.77481   182.71    93.84       4532   49.63175907 $   175.03 $     86.16
159721    88.87 19830706   198305   1983    7    6     7/6/1983   4849   53.10335   183.53    94.66       4562   49.96030116 $   175.82 $     86.95
159721    88.87 19830524   198304   1983    5   24    5/24/1983   4892   53.57426   184.71    95.84       4605    50.4312115 $   176.95 $     88.08
159721    88.87 19830428   198303   1983    4   28    4/28/1983   4918     53.859   185.43    96.56       4631   50.71594798 $   177.64 $     88.77
159721    88.87 19830405   198302   1983    4    5     4/5/1983   4941   54.11088   186.07    97.20       4654   50.96783025 $   178.25 $     89.38
159721    88.87 19830308   198301   1983    3    8     3/8/1983   4969   54.41752   186.85    97.98       4682   51.27446954 $   179.00 $     90.13
159721    88.87 19830208   198212   1983    2    8     2/8/1983   4997   54.72416   187.64    98.77       4710   51.58110883 $   179.75 $     90.88
159721    96.64 19830124   198211   1983    1   24    1/24/1983   5012   54.88843   204.50   107.86       4725   51.74537988 $   195.91 $     99.27
159721    84.98 19830110   198210   1983    1   10    1/10/1983   5026   55.04175   180.20    95.22       4739   51.89869952 $   172.63 $     87.65
159721    84.98 19821208   198209   1982   12    8    12/8/1982   5059   55.40315   181.09    96.11       4772   52.26009582 $   173.49 $     88.51
159721    84.98 19821027   198208   1982   10   27   10/27/1982   5101   55.86311   182.24    97.26       4814   52.72005476 $   174.58 $     89.60
159721    84.98 19820916   198207   1982    9   16    9/16/1982   5142   56.31211   183.36    98.38       4855   53.16906229 $   175.65 $     90.67
159721    84.98 19820813   198206   1982    8   13    8/13/1982   5176   56.68446   184.29    99.31       4889   53.54140999 $   176.55 $     91.57
159721    96.97 19820713   198205   1982    7   13    7/13/1982   5207   57.02396   211.27   114.30       4920   53.88090349 $   202.39 $    105.42
159721    84.19 19820604   198204   1982    6    4     6/4/1982   5246   57.45106   184.50   100.31       4959   54.30800821 $   176.75 $     92.56
159721    84.19 19820430   198203   1982    4   30    4/30/1982   5281   57.83436   185.47   101.28       4994   54.69130732 $   177.68 $     93.49
159721    96.32 19820405   198202   1982    4    5     4/5/1982   5306   58.10815   212.98   116.66       5019    54.9650924 $   204.04 $    107.72
159721    84.19 19820226   198201   1982    2   26    2/26/1982   5344    58.5243   187.22   103.03       5057   55.38124572 $   179.36 $     95.17
159721     87.6 19820204   198112   1982    2    4     2/4/1982   5366   58.76523   195.45   107.85       5079   55.62217659 $   187.24 $     99.64
159721    77.94 19820121   198111   1982    1   21    1/21/1982   5380   58.91855   174.26    96.32       5093   55.77549624 $   166.94 $     89.00
159721    77.94 19820105   198110   1982    1    5     1/5/1982   5396   59.09377   174.68    96.74       5109   55.95071869 $   167.34 $     89.40
159721    77.94 19811204   198109   1981   12    4    12/4/1981   5428   59.44422   175.52    97.58       5141   56.30116359 $   168.14 $     90.20
159721    80.33 19811110   198108   1981   11   10   11/10/1981   5452   59.70705   181.55   101.22       5165   56.56399726 $   173.92 $     93.59
159721    80.33 19811006   198107   1981   10    6    10/6/1981   5487   60.09035   182.50   102.17       5200   56.94729637 $   174.83 $     94.50
159721    80.33 19810811   198106   1981    8   11    8/11/1981   5543   60.70363   184.04   103.71       5256   57.56057495 $   176.30 $     95.97
               Case 3:15-cv-05367-BHS                        Document 190                            Filed 03/14/25      Page 90 of 90


159721    80.33 19810701   198105   1981    7    1     7/1/1981   5584   61.15264              185.17        104.84    5297              58.00958248 $       177.39    $    97.06
159721    80.33 19810601   198104   1981    6    1     6/1/1981   5614   61.48118              186.00        105.67    5327              58.33812457 $       178.19    $    97.86
159721    80.33 19810424   198103   1981    4   24    4/24/1981   5652   61.89733              187.06        106.73    5365              58.75427789 $       179.20    $    98.87
159721    80.33 19810407   198102   1981    4    7     4/7/1981   5669    62.0835              187.54        107.21    5382              58.94045175 $       179.66    $    99.33
159721    80.33 19810320   198101   1981    3   20    3/20/1981   5687   62.28063              188.04        107.71    5400                59.137577 $       180.14    $    99.81
159721    80.33 19810225   198012   1981    2   25    2/25/1981   5710   62.53251              188.69        108.36    5423              59.38945927 $       180.76    $   100.43
159721   107.66 19810121   198011   1981    1   21    1/21/1981   5745   62.91581              254.21        146.55    5458              59.77275838 $       243.53    $   135.87
159721    66.66 19801223   198010   1980   12   23   12/23/1980   5774    63.2334              158.09         91.43    5487              60.09034908 $       151.44    $    84.78
159721    66.66 19801117   198009   1980   11   17   11/17/1980   5810   63.62765              158.94         92.28    5523              60.48459959 $       152.26    $    85.60
159721    66.66 19801010   198008   1980   10   10   10/10/1980   5848   64.04381              159.85         93.19    5561              60.90075291 $       153.13    $    86.47
159721    66.66 19800903   198007   1980    9    3     9/3/1980   5885   64.44901              160.73         94.07    5598              61.30595483 $       153.98    $    87.32
159721    66.66 19800730   198006   1980    7   30    7/30/1980   5920   64.83231              161.58         94.92    5633              61.68925394 $       154.79    $    88.13
159721    66.66 19800701   198005   1980    7    1     7/1/1980   5949    65.1499              162.28         95.62    5662              62.00684463 $       155.46    $    88.80
159721    66.66 19800530   198004   1980    5   30    5/30/1980   5981   65.50034              163.06         96.40    5694              62.35728953 $       156.21    $    89.55
159721    66.66 19800425   198003   1980    4   25    4/25/1980   6016   65.88364              163.91         97.25    5729              62.74058864 $       157.03    $    90.37
159721    66.66 19800327   198002   1980    3   27    3/27/1980   6045   66.20123              164.63         97.97    5758              63.05817933 $       157.71    $    91.05
159721    66.66 19800307   198001   1980    3    7     3/7/1980   6065   66.42026              165.12         98.46    5778              63.27720739 $       158.18    $    91.52
159721    66.66 19800219   197912   1980    2   19    2/19/1980   6082   66.60643              165.54         98.88    5795              63.46338125 $       158.58    $    91.92
159721    66.66 19800201   197911   1980    2    1     2/1/1980   6100   66.80356              165.98         99.32    5813               63.6605065 $       159.01    $    92.35
159721    66.66 19800121   197910   1980    1   21    1/21/1980   6111   66.92402              166.26         99.60    5824              63.78097194 $       159.27    $    92.61
159721    66.66 19791213   197909   1979   12   13   12/13/1979   6150   67.35113              167.23        100.57    5863              64.20807666 $       160.20    $    93.54

                                                                                    Calculated Interest   $15,882.91          Calculated Transfer Basis   $44,414.07                Total Additional Amt to Deposit in Plan 3 Account
                                                                                        Actual Interest     15449.09              Actual Transfer Basis     44093.77                  $642.02
                                                                                            Difference       $433.82                        Difference       $320.30
                                                                                                                                     65% of Difference       $208.20
